                                         EXHIBIT 1

                            Settlement Agreement with Attachments




DOCS DE:2421851 91100/001
                                            sE~r~,E~~~c~~r~ ac~~rt~~~c~~
         This sct€lemenl agreer~►~ent, .~-~ncl~~din; all a aclin~ents and exhibits (.`S~ttlernent
A ~zeement"~. is entered ia~tp as of_~~ r F~~ trr~i-~~'                 _, 2 22, ley a~~d atitflng W.R. t'~race ~c
Co. ("brace"~ ar~ri t1~~ ~t~~te t~f ~~c~ntan~ (::State").i Eac}i of t~tc; f4f•e~ciing aie snmeti~i~es c~e#e►7~ed
to liercin colleciivety as tt~e "`F`arties" ar~d it3c~ivid~~a(ly~ as a "Part ."

                                                       ~t~:CITA~,S

       ~V~~R.EAS, t~tt t~~` about April 2, 2001, Grace anct its fellow ~et~tors (as t17at tez~~n. is
defined beioe=r} filed volw~t~ry petztians ~~ith the t1.5. Bankruptcy Court for the ~isfr-ict of
Dela pare (the "Banl~ruptc}I ~aurt"} ~~nc~er ~i~►apter I t of Titi~ I 1 aF tlae l,.In"steel 5tat~s Code, I t
U.Q.C. ~ l f?1, et sect., as a►neiicied (tt~e "Ba~~uptcv Code");

         '4'4'F~E~EAS, can I+Pt~vef~~l~er I~, 2007, MDEQ (~s defineel belativ) €led an a.m~n~ert prr~oF
~f claim, c~esigna#etl Na. 1$496 (tlie "VIDE_Q ZO{~7 Ciai~~~"), iii ~~,I2. Grad & Go.'~ Chapter 11
Cass: (elesigc~ated Case ~1ca. ~ 1-1139-AMC) t~ it}~ respect to the I.,ib~y Asbest~~ Superfunti Site (as
de~rzect belo~v~

          '~H~REAS, #fie State cif t~Iontar►a and its d~~artfn~;nts, ~geneies, and prograztas.filec~ a
~lum~er cif ether praaf~ of alairn, wl~ic~ ire all listed in Exhibit H ~~iith their respective treat~nenC
uticie~• the Pla~i

           ~VHE~tEAS, by ~tipulatic~n {thy "IvII7EC3 2~Q8 St~,~ulaf~on" a copy pf ~vliich is attacE3ed
Iiet-ett~ in Exhibit G~ dated ~vT~y 2~, 2(~[l~, the I~et~tors acid ivIDEQ settled the MDEC~ 2{307 Clai~~~
fc~f• the ~~itii~ety of t1~e L,ibt~y Asbestos St~p~rfilnd Site anc~ all of ifs Up~rable knits, t~ith -the
exception of ~perabie -Unit 3 {"iJ[13"), as tc~ ti~rt~icli tine State reserved cl~i~tZs;

          Z~I~EREAS, an J~~Iy 21; 2{34$, the ~3arckruptcy Court. entered its c?fc~'er• Ai~tlar~r~izirig
Sti~rilali~rt Resalrfirrg- C.Ittrrris of ~~or~lcteic~ Dep~ar-ttr~efzt ~f ~tz~irot~t~teittcrl f~t~~lity [Docket Igo=
 L~1 I O] {tfZe "MD ~C 20(}8 Order", a cop}r of ~~Fhich is attaci~ec! I~ei~zta i~~ Exl~i~ii Ci), app~ovir~~ the
1VIDEQ 2.008 Sttpulatioiz and_ disailo~~~ing and ex~ungiT~g ali otlief• r~in~ining State Claims has that
tern is clefinecl beio~~) filed by I~'IDEQ in the Cl~aptcr 1 l Cass that arose fro;li a~• c~tlle4~vise related
to floe Libby t~s~esti~s ~u~erfund Site;

         Vt~HEREAS, caz~sistent ~.~itl~ the MD~Q 2008 Ortie~-, the Debtors directe€l their claims
agar}t to c~esi note ~l~e iePnaininb pi~riiaa~ t~f #Iie iL+ID~:Q 2(3Q7 Claizi~ as Claim No. 1S49b-1, and no
attier CIaitns by #Iie-State of i1~io~itana remain pendii~~; against Revr~anize~i Debtors in 2It~ chapter
11 Cases;

        'WHEREAS, the Bar~kniptcy Cfl~~rt confii-tned the Plan Icy ~rrl~;r~ dated J~i~uary 31; 201 l;
and February t 5, 2011. ,see 11~~~~it~r rrrica't~t~t Qpin~r~n Re,~ut~~lirtg tJb~~ctir~rts to Ca~tfri•rt~criic~~z cifI'it-s~
Ar~~e~rde~ .~r~it~t Plat~r ref Re~r~zrt~rwcrtir~t~t c~lirt ~~cc~r~irner~r~erl S~t~plertre~~rtcrt F~rirliligs of Facf c~nzl

    C~a~itatized €erms no# defined Itet`eii~ shall have tE~e meaniii~ ascribed to them ii7 the Fiist ~2rnetrctedJ~i~et Plan ref
    Ke~i-gnniLatio~~ tlarcler Clrn~ter-11 of ttre 13nttk~•ti~rtey C'c~rle of~W R. Grace ~ ~'c~:, et crl., t3~e p~~ful Cr~nr~trittee of
    .Ast~estar I'~rsotral Ir~~rry ~Intrr~nrrts, tfie A.shestas I'! I~trture C'lairrrrrrits' Rej~ress~itative, rtrid flre Offzcittl
    Cnnin~ztt~e of F_.gtt+ty Security Holders trs hfoclifie~f 7~larou~lF D~cenil~er 23, 3QI t1 [Docket Ido. 26368].
C~r~~c~l~isz~raa r~j~z~~t~ [Dc~~k.et l~T~. 26154] anr~ liecotrr~rt~tzzlec~ F'i~3clrrzgs ~f Fnct,_ C'cin~Iusivrzs r~,f'L~i~~T
ctr~rl CJrrlc~t~ Ri~~crrtlrrt~- ~`ar~irnrratiot~ vf'I'it;~t Arrr~~tr~erl ,7a rrt ~'l~rtr of Reat~nrti::rat'ir~la rr~ 11~oc~~etl
7lr~~oirglr 13ecerriher ?3a ~QIt1 [I~c~cket No. .26155], ctatec~ Januat~ 31, 2f}Ii, and tixe ~}rrle~•
Cl~rt-ifyrzrg ~'tFlefxat~i-ar~~lauti t.?~iraioir rtrxfl ~icl~t• C'at~it-t~~itag -e7oifit 1~'lcrt~ ins ~lrrte~t~lec~ Tlrt'att~lt
l~ecer ~b~r~ ~3, ~~Jl (J ~L}r~eket Nta, 2~i289], c~atec3 February I ~, 20l 1 (to~etlisr; tt~c~ "Conf ~-~natior~
t~rcter");

            ~~'lE~~i~A,S, ~n February ~, 201 (the "Plan effective. i7ate''), t ie Debto~~s subst~ntzalty
c~nsum~nateti the: iz~arisactions canteia~~Iate~i under iiie Plan. Sep 1l~r~ticn af`Ucczrl•r~errce of #!re
Effectiirc~ Dcste of t}rc Ffrsl ~1ir~~rrr~ecl .Tc~irit Plc }r oaf Rcci~•gtzr~i~t~ti~rr t.~r~cler- Clra~t~i- 11 of the
Bc~rrkr-at,{it~ ~arle,oj~W.R. Eii•nee cir~c! Ca., et crl, tfrca Offieirrl~~`t~rl~turirt~e-of` ~b~estt~s ~'ersdri~illtrjtir:y
C:'Ic~ilr}~r~~ts, Ilse ~1sbe~tvs PI Fzrti~rr' Clc~it37crt11.s' ~e~t'eser~trrtii~e; crr7c~ tote ()ffict'trl ~otta~trr'tte~ of.
.~'c~tsity Security Il~tclet;s ~{s r'~1oc~i~e~1 7'ltr~vtc~=It I~~cer~aF,~er- ?3, ?t?1t?, dated ~etsniary I3, 2~I4
[Docket ~Ia; 31732 ,

        ~t'HE12E~~; ~u~~suarit. cc~ t}ze op~~•ation of'the Plan, the I7~bto~s k~~cal~le`th~ Recir~anizeti
I7ebtt~rs of~ the Plazi. E~e~tiv~ Date:

       'V4~k~'~.~A.S; s~zzce ct~z~si~inri~atit~~~ t~f.the ~'Ian3 - each. of fihe R~argat~ized Debtors' ~~la~ite~~
1l Cases i~as begin closed; except fo►• Grace's Chapter I I Case:

          ~'~Ii~Y~A~, Glace atic€ its af~lia~es ai-e per~orinin~ ~. "Rer~~~clial investigation and
I~e~,s't~ifity Study" ~"~.1/~S") fay t3U~ under ttae Ieac~-ag~ticy c~vez-si;Iat taf- the tlnitert States
~nvit•+~nn~~nta( Prcitecitciit Ag~n~y ("EPA"} pursi~a~~t to C~RCLA.',

          ~'VI-~:~Tti:`A~, the Parties re~cigciize the potential ttnd~r ce~~taii~ cireuf~-istances that the
conti~iued presence of the KI71:1~ ~a~ tle~ned be[o~k} cautcl result in State expent~itures ~~b~rdi~ig
tl~e ong~~ng operation and n~ai~lfe~iance of the KDID at~d tlZat Stag late relates but sloes nc~t
~-ec~ui~~e ~naz~ci~l assuz~az~ce fc~t~ tt~e KDID;

      'VYH:~R.~A,S; KDC is ct~~~•ently in the process of clesi~n atic~ ceinst~'~.iction, at its ex~er3se, ~t'
a KDID S~iitl~~iay {as defined be1Qti~~}, .t`he Par€i~s i-ecc~gnize the po#ea~tia~ need 'foz~ st~nificacit
repair or rc~~l3cement of #tze T~I~It~ S~ilI~.i~ay in the ii~~ure;

            i'V~i~RE.AS, by tt~c~tian Ellett its the Banka-~ptcy Cou~~i date~:Ju~ie 7, 2019,,-t"3race filed its
1~ec~ti~sd fai~ P~r•f~ri/ Alloi~arzce. r~rzct 1'e~r~trcrl DiscrllQ~~~~rrce af~t12~ ~`lcriitt day tlx~ ~lorri~taa I.~ept. c~}`
~►~a>_ '(~~r~~l~~,~= ~`>ib~D~O ' ~.~ar~ ErrviF•c~rrrrr~tzt~r~ I~~rttesli~rlion .rat C}~~r~tbl~ ~i~it _3 of tlae ~~b;~y~ A,sbc~str~~
Sarp~tf ri~cl Site (S~t~ist~rrrli~lc UfzJectioit) [D~cket Na. 33{399 {t}i~ "Partial Allcr~vai~ce ~Ioii~in"},
asserting that tlz~ Cor~f-t sl~~uld ~~aa~tially allow and partially disalin~v Claiz~a No. 1 ~4~6-1;

           ~~H~£~ASs 02? JLiI}t 22, ?D19, irIDEC~ filed its R~spQrisc nri~l ,l~eser~~crtivn of R~~frts of the
Stcrt~- v~ ~Ll~t~tc~r~ct ~n ff~~ I~eet~gcrrri~ai~ L_~ebtar's I~~c~it~si ~c~t~ ~c~r~tirrl ~1~la~i~t~ri~ trtr~T 1'rr~•tlal
Z~isrrlla~~~~ritt~e: i~ftl~i~ Clrrirfz f~,~ the t~fortt~rrra Deft. ~rf E'rri>. Qf~irlity~nr• ~"ir~>i3•ai~t~rc~itr~t 1~~~~~r~ctic~tiol7
art ~~er~trblEy Unit 3 af'tJte Lila~iaJ rts~ic:.stc~s ~'rcperf earl Sitz ~"Sit~stcr~rliy~ C3bj~etlritt} [I'Jocket ~I~.
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 a~ -~e as fcillozvs:

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            (e)        "A ro~ral fJrcier" shall tiieaij t~~e _finial aiid not~µapg~alable order entered
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and R~spransi~ility Act, Mai~tana Code: Annotated {"MC.~") ~ 7S-1i~-7t~~ ~t seq.:

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         a~- iii) atz cquita~le r•c~x~ecty fr~r b~~e~cl~ t~f perfarti~anc~ if such breach giues rise t~ a
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         equitable ret~iedy is red~~c~d tv j~.rd~~t~nt, lic~ui 3~tec~ un~i~juidates~; fixed;
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         ~~nsecured.

            {j)       "Clain3 Na. 1845-1" sltal(h~ve the meaning set ~~irt}~ iii tl~~ Recitals I~e~-~a£

             (4~)     '`Carif~~iiation Order" stx~ll have the meaning set forth in It~e I~ecitats ljer~of.

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tie Gc~~reriioz- t4 direct ~l~e DNk~G; ar, in t ie event of a reoi`~anizatic~n or otli~r resti-ucturin~, -such
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DNRG'~ ~~~i~i~ Safi~ty Pra~rai~~, oi° its eq~i~valcn~, purs~~~nt to tl~e i1~i~t7tan~:Darn Safety Act, I~tCA
85-1 S-1~5, et se~~., as ~z~ay tie ~rr~ezii~etl c~i• ~~ipez~sei~ed from time icy time.

             (~-)     ``EPA" s3~all inea.ti the t1a~iCeci States ~a~viroa~-r~ental Protecticin Agency.

            (s~     "~inanci~il A~surat;ce T'iv~t" "Financial Assiaraiice 'Tn~sts „ "Tnist~," car
"Trusts" ~1~3tI mean the ICI~~~7 t~e~:1V~ ~'~rfc~rmance Trust anci :the IC.DT.D Spili~~ay Replacement
Tn~st; individually or c~Ilectivc:Iy as tl~e ease may be, anci at~y ae~;oi~nts ~stabt~slie~ ~witliin eift~er
T~-~ist.

             fit)    "T'ur•c~ r'l~rr,~e~rr~c Condition" sl-~al] me~t3 a sifperiar or irresistible fc~rcc such as
air pct cif hod, v~hicl~ is beyanel the. control of-fhe Gi•~ce Parties ~iic! catild i~t~t lie ~~=aided by the
exercise caf reasonat~le care.

             (u}     "Grace" shalt have -the m~ar~irtg set forth in the €ntroduciary paragraph of this
Se€tle~l~ent Agc~eei~3ent, and its successors and ~a~uftzt a,ssign~,

           {v)        "Grace Pa~~ty" ar "Grace Pat~ti~s" shall n~ea~~ Czrace, KDC, and 1~I.R. Grace ~.
Co.-CQnr~., aa7d ttaeir res~cet ve of lia#es anti successnr~ with interests of any kind as io C7U3,-and



                                                        5
fil~eir respective officer, directors, inaziagers, si7~rehol~ers; inetnk~ers, g~artn~~~s, cansulta~~ts;
+~~1-~pioyees, ~~ents, acid attQrrieys.

             ~~~v}      "Ineiaid n~" s1~a11 #lat be reari restF~i~tively, and shall i~~teai~ i~~cluding but nat
limited tc~, ui-~less c~tl~en~vise exF3z•~.ssiy stated.

              {~.}    "KDC" shall r~lean the ~ ~iot~i~ai I3eveltiprrient C:t~izi~aany, ~incl its successors aricl
latvl'iil assigns. KDC zs a Ivlantan~ doii~estic fink ~a~o~t ccim~any in b4oc~ sta€idin~, ~vllieh is tI1~
oti~ner of land ~F~ithin dU3 ~~he. re the ~CDTI~ x~ taca~erl, and is the 1i~Ic~e~- of a permit ft~~` ~~~;ra# tin
t~f the ~DI~ issued try the DNR~.

            (Y)    "k~DID„ shall i~t~ea~i tlae Kootenai Developnierit I7np~ii~zadment Dai~~, incluclin;
t}~e I~DID S~iliway.

               Viz)    "KVIID t~QerafiQn Anil 1Vt~~x~tei~a~i~:e'' ~r `' .DID tQBcIvI" s~iall t~~ean the routine
isis~~eetia~~, t~~onitoring, a~ei~atianz rriai~~teiianee, repair, and athe~- activities per~iirzx~~d p~rit~clicalEy
b}~ KT~G consistent ~i~itlY a dim safety opez~ati~~g hermit issued ui~cier the Mantan~ `Dann Safety Act;
RIGA ~ ~5-1 S-1 tlS, ei,re~~,,, a~~c1 i~r plerrientin~ regu[atians, ar~d ~a~Yy st~~~erseciin~; daai~ safety Iaiv aiici
i~e~i~tatio~i. KdID Spilli~ray VJ~r1~ is n it "KL~I~ E)~~];' fc~r purposes of either this Se[tle~tieni
Aat~e~~n~itt ~r tf~e KDIL~ ~3~:M Pei fc~t ~ncc; Trust:

             {aa}      "I~DID Q&M P~rf~rrnan~e T~~ust" shalt lave tine ~neac~ ng set ~e~rtli in Section
4{l~) h~rec~f.

              (fib}    :'KQTD Sp~tI~va~`x shall mean #lie er~azided sti-i~ct~~i-e that is t~nr~e~- constt~ueti~r~
in or abr~ut t ie year 2t~22, ivilh a ~esigrt file of a}~proxiriiafely~ 1{?~ yea~~s, fc~i' tli~ ii~tcz~ded ~iui-~ibses
cif allo~~~i~a; cnntrc~lled release t~~ excess sur~tace i~rater to fLo~~~ fast tll~ K:D,.I~ and ~iratectin~ t1~e
struciurai ic~teg~~ty cif'tl~e DID_

           ~ce~     `:K.DID S~ilt~~fay Re~~tceirterit Tf~tzst"shall mean tine ti~ist established to p~•o~.<zcle
funds for ~utur~ pnssii~le I~DID S~izlit~vay. ~~ork after 2Q72 as-set faith in section ~(c) Iie~~eti€.

             (rid}     "K.I31D S~~iltti~rav work'' shall ~neat~ ~vor~ that ~t~ay }aeco~xae re~ispnably
nec;essar~ to uncleit~nke aft~~- Zt~7~ for ~~eplacei~~et~t of ttie KI)II) pi1lFv~y, gar for significant i~epai~-
tl~er~of likely to ~:xtenci tE1e life of`the KDID Spill~~s=ay; as Z is}r b~ dete~~~~iitiecl ~y t1~e L~I+IRC Di~-ectaz-
or detegee in cut~iting? in accrirdance wifh tie ~p~li~ak~le I~~v anc~ regul~tians ~# M~ntana.gvvernirz~;
cian~ safety ire farce at thy: time of ally suc~i deteF-~~iinaticin. K:t~II~ Spill ray work does nat include
work cin a►ty as~e~i trf i17~ ct~nsiriiction cu~'i~ently undcn~ay oaf tlae F:DID S~xiltway as cTescz~ibect iia
{bb} above.

             (ee}      `:Lzb~iv Asb~stas Stipez•Cti~xcl Szte 'shalt mean the f'atYnef• Zonc~lite ivii~~e anal alt
a~~eas (i~iclutling any stnzcfure, ~t~it; ai~~} ~v~ter, ~ecliin~rit, nr receptor} in ar~d near Lizicc~ln fount}y,
i~loi~t~n~, t~iat have E~eei~ contatnin~ted by natural or huina~; :caused- releases or tni~rat an of
i7azardous su~stai-~ces andlcirpollutaaits or cantamia~~nts aYcir fi•c~rn the Zonoli#e Iviine. For purposes
of this Settlement A reeL~lent, and v~tittic~ut lin~it~tiora, file Libby Asbestas Supe~-fur~cl Site i~lcl~tdes
OU3.
             (f#~    "Ivt_ TaE{~" sh~ii mean #lie Nlcintana I~epartmer►t cif En~rironti~ental Quality asid
successta~~ agencies and pro~r~n~s.

             {gg}       `"MIJE~ 2410"1 Claim" shall Have the itYeai}ink set fc~~-t1~ i~x tie Reei~al~ hereof.

             (f~fi)     "ivlt~~~3 ~Otl~ ~rd~rx' s}~all 1~~ve tine itleani~~~; set forfix in the Recitals hereof.

             (ii}       "MDE~3 R~~azise" s1~aI1 have the i~ieanir~g set forth in the Recitats Ilereof>

             ~jj)       ~`l`vIDLO 2fl0~ Stipul~tioi~i" sh~itl hue the nlc;aning set f~rtl~ in the- Recitals
l~~rec~f.

               (kk)      "N~turai Resc~t~rce Dacha e~" or "NItD" shill rr~ean any etampettsatc~ry relieF
alai{Ur ~fi1~er natural f•~sources ~1ama~es; ~iicludirig the reasc~nabl~ cots of assessing ~ucti ciama~es
anti c~tP~~r associated coasts, that are reca ~erablc pursuant fo an}j State ~x~ ~et~et~ai la~v, o~~ a~n:ez~dn~eilts
tl~erefic~, zn~lu~iiii~ but i~c~t Iii;iiteci tc~ ~ect:~n 1[}'1(a}(4}(C) of GETtCLA, 42 U.S.C. . 9fi{~'~{a~~4~(~},
c~i- ~"eci tin 3l 1(f~ of tl~e Clean ~iVater Act, 33 J.S.C. § (321{fj, oi~ MCA ~. 75-10a7I5(?~{b}~ ar state
or federal t;ra~~~non law, by zi~~ Sta[e, for c~jury tt~, destruction of, lass. €~f; ot- loss ott~se of 1'~attiral
Resources oz' reaource set~i+ices resi~Iting directly car indirectly froth releases car tlu•~atenec~ reteases
of ~~~zaz~ilc~us cap- deleterious substanc~:s fia, at, ar from the Lil~t~y Ast~estc~s Sra~e~•~und Site. I~tatural
Resource Daiiza~es incline, i~~ithout Iitnitation: i) the ct~sis of ~e5ta~•atic~rx, rel~abilttaticin,
replacenienf ~r accju sition of t~~~ ~c~uivalenfi; ctf allegedly injured or last I~&atural R~~out~es o~
z~at~iral resaua~ce services; ta} ass~ss~i~zezit casts; izi) the posts ~~ ~lani~ing and monitoring such
restoration activities;-.and iv) a~t~ninistiative, pri~gr~tn, teg~l, technical, anc~ ail other related costs,
ancl, {v} any other cvmp~nsatiaa~ far dit7~it~tttioil iii w~Iue or hiss of use nr pion-use values.

         {1I)      "N~tural Resaurc~s'~ stall hau~ the t~~eanirt~ pro~~ic(ed ire ~ecti~n IOf{IS} of
~E1ZGL~; ~€2 L1.S.C;. ~ ~6~1i{16}~ ar~d 1VIC~1,~ 75~1(~-701(lZj.

             {~ni~i} "`I~Tatural Resocirc~ Datz3a~z Prn tarn" ar "t~RDP" shall mean the I'ro~;ram that
is adzniz~ist~~atiye~~: attached to -the iltiantana Departra~ent of Justice anri _acts can ~ael~alf cif- the
GovemoF~ in his c~€pac l~ as the State's Nate}ral f~esource Da~~~ages Tt-Eistc:~. i~~it43 res~ie~t to Natz~cal
Resouice I7aana~es ~natter~, anc~ shalt inc_Irade. success~~- a~cfx~ies arx3 ~~~~a~rams.

           ~z~xa}  "~idn~ei-£ormance Detei~nination" sl~t~li ha~a~ tl~e r,~eaninb set #'a~~t~x in sec#ion
5(d~ hereof ~A~~~ss ta.Trt~,st Frzi~cis, Mate Access try `I`rust Fu~~cls):

             {~a)      ``1VRI3 ~'ui~~s" shall ha~~ the meaning set forth in section ${a} hereof.

            {P~a)     "~lperabie Unit 3" i~r "C3tJ~" sl3all n~et~n gro~ea-ty in car a~-a~inc~ tl~e 7~a~~c~lite N1ir~e
osvneci ~y C'ri•~c~ rat• Grace-a~vn~ci stibsidia.ri~s (excEudin~ t}U-2,~ and any- area {i~~cludii~g airy
sfiuctur~, sail, air, water, secliinc;nt ter receptc~r~ 'ti3l~iact~d by rile release aticilt~r release and
su~sec~uen# at1igi~at`ron of haz~rrlQus subsC~rnces andlor pc~l~utants. or contaminants fz~a~n such
property, inelu~l'rn~, but hat l,iinited ta; the mine propert}~x the Kootenai. Ri~£er and tllc sediments
there n,'Rainy Creek; ~2ainy Creek ~t~~d (sa~n~ti~nes referi~eii tt~ as Kait~ey Creek acid Ramey Creek
Roar!), and areas izi `~vliicli tree. bark is contat~ii~iat~d with s~ic}t h~~:ardt~tts substances at~dltar
p~lIutants orc~ntarr~iaaants.



                                                          7
             {cry)    "Pa~-tiat Allc~~~~ance NlotititY" sliail have the zi~eanii~~ set fai-tti in t~~e R~cita~s
hereof

            ~rr~       ^~rt~l" ar "P~rties°, s~ta11 have. t ae ~neanin~ set forth iii tt3e ntroducta~y
                     `~P
paragra~lz of this Scttl~;~nent ~reerne~3t.

             {ss)      :`Plan" :shall mean ille First t~,~xtei~c~ed Joint Plan cif Rear~anizat on tJnrter
Cliapie~~ 11. oft}3e ~ai~lc~~a~tcy bode ~fZ~~ R. Gz-ace & Co., et a1., the C3~cial Coi}~~iaittee c~£As esf~s
Pers~~~a( Ixljury Gl~ii~a[its; tl~e ~sbestas PI ~'i~ttire C{aix~~ants' ftepr~se~~t~tive, and the t`~fficial
Go~n~n tt~~ of Equity Security I~~ilders as Mad fed Ti~rr~;i~l~ ~3ecernbe~ Z3, 2t1I0 [nc~cket t~~~.
2G3G~~

          {ttj        "~'~~~-~fl~2 T~I~ID C}~atiorz anci iYlaintenance Perfoi~r~a~iee Bc~nti" ~r ::SureE
Boni" shall ha~,fe ilte i~a~aniri~ sit far~th iri ~ecticsn 4(a} lierec~f.

             (i~u)    "Post Rernedv - Q&~ Costs" -shall Dave ii~e ri~e~niri~ set fa~~ih in S~eCion 7
hereflf.

             (vv)    "Reor~niLeci L?e~ta~•;; ~r "Reor~a~ii-r.~ci De}~tars" SIl&II      I3c1V~ ~Il~ iii~r~Illfl~ S{%I
far~l~ in the Plan, which far the ~vaic~anc~ c~fc~oi tit provides that:

           "Reorganized Debtor," "Re~rg~nized Dekstc~~°~" or "Itcai~•;~nized Grace" shall
           mean tt~e DebtQr(s~ frc~u~ a~ld afte~~ il~e ~Ffectzve Date.

            {~~~v) "R:UF'S" sha(i xneari t1ae Re~~~edi~l Ia~vesi~atinn/T'e~siblity St~cl~~, as cie~n~cl by
ttie National Coiitit~~ezlcy Plan ~t ~4} CFl2 ~ 30Q,5, aiid ~.ii~ther d~scril~ec~ ix~ 4D CSR ~'~Q~}.43~.

             (~ c~     °<Setflet~~e~lt A i'ee~t~nt" shalt refer to -this agreement as ciescri~ed i~► .the-
int~-odtictory para~;~~ap~ hereof.

            ~YY)     "Settlement A~reeinetit EfF~ctiv~ ~at~~' ~l~al1 be the date ozi r~vl~icli t~~e. vr~er
approving; this 5ettfement tlgreement t~ec~anaes #inai anci nQ~~-appealable as descr bed t~~ Sec:tic~n 3
herecaE`.

           (zz)      ;`S1ate" s~lall r~~~an tli~ Sta€e of Montana, and inctad~s z~ritlin~~t lirt~i€anon its
Govefnor, Aitt~rn~y Gen~i'ai, ML3EC~, NRD~'; i~I'+IRG, anal a~~y ciilier cie~~a~~iciit;nfs, a epic es, anc~
prpgrains of Elie Stag of t~Iontana, atld t~~eir respective e~-n~l~yees, a~;en[s, and atio~-neys,

             (aaa} `;State ~l~i.ii~=, sl~~ll i~i~an III ~tainis ~~-ising frc~rn ~r related to tI~~ Libt~y
Asiaes~ras Su~ierEun~l Site that ttie State teas, car could have, asse~-~eci in the Chapter 11 Cases. ~'i~r
tt~~ avoir~~nc~: o~ cic~~ai~t. a) Stag Claim does iaot inclurie claims, c~~s~s cif ~ctic~~x; ,or tatter rights or
~oti~~rs that. either are nc~t Claims ~r .c~tliei-~vise co~i[d ~~ot have taecn asserted by t}ie Stag an the
~}~a~tei- 1 I Gas~~; and b} tl~e St~it~ Cl~itn sh~il ~e de~meci to include: i) atl claizi~s, liabilities;
abligations, causes c~~ pct c~nJ and rich#s to pa~mer~t set forth in, ~s$c~~te~i iei, arisix~ fi-ozr~, reserved
in, a~- otheric~ise r~latetl to eac~i of the ~hapte~• l l Gases; Claim No. I$~96-3; the UIDEQ 2~(?&
Stipulatiaii asap€~oveel by tli~ iviDEQ 2#~0~ Oi~cle~•, and t1~e MI7EC~ Response; ii} all ether actual -and
p~tential~el~i~s relating ta; ~~t~u~ecteci to, r~r arising oiit, of OU3 or the Libby t~~be~tos Supe~~i.~n~
Site that ~cr~re nr c.u~.ticl I~a~~e been asserted in thy, Chapter 11 Cases;- and (iii} any atxt~ atl ctaims,
IiaE~ilities; abti~ativns, ar causes of actir~n by the ~tatc; ~f any kind car nature tl~afi it l~aci, lips or i~vill
h~~+e in the future for NK.~3 at ter related to QtJ~ o~- the: Libby ~sbestas Superfund Site; ~ro~ji~lec~;
l~o~vc~alet-. teat: tlYe Mate Claim do~:s not it~clucie a~ay Stag ~teserved Rights; a:~ d~~rled belatro! in
SQctiUn ~bbl~). "I'1i~ "~tat~ Claii-~ "does riot ncicrde tlzcise clams se# fart}t sn Exi~i~it ~-!

             (b~b~ "Mate Reserved ~z~tztsY' .stall nlr;a~r the ri~l~ts reserved in Section$ G{d){~i}
{State Consultative Role}, b(d}(iii) (CEI~.GLA § l 2I)>.6(g~ (effect of ~inan~ial ~S:sst~~-ance}, ~iid fi{h~
(Gatastrc~phic Failure Reseiv~tioi~) tie►eof, In ~dditior~, the State Reserved Itigii#s incl~~d #~~e
Stat~'~ ri~1X~s to et~fcii-ce this Settleii~e~~t Ag~~eetnent against any of the Grace Parties (including
~7ght to any payment} or. seek r~:~ief for a breach iher~:~~; inciuciing under Section ~~i) (Stt'~utatecl
F~nalty for ~a lc~t~e:tes R~IaI~e Section ${a} Payrnents)~

             {c~c}      `<I{}°f4 Gcist Share'' shall l~avc the ~~zea~iing set fa~•fh in S~ctian ? li~r~r~f:

          ~_      ~e#tIement .A~re~n~en~ Approval P'r€~~ess and: Effeefive I?ate. This S~ttle~nent
 A~reeinent shall becorr~e effective after tie ~rci~es~ ~les4r beci in t#~is Section ~ c~~t t}ie data i~~~ circiei'
 ~P~~•c~cfin~ this aeCttemerit f~geeetiienf E~ecorrtes find end nan-a~ip~alable (:h~ "Set~le~~~ent
 A~fr~en~ent`Effective Date"},

               (~~      t.Tp~,n executign,of #his ve~zle~~~rene Agi~cetnezti by..alt ~'arti~s, h~ Parties ~~all
confer regar~iir g tl~e'znotian iii ttie. ~ankr~ ptc}# Court, pursuant to Fed. it. Bankr. ~'. 9Q19, ~ 7~=1t}=
~Oi, et s~r~., _MCA, and 42 LT,~,C. ~,9~D~ ~,~I~i~l ~~rac~ s~~all :file, seeing entry aE tl~~.;11,pprn~al
C7rder. '`~'#a~ Parties agree tl3at the fi~xm of prnposed Approval Llyd~:r ~ttac~Zi:r1 her=eto as E~l~ibi~ 3
Shall` b~ attacIxetl it~':th~ motion seeking e~~t~-y t~iereof, 4T~ithin ten (I O} days of tlie: filing i~f t ie
~iiotiort; tl~e State sliaii ~ubIisl~ ncit c~ ai~~i a b~•ief-ciesci`iptiait {as tc~ ~vl-~ ch tl~e Parties stial cflnfer
~eft~t~el Vinci} in ~ newspaper of genera3 c rculatir~n in I:incoln Jaunty, and p~'ovitl~ a 3(}-day dub[ e
coznzz~ent,p~riad c4aiducted by the State, ~~vl~ ct~'slaall take dace ctincti~n~ent with the judicial approval.
~roce~s co~it~iz~piateti hzreia~, Tie Mate resei•~res tFic right to ~~+itl~drat~ car vvitl~lYold its cansezit to
the S~it~e ent r3.~reeinent if tie ~i~iblic coi~~azents received disclose facts oi` cons`ttIerat runs t~aat
indicate-the Se~tteinent Agx-eenn~ixt is i~~~pprc~priate, im~ri~~er, or inadequate. After the cc~u~lusifln
cif the public cr~n~r~~~ lit perio~, tli~ Parties ~haEt confer re;ardi~j~ the St~te~s ~•es~c~t~se to the ~~iotic~ii
filed ley Grace,:~t~d ~vithi~ thirty ~3~}) days after ttie c€~~~clusion ofthe ~0-d~ypublic co ~~unent perio~I
the State shall file its ~~espons~ and ~rrnvide the Court tier th ct~pies o. f alI comal~eri~s received -and tl~e
State's respo~~ses tl~er~to.

              {b)        If~ublic ~onunents reeeivecl do not disclose wets or considerations tha~:ind cite
that tt~iis S~itleiza~nt Agre~nient is z~appro~r ate, in~a~~~j~er, a~~ ~~aciec~uate, ttie State agrees tci su~~iart
prompt: entry c~f'ttie App~Qva1 ~t~der ley the Bail .z-~iptcy Ca~irt.

             {c}       Thy: Parties abree to take such other action as triay t~~, r~quireci tt~ siz~~az-t ~r~iiipt
ent~~y of tht ~.~~~arc~vai Qrder lay tfre Ba~~ka-u~tcy Court.

              iii)       The Paf-ti~s acknotEried~;e: and a;~~ce that tale terms and cont~.iti.cans Qf this
Settlement Agreetnen~ are ccinclitiaiied, its ~Il z-espects, an the a~p~~aval gf ~iis Setticrnent Agreement
by t13e Bay -uptcy Co~.~it. If tltia Settlement A~ree~nent is not app~•ave~ by the :Bankrii~tcy Court
for any reast~n, it and. any underlyi~~~ a~~~eennents iii principle, including any tcrnl sheet, will h~
it~zi~7eciia#ely Mull arzd v~icl anc~ of nc~ fi~rt~iei• fflrce anii ~ftect.
        4:        ~inarxcial Assuz-a~zcc -. F~~tidin~: Grace shall_ provide t~Ilci~ved Fiziaiicral
Assura~ic~ as deserit~ed herein tc~ address fide poteeitial that the etin~i~iue~l presence cif -the KI~II7
c~ulci resuii iia State fin~nciai obli~;atic~iis; ~aiher fQr ~itYbc~ing KDII3 OR.Ivt c~i- far a.~ossitile future
need tc~ reeonst~~uct the spilltva~ structure in 1 Otl years anciloa• ~t~~ez~ Spiil~~ray:Wai'~, The t~lloi~jed:
Fina~i~ial ~ssuranc~. is to p~~civide fnai~cial asstirar~ce tca t1~~ State far Grace's perfornlafice'
al~ligatians iii ~annection ~~vith ~t1~. 'Phe Aliotivc:~i Financial ~;5sui-ance inelucies the ~'re-2(342
KDID .t~~cz•atic~n and Maintenance Pef•fcaz7~~a~ice Bond t~z~ci t}~e ~'izzaiicial Assux•ance 'I'zusts iri the.
atndunts, under tl~~ pro~er~ures; ~nci fv~- the purpr~ses s~:t forth bel~~v.. The Financial. P~ssu~~aiic~
Tz-usis ai3d the Su~`ety Bo~~cl pr€~vct~ ri~;Iits to fiazids far the State tci pe~~fc~ni~ certain rc~}uii`ed u~or~C
{S~DID t3c~;1~1 one! Sp Il~~ray'Wt~rk},.but only as set fnrtfi belo~;,r. Grace.or ADC' may draw u~~n fI2
Fir~aneiat Assu~~at~~e'1'rusis, but only under the prncedures as s~i fort~i be~oi~~:

           {a):       Pi`e-2042 KI~I£3 O~eratic~~ aaic~ ~I~it te~atace P~rfiarn~tanc~ Bard,

                   (i~     G~~ace shall obtain a surety bond siibstanfiatty in tl~~ fond ~itaclied_ to fh'is;
               ~ettlei~~ef~t Agreement as Exhibit 11 to assure,pei-f~t7~~arice cif KD.ID .U&!fI far e~cl~
               cif ~~ie neat ti~e~~ty~ years (2f)~3 tl~resugij ?042) (tfie "Pre-2042 ,I:~DID O~~rafion and:
               ~ait~tenance Performance ~4nri" cap: "~urcty Bond"). grace shall ~cc~uire the ~nrt~~l
               Surety Bond; in the amount of;~3,50[},f}(3~ within 9(1 days; a~te~• tl~~ Settlement
               Agreement Effective Date,. anct renew tl~ie Surety Boni each year ciniil 2 42 ~.~ritIi
               declin ~i~ ga}=n~.7t .an~c~ur~ts as iclent fiecl i« I'~ragra~l~ 1 of ~xhit~it B (S~rety Bc~~icl_
               ~1.~nat~nt Scl~ei~taie, sha~vii~~ ha~~ t ie atiioitnt ~f the regiiiretl surety ~~~ill decline ea~~~
               year ta; i•~flecf t7ic a-educed rc~naining tine peri€rd ft~a- perfc~rrrlance},

                    iii)' 1'he s~~ret}~'s payment oil the Surety Boni intci the Pte-2042 KI3TD (3&Iv1'
               .account with t~-the KDID 4&ivt ~'erfc~r~nar3c~ Tn~st ~uaulc~ lie tri~g~r~d anly yt (I. ~
                L?~RC I}irector's issu~~zcr; of ~ Nc~rt~~e~~tc~et~~anee T~~tcrniistatitan`fcsr #'ail~►~•e tip ~ci•fa~•in
                F~DID ~&ivy 11~3t is uncurcrl, in accc~~~dance ti<rith Sections ~~d}(i ij; ter {~} non-
                replacemer~t'af`the 5u~~eiy:Bcs~~d ~uitlzizi forty-five X45}days of ~i~rety's ti;,~ritten natiee
                cif cancellation.

                  (iii) If su~~cty's ~3ayn~e~~t an t ie Surety Bond is tr•i~~ei~ed as clesc~°ibec~ ~bt~~c;:tixe
               suref}! will pay thy, ~~raceeds snt~ a Pry-?042 K~IL? C.~~iVt account tai hip the KDTD':
               Q&iV1 erfot-~~xance ~'nist, ~t.tl f~inc~s in the }'re-2042 KDID C3KM accciunt shad be
               icsed or~Iy fez` tl~e s~estz•icf~d ui~ose ~f KIND CJ&iVI. Grace, KDC, aiid the State, may
               ~Eitairi fu~xc~s f't~arn tt~c; Pre-2t~~2 I<_DIU tJcYcl~1 aecoun~ :ittx~ler t}~e ~ai~acec~iiz~~s and
               cc~n~ii~ions set fo€~th belo~~r in Section 5 coiiceinirig access tc~ Trust F`unds:;

                   {i~~) If surei~~'s paytiient oig fhb Surd}~ 8o~ici is tri~~ereci as desct~ibed iz~'S~cfian.
               4~a)(ii~(2j ab'ntire {ftii~ nt~ri-replacejn~nt cif'tl~e Surety Bond) at-any time prior f~ 2442;.
               the~~ ~~vifl~c~ia~~~ls prior to 2(?~2 fi•c~n~ the K.DII~ £~ScM Pea~forzYiance Tn~st by trace ~~-
               ~ DE' shall be litnrieci try amounts that do.nt~t decrease the i~alanct; ~f I~DIII C7cS'~M
               1"er#'c~rmanee Tr~~st fi>>~ds at a~~}7 time c3uri~r~ a-given year; E~elo~.~ tl~e "h~l~sxin~~~in Suns
               iif Bcind ~~nc~~~t~t in Give►i Default Year" for tl~e fc~Ila~vin~ year, as refl~ctecl Qn i~te
               Suz•eiy Bend A~~lo~int ScI~et~ule, aitacl~~ci hez•ete~ as xliii~it ~.




                                                          iD
           ~v~    As of I~ecea3lber ~ 1, 20 2, if any tun~is are present iii the Pre-~{~42 KDID
      O~cM acco~~t~:t, ai] s~~clt fi~~~ds snail be trazisterr~d to o~' F~ecz~i~~e part ~f tby virhze of
      thi< tertninatir~~i ~f the Pre-2{l~2 I~~IT.~ 08 ~ ~c;cou~t ax cither~vise~ 13z~ ICDID Q&M
      Perfoi-~nance Trust fo~~ use Pcr~i-2fl42, at3~ such a~~xounfs shalt be zfi ~idditiiin tip the
      iui~d n~; of tt~e ~:L~ID C)8i1~+~ Perf4rn7ance T~~,~st ii~~~ier $ectior~ ~{b). tea suc13 #rt~nsfer
      €~~` funds fi~ozi~ #h~ Pre-20 2 KT71I7 ~& accnunt to the .i'cist-~0~~ KIND fl&IvI
      ~'erfor~nance Tnast shall affect the obligations desc~•it~eci in Se~tzau ~(b~..

kb~         Piast-242 KDID O&I~~ Perfarma~ice Ttiist:

         (i)     ~'ste~blicl~rrzerit: (mace shall esCablish, ~viilxizi 9t3 days after t1~~ S~ttle~~aent
      Agreement Effective- gate; the KDID C}&TvI Perfonnanee: Trust, .with the' foi~ri of
      insfi~u~nent substantia[ty its tt}e fc~r~~~ attacI~ed tti t12is Set€lenient Agrf;e~~ent as exhibit
      C, tci b~ mat~~ged 6~ a ~'e~utat~le t~~i~ki~ig ~r fi~~anci~I instilutit~n.

          {ii) I'rrr~nse c~rrcl~ceess, Funds. in tii~ KT~ID t~&M Per~'cir~x~anee Trust sli~Jl h~
      used Ur~ly Ccir ~}~e restricted ~i~.i~pose off' f~.a~di~i~ YDIL2 t~cYcivl a~~d i3~ay be ~vailal~Ie
      cii~iy as provictecl uzide~~ Sectian S ~~~ces~ t~ fi~3~st funds}; EurtI~er funds frog tli~:
      KDT.L3 {~BcM Perfnrn~ance Trust shalt nQt ~e available b Foxe January 1; 2143 (except
      far any Funds that. i~1ay tie ~le~~ositeci in tlae Pre-2042 T~.DID Q8iIv1 accaurit unZier
      ~e~;tion 4(~}, subject to tl~e lien fat erns in 4~~~{iv)}.
         {iii) e~'artrclirtt; rif'tlae liDI1~ Cic~.tVl Pcrfarxr~arrce Tr-cist. Cxrace s~tail fund the KDID
        &M ~'er#'armance Trust in fen equal aiu~u~l ulstall~iient~ of i~ti;L?OQ, with ttie first
      ins#alltnent rer~ui~~td ~vithiri 90 days to#` tl~e Sc:ttlemet~t A reezixe~~t Effective I1ate.
      Each instaltinent ~~ill ~~ placed rota tl~e S~.~ID ~~,M Perfonnan~e'I'rust>

         {iv} I.~crrcrtiora rcr~cl Fizral fJisfril~zttic~ir: '~"he KDII? C}M Perfc~~- ance Trust s~3aI1
      remain in full ford. acid effect until its F'uzids are depl~te~i v~ the-year X122: I~ ~`ixz cls
      ~~einain iiz tl~e DID C)&~jt PerfQrin~tice Trust:in #die year 2l 2~, t~i~ '~'u~ids shall be
      used ~~~cl/~r dista~it~uted p~.irsl~anf tc~ written a~reeti~~ttt bet~~een t~i~ State at~d Grace,
      Qz iii tl~e ~l~serice of such. an ag~•eetneiit, divided bete~,re~n ~rxace-and t3xe Sta€~ equally
      a~~ iv~~i-ch i 1, 212 .

(e~         KDID Spil:(~+~ay Re~~lacerr~ent `I"z-ust.

     (i}    ~rtn7~lisltrrr~trt. Grace shall estal~lislx, wztlxin ~(~ tiay~ after ~~e S~ttletnent
  f~~r~,etnent Effective Date, the. KDID Spilttivay Replacen~ecifi T~~tist tvitii tl~e fo~~m of
  tnstriainent stEbstacitiallyhi the fc~r€r~ attacl~eci ~a this ~ettienaez~t Abreeinent as ~~li bit
  D, to ~i iia3na~,ed by a reputable banking a~• ~t}uncial nstitutioT~.

       {ii} ~'iir~ivse t~~rrl Acces3. Funds- in the I~D1D Spil~~vay Pt.eplaceuien[ Trust s~iall
  be used c~~~ty for the z~estricted puz~ao~e cif' fun~iiz~g KDI:I~ Spilievay 'Wa~~k, including.
  as the restricted pu~pas~ ~aiay tie ~3ior3i~ed tinder Sectian ~{~j{iii}; azid n~~y !ie
  ~vaiiahle oily as grovided under Section 5 (Access to'1'ru~t ~iincis~, ~'ui-thei•> funds
  Fi~c~a~~ file }C.DID Spillway Replacezr~eni Tn~st s1a~1~ nat k~e available before January I,
  2120, exc~~t as pi-ctvidc~i under S~;c#ion ~(c)(iii) oY~ Seckzon S(e.) (~;csvel~ning earky
  access}, belo~~~:


                                              lI
                     (iiiJ Tfc~rrsr~n~~~~l~: r'~lorli~crttici~i c-~f IZ~st~-rc#er! Purpcis~ ~~c>r- ~t37~~, After t.#te yeai
                2(172, nothing i~z t1-~is Seitieinent A~r~~rr~e.iit precludes tlie. Parties f`r~i~Y a~reeii~~ in
                tivi-itill~, zn consie[~~•ation of all v~` Tlie relevant cir~:uri~"stances in c;aistence at the tiii~e
                ~incluc~ing the v~l~ie t~f tie I~DID Spillway Riplaccn~ent Trust versus tl~e cost of ~
                re~alacement spilllvaY), that funds iti tl~e KI3II~ ~piilway Replacetineni Trusf slier tld
                b~ used for a reasonably aiad ~ruden~ ~t~rpas~ related tt~ th I~I?ID 5pillcvay cif` tii~
                K.~7TD lather than replacement c~i- signi~~ant re~3~ r of the KDIi7~ Spiliz~ay: A.ny si~~h
                writ#en a~r~ei~ietit shall be subniitt~d tt~ tl~e trl~stee, a~iti shall c~inskit~zte ~Ite k~asis fcrr
                paynie~lts b}~ i~-ustee;

                    (ivy Ftrr~rlirig of the k'~I7~ Sj~ill~vcr}j Re~~lct~e~ r~rtt Ti-trst; Grace shall fund the
                I~llID S~ill~vay IZe~l~c~~n~zit'Cnis~ iz~ tez~ egcial ~r~ixual.ins[allz~~enis cif l f~6,0~~, ~~,=ith
                t~~~ firs# insiallrz~ec~t rcc~uirecl vrithin 90 days after t}ie Settlen~en€ A;reerrient Effectiife
                I3~te< Each u~stallmer~t will be placed intn the K.I3ID S~i~I~~v~y Ke~alace e~-~t'I"rust.

                    (iJ)   ~tir~crtiort rrrrtl .F'r`rrcil Z~istribz~~ior~. If funds ~ezn~it irk ih~ K~TD S~ill~,vay
                t~ep~acemen~ TrcYst in 213:2, -any-re~~ainitX~; ~iiz~~is steal( ~c i} used andtor distributed
                p~rsuar~~ to ~vrittc;n agreet~lent behveen tf~e P~rtie~; Qr if~icr su~l~ agreezt3ent is reac}~ed
                bef4r~ June 30, 2132; ii) distributed tc~ Grace, pr o~li~l~d; l~~~slei~er, su~~x ~x~anies must
                lie ~se~ safely fc~r purposes i~el~ti~i~;.t~ the K~}II7: Tl~~ K~3TD 5pill~vay RepIacemecit
                'I'iust shall ~'~naai~~ icl full. force. ar~d eff~ct:u2~tit such t ii~~ as its funds,are depleted tiz-
                tite }year ?132, ~v~iiclieve~` is jai-liar.

              ~ci}      T`ailure. to make Financial ~ss~arance Tt~ust fiin~lit~~ ~ayment~ as ~•ec~r~ serf by this
Sec#ic~ia 4 ~fTei~ notice aiad ail tippc~i#unity to c€ire, is ~ tnaf~i-iai breach ofcltis Settl~iiieni Agr rr ent-

           ~.       Access. to `I`z~ust l~unr~s. A!l ~~c~s~ eo tt~e ~'uiids in the F~naiicial ~ssurance'I'~2isfs
 and all I? stributions Pram sue~~ T~~stss are subject tea the pi~ivisioi-~s, prc~cedure~ and regui~-err~~~its
 set fai~tl~ in this Section 5.

           {a~         Distributions frtitn tie .~'i~iancial,.~ssurance Ta~usis sEia~l ~i~ fc~t_ :K:DID C?~~i or
KDI~? ~~ailhYray ~~Tc~rk, a-~spectively. ~'arties shall ~a~it ~e~k o~ use funds fion~ any Fin~nciat
Asst~rance'I'rust ~'o~• uses autsicl~ of the i•elevar~t irt~st's t•~strictecl piirpcise, except as provided under
Section 4(c)(iii) (:~errrarac~bl~ t~~arliTcratiQr~ cif Restr~ictc~cl Pt~r~ose ~r~er~ 20~`2~.

               ~h) _      7`►~rist Dist1°r`brrtir?ras ~ -Docirrtretrtrrtior~ 12~c~~~it~er~ret~~s, "I'he f~lfot=,~in~
dc~urn~z~fatic-~~i is required fal• all Dist~~i?~iti~tt~ froi~~ ~itzancial Asst€rance'T'rust~: Eaeli Pai~t}~ sha11
send tlxe ott}er a copy of ail st~bnlit~als t~ a tntstee, as ~rc~vic~~d in Section 13 (I~T€~tice}, Qr in tli~ tine
-and ~i~anne~- pis atlaez-~vise agreed fo tl~e parties. In. aclelitii~n #o o#(per documentation that n ay be
requ~steci by- trustEe(s), thy. Pasty see~ii~~ a DisErit~~xtian (race ;ar~dlor IfI?G, o~' ~~e Mate} shall
sut~t~~it tl~e foilc~~visi~ to the trustees};

                   {i}     A. certi~catian that the Distribution .that is sc~ugltt is fir ~u4~-~C w #lain tt~e
                restc`icted ~~uc~oses of tine Fii~a~~eiai Assurance Trust fi~oi~~ which t}ie Distribution is
                sought;




                                                            12
                   {ii) for• caiii~ilet~;d i~~rl~ -that 17a~ already t~eez3 ~~a cl f~~` kiy tl~e Party s~elcin~
                Distribution, tl~~ isiv~ices acid r~~e pts sufficient to cie~nonst~-ate thaf, work {csr the
                z~et~vant poi-tic~n ther~a~} bias been }~er~onne~i ~nc~ payi~~ent I~as been made; ai~~l

                   {iii) Foi` Distrlbi€tion dircctIy tt~ a cvntractar or vendi~r {~~titl~out ac~~ance
                ~ayineiYt by the Tarty seeking D stribut ari), the contract bet~~veen the ciintf`actoz~ or
                v~~ici~r a~Yd the Marty se~ki~ig ~ stribiitian ~`or the e~-#'or~~ianee. of` tl~e i~ork,
                accc~~~lpaned by the:r~tevaiit inyoice(s) for payszient clue: tc~ th~;;speeifieti contf~acfoi•
                iJT` V~IIC~bE'.


                {c}       Gt•r~~~ .recess to 7'r•~fsi Cirricls. ~ stributir~z~s frQxn the inane al t~.ssurance
Trusts sl~atl be t~iacie tc~ brace +~r I~DG (or tl~~ir ~.ontr~ctprs) upon request ts~ the trtaste~ cai3sis~eiit
v~ri~l3 ~1~e rest~~icteci`pur~~ses cif t13e "inanciai ~Assu anc~ Trustst exce~at that ~~ prevent fun~in~ from
the Ti°ust for dtplicafive u~a~-k, no Cirac~ l'~rty nay rer{iesC ~7istributi~iis For specific;cvc~rk ti~~t lias
keen hilly iaerforrn~c~ b}~ tti~ Mate after a Nonperfonn~nc~ Def~t-~Y~inatic~n.

              (cif     Stale ~cGess to 7`~-~rst I~'tt~rcls:. Distributions f'rorn t~i~Financial assurance "Trusts
shall be made to the. State (cax• its cnntzactaF~s if sa di~~e~ted by the State) upt~n Sate -ec~ues~ to-the
€a~ustee cc~n~ stmt with the r~stricte~ ~i~rposes of the ~izlat~ci~l;Assura~tce Trusts; bUt ciz~Iy in the
event of air it~cured NQn~ae~-farnYanee Detei-zt~iFzat o~i by the Di~1RC I~irzc"tor'ft~r KDID t~~.1~ or
I~ID Sp lliva~r ~~Vorl:; respectively, #`t~z~ ~rer~'orn~a~ ~~ ~f t~~e work desc~~ed in the ~zi~l
t~onperfai7nance Deten~linatioi~. The ~~at~ shall also lxave acc~~s to t~~:Financial ~s`u~~ance Tz'iists
 ~' the ~;~renCs described under Se~tiar~ 6(e} {Gessatit~n of Grace) ~ver~: to occur. T}~~s Set#Ieinent
A~r~eii ent does ~ cat t~~adifv o;~ ~tilend its ~n}x`~vay t~~IR.~'s <~i~tharit}~ end po~tvers-r~r. re~u[a~ory
~r~cess p~~r5u3nt to tt~e tvlc~ritana Dam Safefy Act:ar t~~e U~~tC's L~asn Safety Prc~grai~i, as'tl~ey may
be amezided car supecsecied #'i-flz~~ t ime ~o t ~~ie. The.pracedures in Secficin S{d) end (e) solely lay out
t ae proeess to ~e follc~eved'f~r the Slate tc~ access funds in the Financial Assurance Trysts.

                   Vii)   Nar~pei~oi~r~~c~rrceI.le~etrr~i~Yrrtiori. AI~Fonperfarmanc~L)~tern~ix~ationine~ns
                a ~~~al ~a~rztteri cietez-ra~inatiani by tl~e DNIt~ T3ir~ctt~i• ;that specifically: x} describes
                substaniial anc3 inatc.rial ci~nperfari~iartc~ ley K_DG of ~I~I~ flBcIVI tir,KDID Spillway
                ~'t~r~;-and y} ~statitishes t}~at il~e fallo~vin~ conditions precedent have Eieen n et. Tie
                DNkC Dire.~,tor is the only State c~f~cial «?ht~ znay issue a I+Ic~nper~'~i~-niance
                Deter~l~inatic~n. All Nanpei•foz•maiice Determination(s~ are stab}eet to the follo~.fin~
                Londiticans pr~cecient, end sit~ist~ntive grid pY~t~cetlurat ret~uiremezifs:

                   (ri) C~iiza'itar~r~:s° Pr-ececlerrt to' r~ta~r~aerfcrnl~rrce Detexrtitxczt~orr. ~o
                Non~erformartce Determination fc~z• BID O&Iy1 ar KDII~ ~~itl~~vay Work may lie
                issued s~ithout f rst providing to Grace ar KDC:

                          {A:j       ~t~ritt~n ~ciu~t notice by Clie I3NRC 1~irec:tor car DI~~C's ~3a~7~ Safety
P~~ngt~am t~iat specifcalty: i} describes. the i1aork {eaitier. KDID C)~.tVi ar KDII) Spillway Wc~rl~}
ally#wily ~ic~€ sul~sEaz~tially as~c~ materially perfoi~i~ed; ~tc~ ii) identifies the prevision{s) iii ttie then-
applicabie Uper~tinb p~rnli# oa~ oilier sticii }permit or license f~tz• dam ope~`atioil under tl~e U~IR~'s
Dai~i Safety Pragt'a~ii (and associated en~incering re~csrts; if ariy} requiring; suc~~ war~C

                          {B~         ~ relsonable o~pt~rtunit}J to confer with the ~?NI~C Dii'ectcrs~ to
attempt tip resc~ive tiie z~~~tte~° i~Y ~Qc~c~ faith; an€t


                                                       i~
                         (G)     An t~p~ac~rtsanity to cure within ninety {~fl}days after` receipt by G~~ac~
or KDC alb the ~v~~ittei~ actual notice; unlzss ~ Icai~ger ~e~-ic~~i cif tit~ze tea stare .is a ~~eed to in ~,vritii~g
bythe I7NR~ Dir~ctc~r car delegee.

                   (iii) C'rrr•e, -Grace Parties ma}r cure an alle~eci substantial and iiiatei-ial
               nnl~i~icrf'atniaigce cif KDID Q&12 a~rork or KDID ~pillevay Work hy: x} provi~an; to
               the Di~1R~ DiY~ct~r or c~s[egee inft~~-matic~n d~~»onstt'~ting tl~~ -tlie subject r~orl: I~as
               i~een ~erCc~~~~~ed; y) ~er~a~i~~iri~ tie subject ~cfc~z-~; or ~).~tabinztticlg 't4 the T_?N~Z
               Director car dele~ee ~ flan .far perfotxn~n~e of such,tivoz~c accorclin~ to a scIieciule ghat
               ~iay ~~eco~n z~ trine for ~tive►-nr ieiital ~ppi~ovals, seast~iial c~z~dititins iilclu ink: ire
               and #i~•e restrictions;., tiveather, t3eec3s £or cnz2~ple~c engia~eeriti¢ p1anF~in~; a~i~ z~uve~v,
               and other fact specie cc~nsiciera~ tins. T~~e Parties ~~rec and.~ckt~o~vle.d~e thafisatne
               I{UID t)&M` ~v~"t~~ anti so~sie I~DII.~ S~i1li~vay ark mad require dears of plaruiicig
               end ini~ilem~rat~tioii. If tarace ar I~.bC exhii~ is ;t~t~d fait€~ it~itent to ~erfti~~zri sucl}
               ~vcirl~ anci ~iernc~nsfcates r~~sanable dilzge~ce, iY skull be prtividecl ii nt~ to ~~erfonn
               ~vi[hc~ut aizy ~donperfia3~mar~~e Iaeten~~inatic~n, and a~a~ra~riatc extensions of time to
               ctii~e shalt ~Qt be rinreasc~nabty ~vithhelr~'by t~~e D1~IRC Dir~ctc~r or cielegee:

                   {iv) I'a~~ce ll~lr~jeifr•e. Prt~vicle~l_th~t eiatic~ is timely given in ~vritizxg t~ the ~IZ~RC
               Director oc dele~ee ~vit[Zir►-ten X10} days of disct~Very ofa F`orc~ ~~~iij~ Et•e Condition;
               Ca~•ace and I~~3C shall be tenzpt~rar ly ~:xc~sc:d from nonperfcirn~ance arisir~~ out c~~ a
               ~'c~r•c~ tl~fcrjecif-~ C~iiditian lio~~eve, in no event shat! :a ~°tir-ce Mcrjeirt•e Cc~txditiaii
               excuse non~ec~fa~-~nance for a perit~d ref greater tha~r csne }~undred tu~e~ify (I20} days,.
               a~se~~t agreen~erit iri ~vrit: i~ ~ihat t~~ay t7e ~y electroziic con~xniinicatians s~~cii as
               e~7zail} tiettveen the Pari e~. Dui' ng such: perit~t~ cat a F'Ut~cc EI~I~~errr-~r C`onditio~3 as
               cIc:scribed in ihzs subsection, no ~i~n~e~-fcsi-manc~ D~~erz~aination nay iss~ze. A
               t~tonpc~~f~ann~nee D~t~~~minatiaii naav issue, subject. tv all ,tither - i~equ a~einexzts Foz`
               ~t~io~~pe~-fc~rc~ance Detertninatioi~s, after t~lu ~x~iiraiiozi cif~i~~ Iiuridi`cd ttveniY {iZU)
               days, ~ak~s~r~t c~z~itte~i ~g~~ee~nenF ~et~~cen the Parties to extend such period.

            {e}        ~crt-ly ~tcc~ss tv F~irr~lti~~orrx tli KID Spill~vrry R~plrreeriteraF Ti~rrst 13c~;ittni,ag
err Z~7Z. Funds fz~c~ix~ the KDID Spills~,ray Replacement 1"rust i ray be available betcve~n January I,
2(172, and 7~ece~~zbe~'.~ 1, 2I'~5, fcrr ~CS~~I~ 5~i11~3jay Wt~r~C in t11e etFent cif the follawing.~ancl suE~ject
tc~ Section S(a} th~~r~trgl~ (e} exce~5t as ~1rc~vided in ~(c)(ii) beloi~r}:

                  (i):    F'crr-1}~ Ti`e~arrir nr• }~i>~Icxcc~r~r~~iit L3eter-rt3iitc~cl ~>y ttrc~ ~314fR~ C)ircc~tor- vt~
               Dele~ie. A v~~ritten. deteririination by t~je ~NR.C:Dir~~tor or ~ele~~e that ~lesc~'ibes a
               repair or re~~laceinent that is KT)II~ Spillway ~~ork r~as~z~abl~j n~c~ssary to ~er£c~r-ii~
               before 212 , E~ith the engiii~erzng k~asis f'cir such tle.te~~nina#i~ia. Iii advance, cif atiy
               such tleteinainatic~n; the DI~tRC Dtrectt~i~ ai• de~ege~; and Grace sl3ali cc~nfef•, ~nci if,
               during s~ich advance eonFeiz•ing, t ie K ID ciai~t~ safety ~ia~ineez- of recaa~d (or
               ec~uivaie~lt) identifies i~~ ~~r~~ztin~.ar~cl specifically pz'ovitles the ~n~ineering bases far.
               ar~y cc~ticer~~s, tt~eii !tie cletei~ninati~n !roust be'supp~rted 1~y air explanation frairi a
               certified ~rt~fessic?nai en~;i~~eer a~lciressing each of the conc~r~~s icientifiect try tiie
               I~~ID da~~3 safetyr engineer ~f t•ec~rd. Cc~nsitieE~ing the engine~s-ing: infoi-n~ati~n, the
               I)~iRC ~irectc~r or ~ele~ee shall determine ~vl7etller the deseribe~i re~~air car




                                                          i~3
                  re~Iaceine~it zs I~DID Spillway Wc~~~k that is ~•~ast~2-~ably ~~~cessary to ~:~ei-forn~ ~~fore
                  2I26; ot=-

                     (ii}   ~r~a~r~e~ic~l Res~c?rrse l~istr•i~trtior~s to the Strrtc~. The State; inay access tl~e
                 Spilliriay Itcplace~Y- ant Ti•t}st for casts tt~ r~spon~t tc~ ot• adcli-ess an en~~i~gen~y,
                 consistent ~uii~i the ~rc~cedi~res a~~ei'sta~~►elar~ls cif.~hc Dar► S~~ety ~-1ct, iYtCA 8~-15-
                 21~ ar any superseding 1a~v. ~+tcihvitlxstandin~ Section. S~d~, na ~dQnperformance
                 Detefzninatian r€~;arti n~ tie emer~eney response at el e`I~DID Spit#u~ay is requited
                 as a prerec~uisi#e for Distriliiitians under fl~is Seetit~ri ~~e}(ii) to the State ~pcci~cally
                 :for and limited to an em~r~~ncy consistenf'~~uith Iv1CA ~5:-15-215:

             ~f}        .F~~cc~r~ll~~eprri~- crrtctPer-iaclic~lce~tiritir ~: Tlt~ Patties anc~ I~L3C ii ~.ist maintain
copies of records ~~~f~~-e~~ce~ in Sect otz 54b}-~d~? i~~clud i~g all a•ec~uests fo~~ Disti~ibutictr~ and
I7 siributic~ns #`ron~ any Financial l~ssurance TruSf and assc~ciat~cl d~cuanentatian, for a pe~~iod cif'
ei~tit ~8~ yea~~s ftsllc~iv n~ such Distribution. Such r~c~rcls refefei ceci ire Sectiran S{l~)-(d} :hall ~e
made: ~vaiiable to'.eitl~er Party ~~rit£iin sixty (6Qj ~3ays af:w~uteri ~ec~r.~~st; (.mace sha31 ~rrari~e C~z• air
a~rival ~tat~tilei~t ~nic~ rp~ratin~ such infc~f~i~~atiori to ~e provicie~i to eaciz Paa~ty by t1~e tt`u~t~e acs ai~
before iV~ay i of the cal~i~da~: yeas• folla~vii~g tl~e yeas cov~red;~iy suc}x statement.

           ~i.      Fin~~2ci~I'~lssur~~c~ -General 'I`erins.

              (a~         Nc~rr-U tplzc{ttiv~r of l~"trar~~trrcr7.~lss~r~~rrrce ~i> t/r L~~ Rec~irYi-errrczjrts. Tl~e ~'~~-ties
~~rish to avciid re~und~ncy to ttie ~i~tfEst e~te~~t ~~c~ssi~Ie, ~v t~otzt defeating the ~t~r~ose of the
~Il~~ver1 Fi~3azlcial tlssuraiice cc~nt~ined herein a~ dec~•easir~~ #lie sct~~3c and value raf the At1Q~~~t
Financial Assui-~i~ce ~a~7~szait~rt~rits< Ttz~ Pa~~ties further`Yeco~ni~e that EP A inay request or reglkire
financial assurance from brace rar ADC ~s park o~"a dz~aft or f nax SPA agreem~~~t, decree csz- ~rcier
~zertaiiiin~ tc~ t.l~e CJU3 rernecty, a~~rl that it is possila~e tl~~t financial assurance fc~x- KIIIL~ CJ&M ~ancllor
I ~3ID Spilt~;vay Vc7ciF~1~ cou~t~ b~ a p~a-t oaf thy: ;ft~~r~cial assurenee re~uesteci. ~r Q-equir~d by ~~/a:.
Accordingly; the following te~-r~~~ apply:

                    (i)    tJptin ~-ec~uest off' eit~ier Party ta. t13~ other: the Parties shall coc~~erate in
                 jointly expressing try EPa iri r~~~itirt~ that they have negotiated t.l~e Surety Bc~~id and
                 financial Assiieance `T`rus~s regarding KI)ID Q&~r1 anti/or KDID Spilhvay Wnr~, that
                 aziec~uately ~~~ovicie .financial assurance z~e~;ardin; K.~ID t~&M ancIf~a~ ~.D~D
                 S~ill~uay V4'ork, e~vitl; tl.~e intent that ESA acce~at as sufficiene the ~ria~icial assurance
                 established iii this agreement fc a• purposes cif €~DII7 U&ICI anti/car KDID ~~ilE~~ay


                     {ii) If a~~cI only i~'EPA so r~quest~ anti ~~e.c~~ai~~~s; t1~e Parties abree that ~,Pt~ in~~
                 be inad~ t~~e p~•iina~y t~eneficiaxy cif`tlxe at~rety Bo~~d uz• rtlet~a3it FinanGial .r~ssurance
                 Trusts estat~lisi~e~i by this $etklement A~r~~m~nt and #fiat, ifsa, the Pa~~ies ~YIII JOIF7II~
                 s~equest that the;State be idenii~eci as ~ secanclary hene~eza~-y of tine Surety Bnnc~ or
                 relevac~# Fir~aiie ai Assurance Tt-ust. The Parties ~~r ll implemc~it tl~~se beneficiaxy
                 tlesi~natie~ns promptly ~~~heri EI'~ agrees to tl3em.

                    (iii} Ta the ~xtelit ghat SPA declines the oppoz~t~nity tc~ become a p~•iin~ry
                 t~ene#`iciary cif the Suret}> Bon~1 or Financial ~ls5urance Trusts, -and requests aid
                 requires, a~ie! a Grace Warty ~i~ovi~I~s, finai3cial assurance for Ki7IL? QB~~vI and/or


                                                              IS
                KDI.D Spillway ~Vtirk as p~i-t of ari agr~:~i~ie}it, decree, car Qrcier that exceec~~ the value
                alid scope of the Cinancial as~~~~~ance provicieci i~Y it~is Settlen~ez~t A r~ecnent forKDID
                C}&~1 at~cilor Kl~i:~ ~pill~v<t}J WUrk, then .the financial assurance obli~~~ c~i~s fci~•
                ~CDID Q&M andlor K.I)ID Spiii~.~ay Wo~'k; ~~~specti~rely=, shill terz~~inate and the
                balaaice of tale gust sci te~mir~ateci shall b~ retained to ~iace iiilmediatety. Irr s~rch
                c~s~,, Grace shill ~Y•~~rose #}iat ~Y`A ~itai~cial assurance (to tine extent it covei-~ I~I7ID
                ~7c~Nf az-tcilc~r I~~ID SpilltiTay ~~ork r~s~~etivily) desi~i~at~ tt~e S#ate as a secondary
                be~le~cia~~y, ~nct upofa EPA concurrence. sf3a11 inctude the Sta€e. as ~ secondary
                benefcia~y irc such ~P11 financial assuraiiee: The value of fii~a~~cial asstii`ance fcai-
                KDID fJ&P~ consists of~ } average azinu~i p~ymc:~~ts c~~ ~175,OOOlye~x in ~El2l dollars
                fpr 2(3 jrears fcir a ~~t~l of~4:3 nnill on forpre-2f~42 KDID.D&Ivf:(des~ribed in sect"sora
                4(a)); ~i~-~d ii} [en aruivat instatiinents t~italing ~-1.56. iniIiion foY' pt~st-204" I~i~tD
                U~1~I {described in Sectit~i~ ~(b~),.

                     (iv) N~i~v~t}~sta~iding anytlais~g ca Elie c.cintrar~~ I~erc;in, nca financial assurance
                priivicte~l tii~d~i• this Settletrient A re~rric:n~ small to rinat~: by virtue of a Grace Pai-~y
                ne~otiati~~ financial assur~ric~ ~yitt~ EP~-1 f~r~- IlID O~~iI andlar KD1T3 Spill~~sr~y
                ~Vtsrl~ under t~f~n~ ~~valtilitib a lesser val~ie 4~• sct~}~e, ar~~i t~ncier suci~ circurt~stances,
                tt~e financial ~ssuran~e c~bligati~n~ 12erein sl~atl i•etTiain in fi~il f~z~~e anal effect absent
                ~t~rr~itte~x, a r~emenf ft~oni ~1~~ State to #Pie coca#racy.

             (b}        ~}joic~ti~icc cif,L~iittt~t~ 1'~ecc~i~er~x. Iftl~e State obtains Distrit~i3tior~ of T~u~t funds,
it i3iay nat seek tct require a Grace party ~c~ ~erfc~rm or seek: t~ reco~rer tt~e costs. fir ~erfc~r-niance cif
tlie: dame ~~~i~k far- v~hic}i a I3isfri~t~kii~n ti~ra~ rnac~~ in a~cordanee wi#h the pt~r~ose of the Tivst,
~~nless:s~icti fiends leave. ~a~en used ~'ar tixat ~ur~os~, e;Yhaus eci; acid fiietl~er Mork is ~~equ 3•ed,

             {c}       AddiiiQiial Terms ~iovernin~ Boni..

                    (i}    13urac~ Iss~rer~ I~ctlitrg. A,n issuer .of tt~e bonds descrih~d a~c~ve must, at the
                time. cif the ar ginai issuance, ~e x~clude~ an the ~Initeci States '.I're~ssury '~'-list
                (I~e~at~t~~~et~t Gii-~~ilat- S70). If ar~y issuet-'s:,ratin;s leap E~e1o~~ a ratiii~ cif t'~- from
                A.11~: Beni, t~iet~ the bpnrt mush be r~plac~rl b~= Gt•ace tvittjin GO c~a~~s of Gt~ace's receip€.
                of notice of s~ioh a ati~igs i3to~a.

                   {ii} Irtitirrl ~'orrcl ~'ltrrrlrtag. Faiture t~ acq~iire anti maintain ir3itiat siii-ety }~c~nciiri~
                as rc ~i~ir~€3 by this. Se#tlert~e~~t !~~reernen€, after notice and a~~ oppartunit}~ ~o cure,
                ~vitk~in rtin~ty ~9D} days, is a ~rialef~ia7 bieaelx of this Settle~nei~t AgreeF~ie3i€.

             (ei}      ~'e~i-rnninat'iot~ of Cii~ace Financial ~`~ssura~xee Qbligatiar~s_

                    (i)     Tet•r~iiitrrt vrt. If the ~►IQ is f~equi~=e~i to Eye refnc~~.~e~l, stGbstaritaally or
                ~Q;ii~let~ly, ~ti~n G~~~c~'s c~ntinuinb obli~atiot~s fa p~~r~vsde the ~uz~et~ ~3c~zld anti
                ~'~-ust~ l~ereuritiei• till iznn3ediatcty tet~~zinate ~i~d aF~j~ funds pf-ar~ided by Grace to any:
                Fi~r~~ieial Assurance 7'iust }iereunder 4uit1 be retur7led ley tt~e tiustee fr4in t ie Trusi to
                ~ra~e in i`utl, inelurling any interest e~riiin~s and return on investment, if any, tlieil
                k~~ld in su~t~ Tz-u~t. -The tennii~a~i4zi of any_F~i~~anci~l Assurane~ Tnrst or surety Boni
                iii accordance tivitll this stirbsectiat; 6{tl~(i} sha(1 have: nc~ e(`fect ors G~•ace's payi~~~f~t
                obl aticans in section S l~e~-ein.


                                                          l6
                     (ii) S'trite C`or~si-ittutiiJE I~olc~. N~€t~ii~~; its this Settienient Agreer~lent still lii~lit
                 t~~G Stafe's participatit~n iii a ~:o~ siilt~itive role ~~rith EPA rc~;ardi~7~ OU3 to Life extent
                 pa~avided by Ia~v;

                    {iii} C~'P~Ir1's~ 1?1; 'i`he Mate preserves L~l~ateve~- }-igtits it in~y }gave ~iui~uant
                 to Section 1? 1 ~f~ER.C~.A ~s in ef~`ect on the S~tttei~~en~ A~~•eement f£ecti~ve Date,.
                 the exercise cif w~~icl~; y) s~ial! Piave no beari~~g on the rights and cibli~ations of the
                 ~'artie~, ~~ce~7ti as pxovided in Section 6(c[), aaic! L} sE~aEI not gi~re rise to any'~laii~~ oi~
                 cause ~i aetian by the State against Grace ~'acties. Grace Parties reserve all of their
                 ri~;iats and defe7~~~s.

            {~)      C~~ssrrtiot oj~Grcice: If at a~iy time aftez~ -the Settlen~~ait ~greei~ie~~t Effective
Date, brace<{aizcl a~~y ~~~~~•geci ter st{ccessoi• ~ntit}f t}~at ~ssu~~~es Grace's obii~atiar~s tc~ the State
tie~-eund~r} cases Yo exist cir #azls to ccintiriu~ to o~~raf~ a5 a going cai3c~1`n; iEpon nonce tli~reoF,
ace~Ynpaniecl by dc~ciinaentati~z~ c~F the Basis fai• t~~e i3otice, to t}~e trustee(s~ and s~u•eties of t~~e
Financial Assiirunce Trusts anrtlor ~ ~rety Bt~ndg est~blisl3ed ~ieaeunclera al! scicl~ Trusts ~nrl Sut•ety
F3ancls shall inure coin;3letely ~o t~ie'~enefit flftl e Mate far use for tf~e T1~ust purpt~s~s and i a}r is
accessE ~ lay the State cc~z~sisfe~at «pith Section 5 (l~.ccess to Trust Funds}, ~~.}# i~~itixcsut. ~ rerec~c~is to
fc~r ~ I~onperfana~ance Det~ri~~ini~tioi~:

            (f~~`     tlto CJtl~ej• C'lcrr'itts fc s~ Firtrrrrcirrl ~ss~rr•crric~. Thy State agt~ees that in
consideratinn ~f tl~e ~S.11~r~~ed ~iz~~tz;vial Assurazice prodded hez~eir~, :the State sl~ali lave n~ ~lain~is
ter causes of actic~~i of any tune ~g~iz~t a Gy-ace ~'~rty for ~r~an~ial assu~•a~ice izi connection ~vz#~i
KDID C~~~I oi; KI~I~ Spill vay Work.

              (~;~      Ef~~ct r~j`',~' ~ter7~ciccl ~ss~rrcrr~ce. Neit~~e~• the provision ~~ the Allt~~~eci ~'~nancial
Assuraric~; rior any tern~inatzan therec~f~~~z•s~iant to Seckion b(d)(i};shill er.pand, lizx~ t, ar attxen~vis~
affect any obli~atic~~is, ~•i~hts, ~sz~ rexnetiies Gracz~ Pa Eies ~nA~r ~r i~~ay nat Piave ~.~ritli aspect to (~?~13
nc~~~ sir in the future, excepC';Co est~biislz by;a~reerri~~it the Qi~ly ~s~azi~iai ass~~ranc~ tip t ie ~~ate ~'or
I~DID C)I~i,~i aid KDII1 Spillti~ray ~~f'ork. ~xcc~if as expressly provi~le~i iii This Settten~ent
.~~reement, tl~~ ~rcivisic~i~ ~ffrnanciat ass~ia~ance liereia3 shall zxcit altez~ cir li~~iit ttie x•~~ulatoz~y gr~~vers
rights; or r~riieeli~:s otI-~~t~wise avaitabte ~c~ tl~~ State:

                 (i~)     ~c~tcrs.troplric F`cr~~'tr~•~ I.'ese~-~~ntr~r2. Thc: State reserves ct~m~ leteiy anal v~ th4ut
tia~3itafiic~t~ ~,vhatsacver, anc~ does not release iii ariy ~aay, airy claims or causes of actian t~f'a~iy kind
that it inayliave aris:in~ gut of flr in ct~r~ecYiaz~ ~arit}~ the ~ccurre~~ce oC a future ~pc~st-A,~~t't~yat
C?rtler~ catastrap~ic failure cif the..~DID far its integral campr~l~enfs thai results ifi: a subsf~ntial €~i~
com~alet~ failure o£ tlae KDIL3 stn~cEure and the ~iQ~~rnstrearzl r~iigratio~~ below the current location
cif the Mill Prand o~~ a~~ubstantiat ~iiirtic~ai of itn~~~undecl taiIiligs. The parties agree t]»t such aboi~e=
desc~~ii~ecl catascrophii :faiiur~ off` the I~DID Qr its ii~te~ral cQm~anents does nest describe any
cc~riditicir~s pi-esezat as-cif t~~e Settlement t~.~;reeznent effective Date.

             (i}        +Grace IleseriTctli~l~~. Grace reserves c~~n~aletety and bvithc~ut li i3 tati~n
4~rhatsaever ~#11 of its- ri~,hts, clair~is cQunttr-claims, and ci~fenses as to any r~servec~ Mate claim or
pause cif ~ctic~n:

         7      ~esalutioai of ~~IQa~tana Claim for Contin e~3t C~:RCL,~', £3U3 hosts. The
 Parties acknc~~viedge that ndef- S~ctian 1{}4(c)(3} of GEFZCLf1, 42 LT.S.G. ~ 9G04~c}(~i), before


                                                           17
 EPA can in~~lein~rit an SPA-sr;lccfecl re~a~edial actiois at a ~ER~LA site usi~z~ feci~ral Su~~e~~fttn~i
 ~~ioney, ii~ro coriditic~ns must be i~iet~ u~ni~ request try EPA; {1}tae State n~~:st a~r~~ tci day 1C1°!o of
 fire casts of tE~e SPA se(e~ted remedial ~ctica~~ costs (tl~e "1 ~?"/~ C't~sfi Shane");and {2) the State naiist
 ag~•ee to ~~y 1(1fl%o nf`t13~ host=remedy n~~:ration anci z~~~inte~ia►~c~ ccasta t31~t are.cies~ribe€~ in the
 ~~'A kecord of Decisit~i~ {"~'ost-Refi edv C)8cA1i hosts"}.

              ~a}     'I'o prnv.ide fob- tine cc~z;tin~;er~cy under ~~rhich 1I~e State agrees tt~ pay tl1~ IU%o
host Snare anti the Fast-Itei~iee~y D&tit ~'c~sts for E3U3 for the purpose of enabling EPfI
i pieine[rtati~n of ari EPA-sele~.t~d t~e eclial a~ti~~~ at (JU3, clue Settlei~~ent ~l~r•ee~neni prc~~ides
fof• an ``~llt~~~~d Ccintin~ea~t'Q~.J3 Mate share Clain2°' as defined bela~af in this S~ctiari `]..

                    Vii}      "All~Eve~l Cc~nting~ent (3U3 State Share C is n~" shat'. nZeai~ t3~~ l OGfu Cost
                S~~are -for C3~3~ Itetiledy and. l Q~% of tl~~ Fost-RezYietiy a&~1 ~~sis fog- OU3, in c~c~
                cage s~zbject tt~ aiiy ri~►tts to ~halles~ e EPA's incuri•~n~~ ar iriipositioi~ af'ati~~ stack:
                ce~sts; and any G~~ace ~ai~ti~s' ri~tits; claims, ci~untei•-claims, a~~ci. tlef~n~es.
                iV~L)t4Y1~I15t7I3t~113~ the foregain~ sentence, ct~e Eilita~vecl Cai~iin~~zit t~~3 State share
                ~laitn does riot include clait~ls f<~r'~C~I.D C)8cPv1 and KDII~ Spiil~vay ~4~o~~k that fa11
                ~~jitlti~t rite ~1'~-usts' purp~s~s as sc~ fortis above.

                    iii) }~.lthau~h tl~e Allaeve;d ~antii~~~nt UU3 State Sliai•e Claim rer~~aiz~~; a
                c~antir gent cl~i~n t~iat is fiat no~v lic~iiidated, it is "1~.11oived" iii the ~e~~se that Grace:.
                ~} is ~vaivirig ~t~y ri lls to recjuire .the present 1ic~uitiat ozi t~f suc11 Clairi~; and y~ is
                agreeing aild ~tig~ilatcs thafi the ciischa~~~e sef forth iii I l U.S;~: § f 1 ~ 1, the P1a~~, ~s~d
                ttie Ct~~i~f-rnation Order s~iall not-apply to any !~1(o~veci ~ontir}~ei~t OU3 ~ataie S~tar~
                Claim< l~fnnet~ieless, in connection ivitl~ any State asse~~zoz~ of an_y ci~i`trsY yr cattier
                right tc~ relief abainst a ~r-~ce l'az-ty, tine E'a~ties a;ree that t e~uriscCict on of any court
                or adjudicative t~oc~y ci~Ter lic~c~itlati~n cif the AIl6~~~ed Contii~~ent O'E;I3 Mate Sl~~re
                ~lait~n, should li~u.irlatit~ix ~vei• be sou~l~t, is i~oE cteter~nined key this Set ler~~ent
                A;re ~nenY; an~i, except as expi~essiy ~vai~eci in the ~recec~ n~ sente~~ce, t~~e Parties,
                fc~r iheinselv~s anti at1 Grace Parties, reserve and a~etai~i all af' their rights, claims,
                itiur~te3~-cia rris, and t1~F~~a~es .~-~gat-din~ i) jui~s~liction, iii} Iiquidatinn =anc~ iii}
                f-ennov~~ of c~ntin~en~ies as to tl~e A[las~red C~i~tin~~nt 4T.13 Mate Share ~Iairr~. [n
                a~iclition, Grace ~'as-ties t'eserve all ~-i~3~ts, crass;is, counter-Maims, anti clefet~ses.
                relating t~ Evheti~~~- rise AIIa~~~ed ~o~atinaent ~JU3 ~tat~ S3~~re Clairr~ is capped at ~~U:
                iT11~~iOTi.


             (b)      The P~1-tie~ agree [hat tiie Allowed Cc~ntingetlt C7L'3 State Share Ciainx c4uid
 arise only if EPA itself u~er~ tc~ ca~~scn~ct tl}e sel~cterl C~U3 ren~edi~~l ~~:titin i2sin~ fe~le~~al Su~et•fu~~d
 mar~ey-and ttY~ Slate were tc~. provide to EP~1 tale t~ec~r~isite agreenxen~S ut~de~-42 U:S.C- y ~6Q4{~)(3).
 Tlie Parties agree that i~eitlx~~- such event has oceurrecl as of't7te Sc;ttEcment ~~ceement Effective
.Date.

             (c)      I~I~i Grace Party steal! ~e fiable tc~ pay, car inc~emni#~y the Staf~ far; any annrar.tnt if
ttie State I~as received paynnent from at~y other ~ocirce for tEie Allar~ved Cc~a~fi~~gent QU3 State Share
Clain.
          8:       t'dafu~•~I Resaurcc Darn~~es.

                (a},       ~C.~rae~ shat[ ~rc~vic~c a tot~I of $1~.5 i~~iltio~~ ;~"I~IRD ~iznds") ic} pa}rriacnts to t1~e
I~iRD~ in n series cif i istalli~ients. The first payn~~r►t of ~S ~~iilli~n will. b~ laid ~vithi~~ 180 days of
tl~e Seitlemc;nt .Agreerrient effective Date, Sx4Fithout irit~rest being clit~: Tile re~a3~zniti~; batarice o
  13.x; ~~nillic~n will vicar interest at a rate of ~.I9°lo .per a~~3uc~ (beginning on the Settlement
.Agrez~~~ent Effective Date}, end sizail b~ paid to NRT3P aia iii ie {9) a~~nual`insT~lliiYents of $1.S
i~~'rlli~sii plus in~ec~est ~~iitll tl~e ~rs~ installment paid within one (I.) year of tlxe Settte~ent A~r~enxent
Eff"e~tive Date: Tl~ese.paytnents constit~ite c;ai~sicieratiQn f~i- the State's a~r~ernen~, as to t(~e Grad
Parties, tt~ z~eteas~ its interests in NRD claiai~s anci fiitiy ai d filially t•e~olve ~I'~tl~ clai~~~s ley the Stag
as ~~re~videcl its ~~c~ioa~s 9{a) and 9(b}{ii} ~ierein.

               (b)       Priytrr~rit~rrstr~arct~arrs, .E~ II payments made ~c~. t ie State pursuant to Section Sija)
cif thrs Setfteine~rk ~.~;rceiner~t, i~iclu~lir~g interest, shall ~e ~~zade by .electrcrtiic funds transfer iz~
a~corc3arie~; tivith ii~sti~uctions iri Ex~iibit F (state ~~Ticiiib Instructians~. Grace sl~atl caratact the ~~~ief
Financial t~f~cer af. tl~e Cezitra~ Services L3ivision of the ;Iv1o~1#ana Uepar~~ient af: Iustice
{dt~ja~ci~~mtar~ts~i~if ~ov~:~~ least ~$ l~r~it~•s pz•zcir tc~ izt tiati~~g a transfer tti ~ravzde notice of tlzc ciafe,
t a~tc; arit~ asiaount c~f'~h~:ex~ecte~i:irarisferr Grace must<e:opy h~ NRDP at :the e~rnail a~Idr~sses
pruuicler3 in Secti~ii t3 ~Notice~ I~tIZD~' shall deposit the p~y~rienfs recei~~ed; attd aii~ subse~uetlt
interest: and eat7~ii~gs; into ~ Stafe s~cc~l rever~u~ ftt~d {z~on-buclgetecl)` to b~ ~st~l~lis~ed iii...
~ccordancc: ~x~ith Sc~fxs~n 1'~-2-102~1~(t~~{~, ivICA:

                     Vii)     This account shall be ci~erate~i and maint~ine~i by the I~iRT31' as set fc rtEi iri
                 f is Settlement A~reei~~efit~ A3c~ pt~rtiozi of fire amounts c ~positec~ ui~d~r kris
                 S~tclen ent ~.~ree~i~ent,, or .any interest `ar ~~rnings thereon, is to fie, tr~atect as State
                 Geii~ral Fund it~at~r }r, nar is aria portion to Eye caz~~>erted oa~ ~ransfe~-red ~c~ the Mate
                 ~area~et•a1 ~uncl or zany rather find. The monies paid to t}~e ~tat~;. and the interest anc~
                 e~-nings thereon, s1~alI be availaE~le o~zty far t~~e putpos~~ describ~.ci in this ~etilem~i~t
                 ~~reernent and -far no i~tl~e~~ ~3urpc~se.

                   {ii) any payments c-eceivcd by tl~~ Stale after X4:00 ~3~i ~vtnut~tain Stanc~~t~~l ~`itnt:
                s~iall be cre~titeci r~ti f~ae next- busiziess I~ay.

              (c}      The funds in the ~il~c~ve-descritaed accdunC and ilie intef-~~t as~ct;ea~ni€ids tliere~n
,small b~ used safely to restare, replace; ~~e}~aliilitafe; pi' acc}ui~L the et~t~ivaleiit cif`injured zl~tural
 resources end s~~-vices in cix related to ~U3 cir the.- LincaIn County area, ai d su~i~ort't~i~refoa';
  ncluciin~; costs far State. .restoratit~n filar c~eveio~a~i~ent az~ci mpiernentation,; and a ~rnin strati~~e
 ~i~ag~~ain, legit, technical= anc3 alt other related casts,. to the extent 1a ~vfiit ts~gder ~ER.CLA or
 CECRA; which slaall;not be fi~t-ttaer recoverable fi-~m Grae~ Parttes.

               (cl}      The r~p~rt entitled ~lle~ecf Irrjtrry nr2cl .C:~:a~rrpler of 1Zestarfiti~r~ t~~t~r~ii.~ tci
.~t~1r~ress ,~1legecl State lv'l to t~L'3 is attac~ied as ~~ibit E.. - The Parties a~re~ that #1~e ~iet7e.fits
 froiiY projects sini'iiar tt~ the exe~nptary projects identified in ttie report are intended and anticipated
 tca provide natural resaurLe_anc# offer benefits in ~U3 az~d etse~vh~re i~~ tt7e general vzc niky; E~hibif
 E t~eseribes klxe zlature of tine allebed injuries, types car examples of potentzai resisaratioz~ ~az•Qje~t~,
criteria f"or selecting prt~je~ts, anal the types off' ecological values to be provided. ThG restflratio~~
projects to Eye in~~Iem~nteti ~v tai the NFZ~Q Funds should ~r~~ de substantial aquatic; riparian, and



                                                           19
terrestrial ecningicai se~~~rices. tip zctdition, the ~~`c~ject~ should enhance reereatic~r~ and Thus prravicle
hu~~x~ra use ~ienefits.

              (~;)      T~~e Stag has nat conducted a natuz•aE i•esc~urce danna~e assessment at Elie Libby
Asbes[t~s Superfurict Site, but it leas been at~l~ tc~ ~oz-~~i a positicin on I~RD suf`ficieni to resolve the
matter usin available n.f'cinz~ation and tlae data dev~it~ped during t~~e RUFS: Tlie P~rtiestaeiieve
that i}xe i~~fpn3iatinia ~~therect indicates ttaat the settlem~iit amou~~t. is s~:ffzcieiit to restore;: replace;
~~ehabilifiate, anti/ar aec~ui~~e the equivalent ~ inju.rez~ ii~t~yral resources under-the State's tc~i~ste~shi~~,
end tlierefare wilt coi ~~ensate tl~e j~ut~lic for the State's claim ft~i~ alleges in~tiries tti t~atura~
resau.i~ces a'esutticlg ~"rozn tl~c zel~:ase ofhazardous sut~stances. 'The ~'a~~ties fur~~~er sei~t~latz -that they:
t~~lieve that ~Eie settl~zneni is a coin~ranlise and: cnnst tutu a. final, ~ai~~, anti x~easaii~t~l~ resoli~ti~n
of all aft~ie Sta~e.'s ;~dRD ~t~ims, past, present, an~i future; a;ai~lsf Cr~~ace; and is i~~ the put~~ie: intet•cst
anct ct~nsistent ~~ritl3 CEIZCL~ ar►d CECRt1.

            (f~::     Tl~e Stag ca~i7~nits io ~~r ci~~itize prci~jects at sites ~~ thin Lincalra County; subject.
to the°State's ~~equi~~ed aciit inistraiii~e decision-making processes.

            {j         Irra~alenier~tcrtirm_ Restc~ratiori prc~j~cts i~Y €JtJ3 ~~e ~ut~j~et tv tl3e foi~t~~~ing:

                   {i~     Des~bn and cor3structton of any:restoratac~~~ p~~c~jects ~~ C~t:T3, if any; may not'.:
                begin unfit EI'A has c~i-izfed cs~rript~tic~n a~'all reirtedial action cc~nstriiction iti ~.U3,
                e:~~~pt fir prr~jects tIi~t tt~e St~t~, EPA,. and a Grace T'~rty agree t~ inte~f•atc i~ith
                reiriedia! action.. Initial rest4i~ation ptaz~z~ ng ~t~ay begin eas•lier,

                   (ii) l~Ib restoration project irz OI13 rrta~r f~tnder, int~~•~'ere ~r~ith, ~due~-sely iin~~act,
                or ir~creast, in any tivay, tl~e cast (iz~ctudirig ap~ratian and mairieenai~ce cosh) csf any
                remedial action i~Jc~rk c~i~ structure, KD~IL7 ~? t!~I, tl~e, K~3ID Spzll gay, ar~ mine
                reciaz-~iaticiii ~ctivitii:s iii t~U3,

                    (iii} 1'~o r~stcrratian ~raject in C?U3 tYZ~ty binder, intez~fere t~uith, c~~• ac~verseiy
                 iiip~cf rase; acid ei~jc~ymenk of.C~U3 px•~~~i~y, a~i~l

                   (ivy As tc~ z~estc~~~atian ivarlc t}~at is nc~t in OI13, Eris ~etlle nez~t .Agreenietit sllati
                ai~t littiit wL~atever rights the State tnay Have tb cflne~uct ~tzcilai• iinpiezz ent such ~~~ork:

             {h)     'T"tie "Aliotiv~rl s~~ah~ral Resource ~3~ti~a~es Claim°' ct~t~sists of the I~dRI7 Finds
to be. pail i~n~er Secticin 8(a}).

               (i~`       Stipulated Penalty for Fail~~~~~ tti i`vlatce Se.,tzp~~ 8(~~ Payments: If Grace
breaclxes t ie payn~etit o6li~afioi~s i~~ Section 8(a}, oxen G~ac~ s~3~s1t ~~ay, as a stipulated penalty, in
actditir~ii to t ie i iEei~est rec~uirerl by SectiaFi 8{a~, p~~~alties iii ilie ~mou~zt ~f ~~,OQO per ~~y fc~r the
I sl tl~rc~~rgh l~tlt clay Qf ~uc1~► t~reach, X6,500 peg` clay ft~r t~~~ I ~~1~ ttu'au~l~ 30th day of such breach;
~8,5~€~ per Clay for ~13e 31si ~iay cif such k~react~ oriel i~eyond for so long as payment of ail ainc~uaits
clue u;~tie~• Section S(a) and 8(i} aF-c unpaid. If' the state prevails ire: a~i action tc~ enforce this
~eCtlert~~nt ,Agi`een3eil~ foi~ #txe ki~~ez~ch of tl~e p~y~i~ent c~blig~t"tons in Sectio~i ~(a) ~~1ct 8{i); the State
(ancl t~iily the Suite) sl~atl be ~ei~i~bursec~ by Grace. fc~i- alb costs ai d expenses assc~ciatcci w i[ such
claim, i~icli dingy att~irt3ey!'s time a~~d fees. Tl~e stip~.~lated ~~exialties cjnder this Section S(i} slat~ll ~e
in aciciition is any other ret~~eciies avazla(~1e tc~ t13e State.


                                                         7Q
         9.           Se~~flcnxet~t.

              (a~       Iii ct~nsicler~tic~n of tl~e actin;is ~ertornaed and #a b~ }~erfoi~z~ed by the Forties
~inc~ file fun~li~~ ~3~~~ivicted and tca b~ ~raviilecl ~y Grace as d~scrit~ec~ liet~ein, the Parties agree t~aat,
upon the Scttlei~~enl fi.greenient effective Date:

                       {i~    T3ie State shall be deez~aeti to lave the A11~1vetl- State Cl~ini u~icie~~ the Plan
                    in fu11 and ca~n~letc satisfaction t~f #t~~ Stag Clain,

                   (xi} The Allowec! State ~;tai~n is an .Allozvecl,Enviriinnietital Claia~3; as the Piar~
                defitzes that term;

                      viii)   The State Maim is disalio~v~~ i~~ alt atl~er r~spec:ts;

                        (iv} The State liar i~o ~~emaanii~~, and shad lave »~ other, Clazzn its Etas CIra~ater
                    I 1 Cases; arici

                    (v)    Tl~e State Clai.t~~ and ~tiy az~t1 alI t~flier Clais~~s of tl~e Slate (~~fliicl~-.far the
                av~iicianee of c3aubt ar•e claims-that ~vere:or coitici hate been ~sseriecl in the Ch~~itei•
                1 l Cases az~e disc~~~rg~d, ba~~reci, and etijflinecl pursua~~t to the Plan, the Gonfismation
                t~rdea-, 11 U.S.C. x_524; at~t~i 1 i LJ.S,~. ~ 114I in ex~~~an~e far. ft~e Alin~ved State.
                Nairn.

              (b)         Couen~nts loot tc~ S~i~:

                    {i)     State's Cav~.nant i+ia~: tci Sinew E:~cept as reserved in t~ze ~ta~e Reserved
                Rigl-~is, tl3e Stzte is fnreve~• ba~-r~d, estopped, and enjr~anet~ frt~rrt a~serttng any causes
                ref actir~~i or ~'elicf against Elie .eor~lF~izeet Debtors under. GECRA; G~RCLA, atty
                catl~er sta~.it~, comt~lon l~~v, or and catl~er th~ax~r cif liabilify aris.iiyn frt~nt a~• r~latetl to
                releases, it~reatened releases; or n~igratic~~~ of hazardous or deleterious sut~st~r~G~s;
                pollutant~sa c~7` cvzztai~liixant~ at or' £'rom .the ~,ib~y ~s~esfcas Su~ei~func~ Site. ~'he
                ~re~eciin~; sentence dots not bar, ~stc~p, or enjo ~i Stafie caia~es +~f ~etic~n ni- z~~Ii~f:

                          (x} ~'c~r a release t~f a I~azardous substance o~~ solid waste i~~sul~tzng fz~citlz
                          Re€~rga~ti~ed l~ef~#ors' ciperati[~n of ariy poi~Ei~in of the_ Libby Asbestas
                          Superiund Site; oi° fi~a~n tll~ i• ransport~~iaz~; tr~at~ie~~t, storage; ~z° tiis~~osat~ or
                          the arranben~en~ fc~i-- the traizspcirtatic~n, h-eain~erit storage, oi` ~isp~sat, t~f ~
                          Hazardous su~istai~ce cii~ m solid ~~aste at or from the Libby Asbestos Su~erfund
                          Site after the_Settlement r~~reemeni ~l~ective Date (except, for rnacl, darn, ter
                          mine tnaii~tenatace, forast mana~enYeni, car similar prc~~ierty tZ~an~~e~tie~at
                          activities, eaL}i in c~tY~~ltat-►~e ~vitit ~•e;uiatoi`y ~egtzirei~3ents, ar as provided try
                          any SPA R~cgrd of Dccisic~n oi• .~iT3~e~': final ~~"A decision tl~~uznez~i; or in
                          ~;n~i~~~liance i~~ith airy ad~ninisfrative order, setttet~~enT a~;~'e~~n~i~t, t3i~-eeti~~e,
                          so~~emn~ental p~rsnit, ox- gaver:~cment aFPrc~val, ~•es~ectively, by SPA oi~ tli~
                          State}; Qr




                                                          21
                         {Y) aa~isit~g fi~~t-t~ the disposal t~~• reie~se ot- threat- cif relc~,se of a I~a~ardt~u~
                         substance, pcill~itant, or ct~nta~zniriant outside of the ~ibby Asbestos Siiperfui~~3
                         Site.

                    iii) State's Coven~r~t blot to due foi- ~RI7 Claim. The SEate is forgiver barred,
                estapped, ac~cl enja Pied fi-oiil assertiri~ az y atici tionat NR.D claims; end dill ncit
                ptirst~e any other or additional N~tD elaims; against Gr~ice Parties ~t. oz`~-el~tii~ tc~ tlxe
                Libt~y Asbestos. S~iperfund bite; excepti ,~s r~s~r-v~ci in S~atinn G(It}{Cat~straphic
                F`~ilttre Resei-vatioii}.

                    (iii} Effect rif .Reot,~„nizect T3ebtors Su tip: the State of I1~~iitana. If ttte
                Resrganized T)~htors;~ue t}ze State of ~,~Iontana for any claim az• liability arising frc~nl
                oz- related to'rel~ases, #I~rcafened r~leas~s, or tnigratinii of hazazdc~t~s<c~t' ticiec~rious
                sut~sta~ices; ~ollutants~ or eonta~ninants of or fi~on~ tl~e Libtay A~k~estos Sup~rfu~~c~ Site,.
                then notivit~~~tazlc~iii~ ~nythi~~g its t}ie contrary its sect on.:~{b}(i~, t}ae Mate resez-ves
                cam~~let~ly anct zvitli~aut li~n.itatian ~vlia€soever ill ~~its ri hts, ciazms, ct~u~iter-el~in~st
                ~ncl defenses sus io any such claim brouglit`hy Grace against tt e 5t~te: ~totl~ing iz~ this
                S~~tic,n 9(b)(iiz~ alters. nz- afi'ects tl~e respective .rights Uf the Parties tee enforce tEie
                terms of this Set~te~~x~nt Agreement ar ~Trztlz zesp~ct t~. tt~e ri~~its i~e~et-ved in ~ectic~n
                ~(It).
              (c}      Notl~in~ in this Settl~zncz~t Ag~~eemeiit clues ar is intended tcs revive cir rric~~tify
the }~ric~- disallo~v~n~e or ~xpungeinez~t ~f certain Stag; Clazi-~~:~ {~.~., ,ree ML)E.Q 2D08 Order and:
I~IDEQ 2008 ~tipulatio~i); car e1trriin~t~ ter ditriinish tl~e efficacy a tl~e Reor~~~nizeci Qebt~rs'
dise~la~.~e iz~ju~action ~~~-itix ~=es~ecc tlae~•et~r._ T1~e treatment prcavided in this Settlement A ~~eezz~e~~t
with: re5pect.ta the .AliQt~i~d St€►te Claim shall lie in lieu ~~any treacme~~t pravidecl ~nt~e~- t1~e Plan
~vitli res~sect to the AIIc~~ved State ~Iaiti~.

             {ci)      i~o€hirig iii. this Settlement .~:~°eemei-~t s~~lt t`clease oi: ciischar~e the Stake
R~se.rvc:cl Rz,~hts or the rights set forth z~~ Scctiar~ 9(6)(ii ), acid foi~ #l;e a~oid.arice of cioi~bz, tt ~
reservations iii t13e S€ate Reseiv~d Ri~1~ts and Section 9(b}(iii} rho z~tot ~:c~nstituie dis~har~;eri Claims,.

              {e}      The ciaiins dentifie i itl xl~it~it H are . Ito laa~get• ~en~i n~ a ainst t~t~
Reo~-~~nizecl Debtors, a~7ii tl~e SettteE~3ent A~~•eer~~ent does Welt sjlted t1~e ~'far~'s ti~eatrY~en# pf, ar
cicl~ei~vise ~Ffect, those ct~i~ns.

          IQ.      Other Costs under the Il~eniarat~cttrnY of Aareer~~~nt,

              (a)       As of the dafie a#` it~~s S~ftlem:ent Agc~ee~Yi~nt, Grace li.as reimbi~rseci i~ie 5~ate,
~ctrsuant to a 20?~ ivlernorandum of ~-1~ree~ner~t {``t~1C?A."), fot- approxiinatel}r X1,000,000.
1Zeim~urse~nent of documented State costs piirs~.xant tc~-that t'~C?A is p~irt cif the: ovei-ail value fa the
Siatc uncler~ this Sett(e~ner~t Agreen~~nt. tJn~er ibis Settlex~lent A~ieement; with tx f~Q dayls t~~receipt
cif an invoice fo~~ the fc~lloG;~ing Gz~~ce will reirriburs~: a} f«rther futc~.re cysts pu~~suant to the i~~O,A
(including those incurred after t~pril 2t32Z and atl ~r~~~ rusty re~ectctl invoices r~r poi~tians of
i~tvaices and invoice items #'i•c~zn the date tt~'tEte tLIC3ia to tl~e S~ttt~znei~t ~greem~n# Effective elate}$
and b~ rei~nbu~~se t'i~lly tl~e un~aait~ 25°/u t~f'csasts s~it~mitted pF~eviously: end in xhe fu~.zre ~3ut-suazai tt~
ttie Iv1{)A, until ih~: Seale;Went Agrce~neni Ef£ecTi~~e Date. Noteitltstanding anytliin~ tip the contrary
Mated iii this ~aragra~~l~ 03- the: NiOA, the ebst reirr►~urseiiie~~t~.~~uasuant tci t1~e M(~A shalt ~~ot eXceecl


                                                         22
a cumulative tcstal of ~I,SDO;Ot~O, and the State small nc~i subt~~it irivaices to Grzice after tale
Settle~n~;nt Agreement ~tfe~ti~~e late. U~}aii ~a~ment lay Grace of invoices subaz~itte~ ~~irsuaG~;t to
t~~~ MO~1 on ot~ hef~~re tie SetticineiSt Agreer~i~ixf ~ffec~ ve date up tci a tna~;iinuin ctitnulative totat
u~lcle~- tl~c MOB of I,Sf}Q,Q00 paid tee the State, rl~e I~iC~A shall ter~~iinate.

            11.      Cnc~peration in I~nple~ent~ta4ii end Distziite Res+~liition.

             (a)       I'h~ Parties a ree that each E:~c~uld benefit f o~n a ~ooper•ati~r~ and colta~c~ratiue
«ranking relationship and will encleavot- tc~ jointly dete~7ai i~r: gays that this mi~hC Eye aceoi~iplislled
in the fiziure. Tl~e Parties agree- that i2 -may ~S~ r~easotiable aricl ~ppro~riaie to ~ched~zlc ~i~r c~die
niectings between tix~ p~:~ties to discuss the impiementati~n of iltis Settl~i3i~iit Agreem~nt~ ~~°llicIi
eilhe~- Party i~1ay z~eque~i;

              (b)      Tile Pa~fiies agree that, except`in un:it~ue or c:xi~ent ciictr~nstat~ces that :~~ake it
in~pr~cticakt(e or i~tipossztil~ to dci sb, prior"~o fling a la~~suit or otlle:i-~uise seeing judicial r~vie~~v
cif t3iis Settlement A~~~~e~n~nf, ~~ritie~~ nc~ icy sliail b~ p~~ovidec~ . tt3at iden~:i~es ttYe disp~ite anc~
rec~uestec~ t~esalut on. t~iaiy dispute ~.~;ard n~ tE~ s Settlement Agre~nYeni pr its inplementaticat~ shall
in the first instance be fhe subject of inform~l.negotiat ons he~vee~~ t1~e.Parties; iaicl~iclin~ elevation
tc~ the tnacia~e3~ietaE:levels oftlte ~~~s~ective Parties. The ~'arti~s ~4ree tt~ cansitler of the tune ~~hett~er
t(1e clis~~ute is amenable to x•~solut can thra~.~~h mediation or ci[~er ~iternatrvc dispute resolution
znechat~isms;

            12.      Itepresentat~ons an~i'4~'arranties,

             {a?      Eac~i iintiei~s.i~ne~i ~~Epreseritative of a Part}~ ce~`tifie~ tli~t sire or lie is fit31y
aulhoz~izeci t~ inter icito ~he:t~ rms end cc~iiditians of'this Set#le n~nt Agee;iient and to ex~eute anc~
le~aliy ~ii~d such Party to this S~ftieia~ent A~re~ixaeni.

              (b;)   TI'►~ State re~res~nt~ and ~=iai-~°ants- that i) i€ has full authc~~~ity ta'erite~- into tl-~is
Settlei77e~~t A;~~e~menf; and ii} t1~e State has- not stile, transferred, or` assi~neci the State Claiiu to any
oihe~- persan or entity:

             (c)      Grace.. represents. ar~d ~~ai~~ants that i~ it tras full ~uth~rity tc~ enter- into- this
Setticii7ent ~hgreerztent; az~d iz~ Grace has clot sold, t3~ansfert-e~i, or assi~neti any rights car ol~l fat Q~zs
estal~lishe~i by the Settlement A~n~eement.

              (cl)      This Settict~~ent A~reej~zer►t is stalely on Ia~hal~' cif the State ~n~i tl~c~ Grace
Ya~-ties.

         13.      Nance: Each nofice and atl~er cc~~ninunicatic~ri ~~equirec! hereuFider ~,v it tie in ~vriti~i~
 anti viii be sent by email and ~itlier: deliv~~~ecl in person; sent by certified ri~aiI, r~tr~rn iec;eipt
 regt~es[ed; o~° de3ivered ~ y a ~•eco~n ~eci ~Ielivei•y service tivitl~ acknai~ri~dgement 4f s-eceipt, attci
 will ~e deenicci tU l~av~ been gzven tan tl~e date cif its deliveryr, if mailed to eael~ of -the Pai~ies




                                                        23
thereto at the fali~ti~ting r~spevtiv~ acicla~esses or such other address ~s inay be speci~ect irz any.
notice delsvered ar ~naileci as set fc~~~tl~ be(ci~v;

        GRF1C~

        Vt~. R. Gr<~ce ~: Co.
        7500 Grace D~~ive
        Cc~ltt~~ibi~ MD 21044
        At~e~~tion. General ~c~~~nsel


        KDC

        Kootenai Devetopinent Campany
        7500 Grace Drive
        Col~imbia 1u1D 2l OQ4
        attention; Rexi~e~:lzativn Manager
        Pvick,Rt~i~~es~ri«~i~ztce.~o3~~

        c~fith a espy (~vhict~ shall riot et~nstituie notice] to Tc~n~~.Pc;~~1i~IcI rr:~,~r~F~c.~ c~~~~l

        STATE.

        i~ic~z~~~aia De~az~ment of Environmental (Quality
        PC} Box 204~~01
        Hel~~~a, IVIT 59b2~-0901

         Atte~tic~z~: Aaz~y Stein~~ziet7

        ~1rlontana T~tatui~al Resource Damage T'ro rare
        ~.Q. Ii~x 2Q1~25
        ~~elena, MT 5620-1425
        Attention: Lib~iy Ast~estos Supe~-fu~~d Site Seiileine~lt A~re~~~~ei~t


        with a co~aY f~vlsic}~ s}~atl not ~constittrte nQ~ice~                           to:                  t 1-r~~t.~~e~~~•,
                                                                                                kf~€~us~,itil__~___
                                                                          ~}~~.~~~~.
        ~-it~~•le ~Iiar~~i:~~t= s~5t.<~:c~ti~, and ~~sicti~,~ti~ilke~,~f~~Ei

        '~'IZe above-listed ccsntacts may be changed by ~ivir~~ notice of a ~han~;e to the other Parties
         ~~x writing.

          14.       Ida Admissions• Fair- anc~ Reasaiiabte Settlement, Neither• ~'ai•ky rz~akes aa~y
aciznissic~ns, and Grace denies all allegations of liability in conneeti~n ~,vith azty acid alI St~tc Claims
ter causes of actican tli~t it ilas a~- nay ass~:rt for rernediation, respans~, natz~rat reso~~rce damages,
a~~ a2~y cattier it~attur, actioai, oa~ relief:- {race assents that there ~~e ;~iinit-~ial or na NRD at or ~-~Iateci
tti OU3; the Slate asse~~ts chat tliei~e are NRD in t1t.13. This Settlement Agreement z•epresezzts a
cnmpror~~ise resnlutia~l that cc~i~~pensates fihe State for tiam~i~;~s thai it all~:g~s in exchange for a


                                                          ~4
 rel~~se of all. Qf #1~~ State's NRD claiiiis against Grace in at• related. to the Libby Asbest~as
 Sr~~ei-fuz~d bite. Boct3 Parties acl:n~~vtec~~e and ag~~e~ that tlzas S~t.tet~~ei~t ~~~ee~i~ent is fair,
 reast~i~al~lr~, iz~ Tlie ~~tblic i~it~z-est; -and consistent ~~rith CE,RGLA acid CE~RA. Nothi~ig iz~ this
 5etilei~ei~t Agree~3~cnt, r~or entry: in c~ this Settlement ~~rczii~ei~t, shall ~st~blish ~r be inteip~~eted
 to establish any liability of airy ~t•ac~ Pa~~ty, or be used as evic3erice iii'aity such liability can Pile part
 caf airy C3race Party, in cnnnec;tion with an3r ~~iatte~~s related tc~ tl~~ Libby Asbestcis ~up~riiind Site
 ar reie~ses or ttii-eatezicc~ releases ~f tiaz~rtivus ~1• deleterious substai3ces ~herefra~n.

           1 ~.      ~cceteiatiolt of ~'~vnrents, ~1oti~ii~jsfanciii~~ anything to the contrary fi~rein,
 Grace ~zas the night tQ accelera#e_fiind ngr ~vitl~out pay~neizf of untnatuT•ed izzt~r~st, ~f and payl~ae~t~
 set fca~-~h in tl~ ~ Settleznez~t A.bceemez~ts upon thirty (30) clays cvriEten notice to tt~e State

          16.      rissi~IlITipi1~. Gr~~+~ ~3as t17e ri~;ilt to ~ssibn a-igt~ts, vbli~ations; anti interests herein;
 u~ac~n t1~it2y (3~}) bays ~v~-itfen nciti~e to the Mate;; to the ~n~x ri~u~i~ e:~#er~t p~~~n~issible !~~ lati~,
 p~•c~vde~i that suc~~ assagn~nent ~li~es a~c~~ n~atei-i~lI~ impair fiiffiiliz~ent ~f`the pay~nei~t oblig~tic~ns
 ii3i~osecl on Grad Herein. I~~ it e went that an assignee fair tb fulfill ariy ~bli~atioc~s of tills
 Settte~nezit A ~~en~enfi., any unfulfilled ~sbligations ~•e ain an ot~li~,atia~i of C:~~~ace tli~t is
 enforceablet~nderthis iettles~lent.A~zee~nent:

           I7.    P~i~ties Bnund. This ~greemc~rit binds acid iaiur~s to t~~e bec~efit of tF~e 1'~i~ties ~n~i
 Plxeir successoz•s and Iati~fi~I a~si~ns.

          18.      Cure P~rio~i for- Ir~votun#~~ry Delav in I'avments, An a~pi cable deadline ~iy
 ~v~iich a payi-~~ei~t a~Iigatioi~ o~Cx ace arises €ender tY3i~ Settlement Ag~-~er~ient dial[ be suspe~ided
 tennporarily Cc~~~ a period ~f sixty (60} days if

             (a}        Grace. i~ ~~~-ectur3ed frc~z~a making az~y such payt~~~nt due- to {a} a failure of
electr~zizc ban. systems ~les~i[e rea~~inabic efft~rts taPtlie Cirae;~ Patties u~~clei~ the cir~uinsia~~c~s, or
{~} a Far~c~ t~Icrjecrr-e Condition; aalcl

              (~i}    Grace ~ro~T~pt1y notifies the Mate ~vitlun ten (i~J~ cia~s of suc}i event pursuant to.
tl~e ~~vti~e ~rovisians .of this ~ettle~nent Agi~ee~nent,

             fie}     Grace s~iatl e~ideavc~r in ;good faiti~ to ~7~~ke any such paymenC as sawn as is
~raeticabl~ ~vithzn the saxty {60} day p~ri~ci. 1f Grace is u~~at~le to ~Yiake the payment v.Tit~iin t ie
sixty (6~?} day perii~d, the Parties shall ~~rark tci~;eti~er iti go~i~.f~itl~ to r~sc~ive the pa}~z~ent iss~ie as
ex~eciitiously as pnssible; ~r'r~~~iclecl, ltoit~e~r~i~; t13af iii iin event shall a failure ~f ~tcctro~~ic ~att~
systems o~~ F'vr-cc it~l~ij~rrre ~c~ntl3tion excuse nt~~iperFt~rrn~nce for a perie~rl ~sf greater than c~ne-
liundi~ed twenty (120) days, at~sent ~vt7ttein agreeiiient bete=~ei~ tl~e Parties.,

           1~7.  Third F~trttes grid IVon-Affect. 'T'his Setfileni~.nt ~~~•~en~ent is solely Uzi heIi~tf of
 the State and the Cxr~ce ~az'fi~s: "I'he State zs not re~~rese~~ting any other- entities in eiite►-ing into
 t1~is settlement Agrc:~meni. T~i~: t~rm~ oftt~is Set~(ernent A~ree~~aent ~1a~~11 neither expar~ci z~or limit
 the le~at ri~I~ts cry- obligations of any pers~ii iii• ~nti[y ~tl~er tl~arY file Statc; anti Cx~~ace Parties.




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~raEhii~~-_ii3 t.fiis Settlement A~r~ernent sl~ali [~e ii~fer~retecl to cf~eat~ ~n}r z-i;llts or causes c~C aciic~z~
of iiiiy ~~rso~7 or entity except the State and ~r~ce Pariies.

         ZO.      AtIY[CC Qf C4LiTlSCI:.   each ~sf ttie Parties ~-ep~~esents that s~i~h Pa~~ty leas: a} been
atiec~uate(y represent~Gt by u~ctep~i~de~it le~a1 counsel of. its o~~l~~ ci~aice; tlu'ouglirsut ati of the
itegc t ~tior~s that ~areceded the executian of tii€s Se#tle~aient l~ai`eenient; 6} executed this Settlement
A~reenienfi t3pon i1~e a~i~~~ce t~f suehi caitnsul, e) read this Settie~nent A~r~;e;~nc:nt; anti und~i-stan~s
and assents to ali the tcr~i~s and conditions co~itained l~e~~ein 1*~it}iout A1xy reser~~atio~is; and d) had
the opp~z-tunity to have this Settl~inent A~reenient and aII t ie terms and conditions c€~ntained
hei'eir~ ~x~Ia tied by andepenc~ent ct~unsel; rvhc? has ans~R,rez•ed any anti all questic~iis asked' cif sii~li
counsel, or wi~icli could have tac:ez~ ~ske:d,af such counsel, including, ~~~t ntit Iamiteci to, «rith re~;arct,.
tc~ the a~~eanin~ and effect ~f a~~y ~t the provisici~~s -cif this Settlet~teiit ~~re~ment .

         21..       Enfi -e A~a•ee~tent. This Set;l~rnent ~~r~er~~ent contains the entire agreement ar~ct
understanding ci~rc~ez33i~i~ Elie suhj~ct ~~aatte~~ ~f this Settle~~iez~t A~r~e~rie~~t, ~nci sc~p~rserles end
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a~;ez~t of r~i attr~rney fc~r ariy such ,Party, Baas made:aaiy pratt~ise, represent~tibi3 ter w~~xan#y, ~xpre~s:
a~- implied, S~,°rotten ~r ora[, not oti~e~tiu se. contained in this :Settlement A~reeanerit to induce a~i}~
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~xectitin~ this Settlement ~1~rvet~zei~t in r~Iiance on any protii se, re~r~sentatian or ~varra.iity not
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          23.        ~everai~ility. TE ar~y p~•oi~isit~n.c~~'this Sc<ttle~xae~~t t'~~ree~neni nr tli~:ap~alicafiion +~r
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al~all not affect other:provisians o~- aP~licafioi~s of this Settlement agreement tl-~at can }~e gig=en
effe~fi ~,vi2}ic~ut the ii~vali~ ~~rov sion of applicatiaii and; to tt~i~ ezld, the p~-ti~~isic~ns of tl~€s Setile.Frie~it
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        24:     Hea~in~s• Titles- ai~~i Subtitles. The cir~ani~aiiraf~ ~f t~:is Settlement Agreerzi~rit,.
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        25:     ~fluriterparf~. This Settte~~ie►~t Agreement maybe executed in eau~~te~}ia►-ts ~svit#~
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        26.    ~~oclifien#ion. Any ~nate~•iai ar zioi~-~~~ateriai modification ~f t~~is Settieznent
A~reenient s13ai1 be inad~ only ~y ~~r~~itten agreement e~f tlae Parties anti sl~atl take effect only upon
cotar~ ~pprnv~l. Tl~e Parties` consent hereto is coj~clitio~leci L~pc~f~ the a~proefal of ilie Settlei~~ent
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                                                Columbia, MD 21044


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 O#'~tce vftl~e Attorney General
 Jus#ice Building, 'Third £loar
 215 Noz~h Sanders
 P.Q. Box 201401
 Hele~ia, Montana X9620-~:40I




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HALEY R. HARRIS
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~:~lzi~sit A - ~ure~y Bond Form

.Exhibit B — Suret~~ Bc~ncl A.n~ount Schedule

E:~~xibit C - K,i3iD Q~I~ Per-f~1'11137'iCC Ti'tiSt

Exhibit D - KDID Spi11~~~~y Repl~e~n~ent-Trust

Exhibit E ~ Ailegeci Injt~t•y~ Intl ~:~~rta~les of Restor~~ian (~ptians to .Ac~ciress Atleged Stag
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E:~Iiil~ii ~ — Sta#e Wiriug instructions

~~l~ibit ~ — MU~Q 20Q8 Urder and ~t1IDEQ Zd08 Stipui~~ion.

Exi~ibit H —List of t)th+er State P~-oafs of Claim and ~~eir Tre~tr►~ent in the Piar~

~~tliil~it I — F'ra~~osed 4~Spr~aval +Clydcr
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Principal:

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assigns, joi~ztly acid severally; fif~anly by these prese~3ts.

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1'4`~-T~~2EA~; ttie ~rancipal sliat~ atsa esta~lisii, asa otticr cnn~~onene ~# the fit~at~ciat assurance re~juirei~ by the Sc:ttle~ii~iit':
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i~C31~,TH~T2EFi~RE., this abli~;aiiaii is zssuerl sii accoriiance «it{i ttac tends of the Scttlein~nt Agre~ttteixt at ~d iFi fulfitlriient
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ef~cct, ~vit17 declining payo~it asne~unts as set farfh above, tl~rc~z~~t~ L~ccc~s~l~er 31, 20~~, subject, lii~ti~~:ycr t~ tt~e f41ic~~~,ring
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1} No ~~igt►t caf action sl~att accrue an this hotld tc ar for the ~~sc i~f a~~y persoa~ car cnrpai~atiaii other than tine t"~bli~ ec~s named
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Z1 The Buret}r shall leeome t aE~le tin ibis tined ~~nd t'vi~d [Ixe `I'i~~ist obfibaeit~i-~, des~ri#~ed in Sect oil 4(a) of tt~e Settieinetit`
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          Within ~5 cta~=~ of scir~r~r ~anccliacor~ nafce:

3) The ltahitit~;of the Sttrely shall lint be ~iisclia~~ed by any ~rayrYient or st~ccessinn t~f ~ayTmenf;~ tit t'etsi~der= sinless and
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   in force or tt~e ~iiimt~cr of clai~7~s thlt inky [~e ai~~dc; in ~ic~ event sl~~tl tt~e aagrc~ate inaxit~iu~n lia~iility of l4ic: S~irety
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    to he in t]efat~lt ender tI~is br~n~3 and Surety shall fu~~d tt~~; `Geist at t1~e Pesi~t s~t~~a cif tl~te bc~nci accorcli~3g to the- scl~ed~~(e
     above.
G} ~~•~c~id~d that t}jc Qt~libecs agree in iv~-itin~, fhis ~io~c1 nay I~~e re~l~ced bye altc►~~ative security iiTclt~dinp c~rst}> ar a Ictter
   of credit fran3 a tiaclR agreeable in the C7bligees; ather~vise, the aiten~~tivc security slYa11 be in ti c, farrai e~f a surety bond
   consisEent ~~~it~~ the teens of ttie Settlen~~nt ,Agreement, i~~ciuding Section 4(a}, fr~in ~itdElicr suC~t3z which i3~~~ts the
   bi~i~c~ issue• ratir~~ rec~i~ircine~~ts set forth ~vitliin Sectic~ri t~(c}(i) Qf tk~e Seftlesne~it Agrec~~3e~3t.

7) In accordance ~;~itl~ S~ctio~i 6(a){iii} ai~ Scctinn 6(d)(i~ of tlYe Settler~ient ~g~~ee~~;~n[; respectivciy, ar}d after 64 s:~a}•s
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                                                                     750€ Ga•~ce I7i~i~e~ Cori;t~liia ivlD 2iO4~#
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                                                                                                                  Ac~ciress for Noti6cafian



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                Tc~ustee




Address fir ~tiisfie~tioi~
ExI~ibi#~ B ~ Surety $end A.n-~ount Sc}~ed~rle
                            ExI~it~it 13 - S~i~•ety Band r~lmt~tt~~t Se~~et3t~te

         Summary cif contin~eni fufure p~ycrtit of tl~e lici~~d sht~uld payment ~y sua~cty lic rec~uircd
(ref~:re~~ced as "~lefatitt" iii l~elc~iv):

    1) Pre-2tl4~ I~~ITI ~C?~`cTt~T Perfo~•fiiiance T3o~~d (Sectian ~,b)

                                I~DTD tJ&€~~ Pert'ot~mar~ce Bc~iarl P~vnut


                                      I~utuic Vatu~           iVlaxir~~utii Sung of I3onrl
                        Year          of Ez~ense.             Air~auiit'in ~i~ren Default Yeiir




                        2038          ~    2:35,27                 1;1.77,F~35


                        GV~!          ~    ~`t~ e 7.~~   ..   ~.    `~7:J~L1Ull
Exhi ~t C - I~.DII7~ +0&M Perfor~~3ance Trust Farm
                                                                                                     ~XHI~-31`1~' G



                                                                                                            .2023

                                            TIZUS'~ f~,C'i~t~` ~t~~~'1'V'>~,

                                      ~TIT~ (3&i1~I Pe~-ft~i•n~a~~ec Trust


         T~ii~ Envirorirr~efltal Ttecncdiation Trust .Agreeme~it (t~~e "f~. t-ee►nent'} is tnatie as csf this
            clay of                                    ~' t323, by ar~ct a~~~ong W;R. Grace ~i ~4, anct
 K~ot~~~ai Dev~lopnieixt ~on~pany ("KDC"} collectively ~ierein "Cirac~"), as ~ettlor and,
 beneficiary,.- tie State o#` ~rlc~nta~ia on la~l~alf of its ~gencie~ a~~d departiilents ~~amecl in tYte
 ~ettlei~ent A~reenxeiSt +(tt~e ``state") as beneficiary, ~eacl~, individually, a "P~rty,"'aird cQlle~tivelY;
 the ;`Parties"~ a~td PI`jTC 8atik,.Natia3~al Association,. ncit iii its i~iciividual ca~iacity; taut solely as
 Tnzstce ~tlic "Trizstec"}:

                                                   RECITA L~

          ~~I~ET~.EAS; Grace ~nci the State have entered into ~ Settlenietit A~;recmeitt tE~at pray=ides
 for.tlie forniaiicin ~f this trust, tc~ 6e ~df~~inistered 'i n -the mariner eiescrib~cl l~ereiti.

          VO~V '~'H~Ft~~QR.~ ; in cr+~zsicier~tipr~ o~'the for~gc~iz~~ ~re~nises anti the M utual coz~enanks
 ~i~d agre~ttxcnts ccintaii~cd iicr~in, and ~iursuant tc~ the Settlement A~ree~r~cnt; t33~ Panics and the
 Trustee I~~reb}r ~gre~ a~ foI(o~vs:

                                                   ~It`T~C~>E i
                                                 I3EF'Ii~tI.TIOI'+f~

           1,1     Definitiui~s: Tlie ft~ilt~~uing terti~s ~s use~t in dais A reen3c~t shad have the
 clefinitio~ts gi3jen bel~~v:

                 I.l.l    "Accc~ti~it Statei~~etit",shalt have ~f~e a~~eat~ing given i~a Seetti~z S:l. .

                 1..1.2   „~+.~ree~a3eni" sf~~li be this ~'r~~.~st Agreerr~e7lt.

                 1,1 F3   ~"B~n~fi~i~rie~" nt~atas tl~e ~t~te end Grad.

                 1:1.4 "Condifion of Early T~rn~iti~tian" shall mean each of tl~e coii~titio~~s of
termination pct ot~t i~t S~.ctians 6~a)( iij, 6{cI)(i}, ar 6(e) of tl~e Seftte;~~t~nt A~r~~rt~e~tt: The t~r~t~s in
Elie Seitlen~ent A~reen~eni shall control ~~rl~etlier a Condition cif Eart}T Termination exists, liv4vcvcr,
~ucli coa~ditions -are stin~rr~~rized ~eneraliy }sere for convenience:

                        Via)     section b{~}{iii): United Stt~tes ~rsvironmentai Protection i~geney
dectiz~~s tt~e opportutzity to become a }~ri~~~ary beneficiary cif fhe S~.~rety Bond - or ~inanc ai
Assi~r~~icc Tnists,-arid rec~~iests ~~~d re~E~ires, and a Gr~ee Party pxovicles, ~in~~ici~al assurance for
KDID O~cl~~ ai~c3lo~~ ~tJID S~iltl~ray Work as ~a~~t of an ~grecii~c~it, rlecrec, or order that creeds
the value and sco~a~ of the ~ztlncial asst~r~nce prt~4~icieci in this. Settlement Agreement fear KDID
C}~~1 andlor 1~DID Spillutay ~h{ork;
                                 (t-~)    Sccti4~~ 6(d}(i): 7~lic If DII3 is rc~uirecl to ~z reinovecl, st~l~stantial(y
 tar ct~t~rt~Ietcly; car

                          (~)       ~ectia~~ G{e): Grae:c (~r ~~~y ~z~ec~ed s~iccessar e~itity that a~si~nles
 Gr~ccxs obligations to tine Slate under the Set~l i~~ent Agreszaleni}ceases tr~.exist or frills tc~ contin~ie
 to ope~~atc as a gc~in~ co~icer~~.

                  1,1.:5 "Cn~.irt" nieat~s the Court of ~a n~ori Pfet~s of Ail~~l~ei~y County cif" the
Cc~;z~mr~n~~uiaitli af' Pe~a~~sylijai~ia; a~~, if that Court at~~tains f'r~~n ~xercisin~ j~irisdicti~n car is
otl}er~vise ~ithcaut jut•isdicti~n o~~er airy matter ar 5i~ a~:it of -this Agreement, tl~e ~anlnto~~~~re~ltli
of Pertr~sylvania curt a1~i~r~vise haviflg catnpct~nt ji~risciictittn with respect to such _matters. '1"ixe
term "~ci~zrt" does ~~ot rifer to iii• ii~cl~icle tf~e federal i~ankz-t~~ecy ci~urt flzat enters the Setttenierii
Agreenicntt r~vl~ich cr~ui-t s~~~tl have ~~~ cc~nti~lc~in~; involvement with the adrninistrati~n aftl~is'I'r«st.

                        I.l.~ '`DNR~" 51iall laavc the n3canii-~g set fc3rtt~ in tiic'Settic~T~ent A~rce~nciit.

                    1.1.7 "En~Jsron~n~r~tal Rei~zediatio~i" means actions taken end casts ~aii~ iti
accoi~~ian~~ ~vit~~ as provided ~inder't"reasury Reg~~lations ~ 3{~ I.7701-4(~)(l ~, inciiidiiig the cc~st~.~f
assessing env rtirirnef~tal ca~iditicsi~s, nionitc~ri~Y~ rerz~ec~ial activities, prevent Yid fi~tur~ rel~~ses, and
€i#~i~er~;~isc iinplen~~nting the rec~~.tire~~lents oftl~e Setilcnlen.t Agreement.

                 l . i .4 "Internal- Reven~ic ~acle" or i~~cans the Inteniat It~ve~iue Cndc of 1986; as.
~znc~~de~i, and "I'r~asury Regul~tioi~s'' means re~~xl~tic~ns pr~n~cilgaieti yin cr- the Internal Rer~en~~e
Cody and ~ixiblislled i~~ 7'itl~ 26 t~fttx~ Cvde ofFe~leral RegLtl~it a~is, as ame~~~{ed-

                        1.1.E ~ "~ncluciir~ "slZall ~a~t be re~~i_r~strictiv~ly, acid s1~all r~~c~i~ iizetErd n~~h~.it
Ii(3~ ~IIT3I~G~C~~C~.


                        l.1.IQ "KDC" shall Izave tflc.~-~~e~ni~~~ set forth in tl~e Settle~~~en# A~s~e~; ant.

                        1.1.I 1 "I~DID" ~1~ali Have t}ie «Tea~~iiig set forth in the ~ett3ettjcnt Agfeeriieiit.

                        1.1.1   "~D~D S~ilir~~ra~r" ~1ia11 lave the m~a~tit~g set forth in file ~~ttl~n~cnt
A~reeinent.

                        i,I,13 "KDID ~pilic~rav Wflrk" sl~atl leave the ~ncai~rn~ set fsarttl ii7 the Settlenaen€
Agreement:

                 l.l.l~ "Kt3ti~ Qperatic~~~ ~nc~ IVia~~atena;~ce" or "KI~~U {3&1Vi" sl~atl Have tl~e
meaiiiilg sit forth ire tt~e Settlement Agrecn~ezit.

                 1, I.1 S "QUID Uc~:l~i eosts~' s1ia11_ i~~ct~~de, ~~~itl~aut titnitatio~, (~~ ill costs incurred
to crinduct KDID C3~.Ivt (iiiclucii~i~ fi~ndit~b .for the rQ~itiiie inspec;tioi~, ~i~onikorin~, operaiit~n;
main#ena«se, repair a~~ct ether aetivitie~ ~~rf~rs~ied periodically try KD~ ct~i~sistci~t uritla a ~iatn
safety ~~eratin~ ~er~ziifi i~s~~e~i udder fh~ i~tantana ~3ara7 Safety Act ~tiid ii~~plenleritin~ rc~utat oi~s
anti at~y supers~cting dan~ safet}~ la~,~r anti re~utatit~zl ,and costs far materials and ecjuipc~ieiit
riccessary ter rcaso~iable -for pz3rposcs of e~r~cic~ctin~ I~DID {~~:.M and ~z} ~}I fees once e~p~i~ses




                                                              -2-
 ~3IlGIliCIR3~reasos7able cc~~~s~iltiii~ a~~d leg~I Pecs a~~d cxpense~) a~soci~icd ~vitl~ the `I'~'€i~tec's
 activities l~crcunder.

                  1. I . ~ 6 "I~Fo~~erfoa-ma~~ce Detea-n~ir~atio3~" sl~a[i Dave tIle rraeaiiing sei fc~rtl3 in the.
 Setil~.n~ent ~~;rce~nen~.

                  1.1: I7 "Parties' ti~ld~r phis ~~r~emeiit shall lia~re #lie nle~~in~ gi~Jcn in tti~
~rearnble.

              I.1 w 1 t3 "I'r~-20~~ KI?ID 0peratiai-~ aiid Niainte~iarice Performance Baiiti" tir "Buret}r
Bond" shall have the rne~~ir~~ set fc~~-tl~ ~n tlYe Settt~mene ~greei~~cn~.

                1.1.:9 "Pre-2042 F~DIB ~~cM A~cni~~~t" slaait 3iav~ tl~e meaning ~~t forth an
Sectii~n 2.7.I hereof.

                  1 .1,2G "S~ttt~ma~it ~1~,reemerit" ~Y~e~ns the Settte~nent A~reetnent t~et~vec~~ V4'.R
Grace c4; Co: a~3c~ tt~e State, d~~~d a~ ~f                             , 2Q~~ ~aegotiatec~ and entered to
settle t1i~ claim iiur~~b~r 1$4-96-1 iii Iri re t~V1~. ~r•rrce c~ Cry.; ed cil,, t~eforc the L3nii~d States
~arikruptcy Cat~rt -for the- T~istr ct of DeIaevare, under Case I~1o; 41-~}I 1 I39 (A viC}, ~s anle~itlecl
by V~r T~. Cira~e & Co. end tie State I~ere~fter; in acccir~iaitc~ ti~ith the teii~~s of tl~e ~ettletne~~t
A~reen~c:nC.

                  1.I.21 "State" snail f~ave tl~e n3e~ning given in the pream~ile.

                  1.1,?2   4fStateincnt"   s~~all Dave tl~e ~tcanii~~ gxve~~ in Section 3.2.1(~,j,

               1:1.23 "Sui•e~v" sl~atl ta~eai~ tf~e surety ~zciir~~ as a~ili~or ft~r tlae Pre-2042- K~7IIl
~perati~~i and Ivlaintei~tance F'erft~rnlance Ba~~ci.

                  i.1.24 "Tnist" iiieans tlje KDTD (~~i+~t Pez°~'~rn~a~ee Tnist aid az~}F s~:ib:-acc~«nC
tli~r~in, estabii~hed pursuant to tl3is Agreement.

                   1.1,25 "Trr.~st Assets" m:ea~~s the funds transferred tci, or caned by, the T'rus[
g~i3rsuaiit to ibis Agre~i~~~nt.

                   1..1.,26 "I'rustec" ~i~eans the trustee of the Tr~~st= r1t- any tithe tlt~t ~~ll~ltiple t~•ustee,s
.are actii~~; the temp "Trustee" shall ~p~aly tt~ each of'ttie cca=trustees.

         1.2       ~tl~er. To the extent a term iri this Agree~net~t is tot defined at~c~ve, kn tli~ extei3t
 ~racticat~Ie; st~cl~ terns steal l have the n3eanin~ provide; if airy; in ~hc. Settletnet~t A recinei~t.

                                         ARTICLE II
                      CRE~TIOPY ~.ND ~'[AII~AGEi~~~N`T C?F'TRi:J~1' ASSE"t'S

          2.1     {~t~jer~tives aiid Pi~rpr~ses.

               2.1.i General: `i't~e e~cizasivc; obj~.~tiv~s and p~~r~ao~es of the Trust are to collect
and disburse fiii~ds for I{.DID O~cM Costs, ~~s required under the Settlen~~nt A~ree~nent, ~~iith ~~o



                                                        -3-
Qbj~cti~~~ or- auti~~riry to-c~~~a~e i~1 airy trade ~rb~.ssiness. Subject to Sectioa~-x.3,1 oftt~isl~~reeine~it,
ill payst7e~~ts ai~ci dist~ursc~n3ents'fras~n t~~e Trust by tl~e Tri~~tce si3all tie made ar~ci a~piiec~ si~l~~y fnr
t}te~e ptt~~t~ses; it 6e t~~ irrtc~erst~bcl at~d ~ reed that atiy }~ayinents tci the Tn~,siee ~i~rszi~nt tc~ this
Agreeia~cnt are in fiirtt~ci~ai~ce of such p~.~iposcs; ai~c~ at ito ~it~Z~ s}~a(I klxe Tr~i~t (or tlic ~'riistee att
be}~alf cif ttie Tryst} c~nciitct iiiv~stane~~t ar 1~usirtess activities that conz~rQfiiise these purposes.

                      2.I.2 Tax'~tati~s, Initi~~Iiy, ~rr3ee inter ds, b at is riot required tci e~~stire, that the
  'rust co~istitiites azl "e~zy r~i~~~~ieE~ta~ re~~iediation trust;,, ~s: pravicied by 'I'reast~ry Re~~ laficaus
§3~3I o77t~.i-4(e}; at~~ ttie "t'~~ust shall at'all times tie ailrriiriistered; and allprovisit~ns cif'this a~re~tnent
slxall tae cc~nstn~ed, ~3 a inari~~er that is c~aasist~~xt ~~viti s~rcl~ ~zt~nt..~t.any t me, ho~veve~-, , f;irace
mays ta~Ce suci~ steps as are required io elect rc~ frcat #3ze Tnist:~s ~ "c~i~ali~ed ~ettlern~~~t_f'und," as
provided by ?'reast~ry I2~:gt~lations ~ 7.4688-1}axed, foltc~~~ran~ sus~lz ~I~ctia~~; the Tr~ist shill at all
times be admini~tcrc~, and all provisi~~~s cad` this ~~r~ct~t~~nt s3iall ~e"ci~zYstiiacd~ in a i~~a~urer that is
cnilsisteni with such intuit. grace intends that: it b~ considered to ~e Elie Tf~st's "~c~n~ii~ stratc~r;,,
i~fithil.t~Z~ r~leaiai~g ofTreasury ~eg~slations. i~Iei[l~cr the State;z~:r~r t~ie:'I'r€istee shelf I~av~ any duty
or obli~at o~~ in ea~jz~cction vvitl~ tl~~., tax treata~~tei~t of flle'€'i~~st c~thcr ttz~n to ~~~aperatc in ~Qod faith.
with Grace in caiinectitsn tliercw t~~. ~r~ce shalt tie sol~Iy r4sp~a►tsiblc'~~r ens iri~~g cciia~ptiance ~vitli
tl~~ RegulG~.icrns rcc~Liired of an enviiaz»~t~ n ~I t~~ tt ediatiQn tn~s# car qual Berl scttler~ict~t fund., as the
case njay ~c. NeiClier tl~e State nor t~~s Trustee sl~ali be.respgnsiblc fear pre~ari~~g cir l~liz~~ any reparts
ar reti►i`ns retatiat~_t~s fcder~~t~ state; Qr Iocat incofrie tars ~ttith res~~~cE:to ti3is Agrc~nlcnt ether trier
the 'T=rustee pre~arii~~ or filiiz r~tciri~s or reports far tlie'Fr~astee~s ccimpensat on; provided, that the
'Txvstee hereby is aiithorizei~ Cc~ exec~ite; and sietiver any tax retur~~s i~~ 5uct~ fniiiis presented t~ it and
s~~alt iia.~e ~xo'fiabiIity ~viti~ respect t~ tlic preparat r~ii or epnt~iit a€ sitclt tax r~ urns. with res~cct tc,
any ar~iai~nts ~aayatile ureter `this Agi~ceil~ent, the Parties shall cieli~~er C~~ the '~' ~~stee `si~ci~ tax foriiis
or c~tli~r clocui~ients reasgnabiy rec~uesteci icy tij~ Tr~zstce as slzatl be pr~scribeci by the Tzxterrtal
I~.~e~~~~~ic Code car othea- applicable ~s~ti~r at siieh time tai- tiiiies reaso~lably requirctl by the Tri.~stec,
incltidis~~ scicIi tax forms car ath~r c~fleumencs; ~s appIic;able,'to allc~~ty ti~~ T"ruste~: to cictcrmiu~ the
a~noia~~t t~ dcdztct or «itl~l~ot~ (~ncl tt~ aliat~ the Trustee to sc~ tI~ditct ~r cvithIialei) pursuaiiT to t(ae
I~tternal Reti~e~~u~ ~.'oc3e, inc~udiz~~; stnder sect ens X 471 tl~rougli 1 74 of ti3e Cody {~'A7'~A).
Vijifil~atat ~ift~itirt~; any Qiher prevision c~fthis A~rc~r~ient, the State expresses ~~ta opi~i ate anti maiccs
~~o a~reenlei~ts regardi~~g the tax. status of the Tn~st, but: ie~~ves such fi~atters and the xesultirs~ tax
~:o~~seq~cnccs to Grace's discretio~~:

          2.2      C;rcation of and Trans~'er of ~.ssets to tt~c Trust:

                    ~.?.1 ~stablisti~iient af'I'rf►st. `I'lic Parties Iler~b}= irr~vi~cabiy estat~l sh ttie Trust,
ivliich shall tear tlac ti~rt~e "I~T)~D CI~Nt Pcrfar dance Trust.,, t~it}ian five (5~ E~usiiic~ss days cif the
crate hereof the Trustee s1~~It cstabtisli a trust ~cce~unt ~ti~e "Trust A.c~o~int"}. 'I'tie put-pose cif ttic
Trust ~ccoirTit sl~ali tie to i~eceiv~ ~~~ci acinii►iist~.r the '~"ri~st ~sscts and to facititat~ tl~c making of
~~ay:a~sertts laereu~~cler; atl iii a~ct~rda~tce ~rtitl~ this ~:~reen3eiat. Grace shall contr~b~tt~ tl~e T~~t~~t E1s~ets
to t~~e Trust iaY the mariner and at tl~e tii~lus-set forth in t?ie ~cit~r:~i~e~it Agreeizierit: In addition, if tl~e
Surety's p~yrnent o~~ the Sifret~r BQz~d is tri~gei~r~d and Surety cof~tributes. ftu~ds t~ tI~e Trust, the
Trustee shal(~~Iacc and niaintasn s~ich fui~c~~ iii ~ sep~~r~te sub-acc4~iiit to be 4cno~~rn ~s the "~r~-2Q42
k~DTD Q&M.Accouz~t,,, ~vitl~in tlae Tn~st Account, r~s of i3ecemt~er 31, 2Q42, any finds present it1
the Pre-24}42 I~DID t~~i~~I Accoar~~t :shall be transferred to ~n.d b:eep~~~e part of t}~c. Trust Accoi►cit,
and that sub-accoutlt snail terf~li~~ate. The Mate sl~ati gave no ~rbligaEiou to co~~tribute assets ter
}~rc~perty t~ the Trust of any time. `I`Ile Trustee h~r~by accepts and agrees to ltalti ttte Trust assets


                                                          -~-
in the Trust .~cco~►nt fc~r [he be~~te~t cif il~e I3e~e#iciarics for the pi~rpnse_s described iil Section 2.1,
~iabject tc~ the te~n~s of this t~,~;ree~ncilt. `I'he Trustee shall liav~ nti ies ons tail ty, grid a~si~t~~es no
liability; tc~ ~tirs~~e ~;z~llectic~n of Trust Assets to be cc~~itrib~itcd' under the Settlei~~e~~t Agi~ee~rtent
franc at~y sa~tree: I~~stcad; all cablig~Eions ivitl~ respect to tl~e Settle~~iciit Agreement's req~.xirerraents
far fta~Y~litig cif the Trust arc-to be scilcly exercised try Grace:

                  2.2,2 (~Lvtiers}~~p i-~ist tlssets: X111 legal. rights anti incidents t~f c~ti~nerslii~~ cif' the
Tn~st Assets sl~ali be lielci se~le3y by tl~e `Tt~iiszec: ;Hoiyever, except ~siid until ot~er~~✓ise provided in
tIxis F~grec~~ref3t, Graec snail ~e irc~ted as the owner of the. Trust ~►sscts for federal in~.r~n~e tax
~aurposes puts€ia~~t to`°~`reastir}r I~~g ilatioris ~ 3~1:77(}~-4{e~{2).

                   x.2.3 ~cici%k r~~i~l Caz~tributions The Tn~stee s'authc~r zed to accept co~~tribiitions
to tlYe. Trust frii€l~, :~i~id panty from, tl~e T'arties ~r tlic Surety, 7`tie Trustee i~ r~~t required tc~.aeccpt
any co~itr buti~n t}~at t[le Tn~stce b ;ticves is nQt apprc~pri~te far ~rd~~~i~a stratinz~'~~ ~aarf of tt~e Trust:
~sscfs.

          2:3      Investn3ent and S~felce~tit'pa of'Trust A,sset5.

                  2.3.1 Segz-~at iii of Tr~zst` Assts. `I`~~~ Trii~t .Assets xh~ll be ~ etd iz~ truck ~~xct
s~;re~;ated f'rc~t x a11, at~d shall ntat b~ co~ni~~~;lect iiritl3 ~iiy, atl~er assefs cif Grace, -the :State. ar th4
Tri.~stee.

                    2.~:? Invesfine~it IZec~uireii3en~s. T"he ~'rust~e shall Ixave zhe atatharifiy to invest ~~ie
T`nast Assets in suc}~ a m~~~ner as tl~e T~irste~ tieext~s appt'op~~i~t~ i~~ t ie Trust~~'s discretion and in
~ccordaii~e; ~~ith el~c gui~ieli~~s ap~ticabie to tt~e Trust ~.cea~.►nt set forCl~ iii 11iis Sect ail 2.3 {clue
~`Iiives~meixt Policy;,} sss rn~ty t~r~ ~~1ie~icleci` its d~~rit ng frcim fine to tune by Grace, the Stare and the
Trustee. T'he `I'rust~;~ shalt consult initially-and froi~i time tc~ iit~te ~~rit}z Grace anti the State reg~rcliii~
tl~e nature az~d allacatior~ ~f ic~vestme~its t~f t~~~ `I`rust Assets. .Alt i~~crestuzent tr~~~sactit~ns effected
fcir the Trust Accc~t~nt ;;hall be r~~etz~ieti in cui~i~Iia~i~e ~.~~itla tl~e Ii~vestnient I'oli~y unless Grace Qr
tl~~ State t~otifes Ti~c~st~e in }~~~-iting c~~'its objectiat~ ~~i~lain sixth:{btl) t~~~s o#` is receipt of the i~ic~st
cece~t ~.ccou~it Statement ~ursi~a►at. to Section S.1 of this Agreeriment; `J`he c~anpiiarice ~f acs
ir~vestrne~it ~=,it1~ the In~rc~tr~iezzt Policy shall }~~ tletc~rii~it~ed o.~~ #lie ciat~;o€pt~rchas~:, basec~.oti tl~c:
i~~ark~t value a~~d ~ssct class car ty~~ as of that date coii7~ared tc~ tl~~ ~ali~e cif ttie Tn~st ~ceci~i~at as
ref tl~e z~~vst recent va(i atiiin date.

                  x.3:3    Inveshr~cz~t Pr~flvisi~tns:

                           (a       C;asl~ S«ee~ Veisicle. Grad a~~thor~izes the Trustee to auto~liaticaliy
sweep unin~T~;~~ed c~si~ bal~nees: in the Trust A;ccou~~t into (z) any manly r~~ar~et r~l~~t~ial fi~nci it~at
(A) e~~n3~~tzc~ iuitl~ the ersteria set_ #`ortli in (I) Securities ~nci Excl~ac~ge:Corn~~j ssicirrRule 21-7 ~~i~cier
tl~e In~~~s[nie~it Company Ace off' 1.9~f~, as a~3~ei~ded, oa~ (II} Securifi~s and Exclian~e Conitnission
I~~ile 3e-~ ui~cl~r the Investment Coiz~pany Act of 194f?; as aiiYended, grid (B} had portFolio ~~sets
of at least `~S,f~00,D00;C1C1(~ ar (i%} any t~a~~k ct~pc~sit account offered by a eomt~zerciai bank ~~rhicla
leas a com~i~icd copilot hind sui~~tus and ui~di~~ided profits oaf not less than S~OO,L}{~O,f~~~} in each
c}~oseaz ~y Trustee (t~efei-rz~d t~ as "sti~e~p ueliicles"}, ~~rhi~li n ay include si~leep vehicles advised
b~ the ~`rilst~c~ andlor its ~ffiliate~ cir de~i~sit aceaL~nts at the Trustee car an affiliated ~iacik. Cira~e
un~icrstancls teat Trustee will derive fina~icial henef~ts frc~~n af~liateil s~We~p vel~iel~s ~iricl~~dir~g



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Pi~~C Bank, Natiaii~l AssaciatioF~ depasit;s~€~~ep a~;coUzits)~ E~=~zicl~ benefits are in additio5~ to the
fees set forth i~~ the Schedule of Accntin~'Fces ~l~ser~~iecl in ScctiQn ~:S of t~~is fl~reea~~eiat>

                              fib)    Inv stn~ents in t)thcr Securities. Gr~ee aiithc~ri'res tl~e T~~ustce to
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 a~7d fi~11Y g~iarac~tced or iiisure~ by; tllc tlnii~d Stags ~f,~~ner c~ (car liy aiiy agency tk~ereof to Elie
 ~xze~~t sticia ot~li~atio~3s are Lucked by the ~fuil fa th and~e~edi: Qf'tt~e United States o~'A~i7erica);~(ii)
 in~~cstments i;7 cammerci~t piper ~~a~riii~; at such,clate of acc~t~ sitian, a credit rati~~g o at Masi A-2
 fr~rn S&P ar ~-2 FrozY~ Tvlt~€~cly'~> (iii} repurchase a~rcenients ~,~i~l~ a term of ncit ~nc~r~ ti~ari I8~ da}rs
 ~'or securities'd~sertbed ~~ ctause Vii) cif this setttei~ce and critEr~d into ~arith a ~~nancial if~st~tu#inn
 satisfyiF~g t~a~ criteria de~~ribed in cl~t~se (ii) t~f ecticin 2.3:3{a}, {iv;} corporate ci~i~t obligatit~iis
 ~t~ittz a 1Vfc~acly's rating o~`at Least t~3 ar air S~:P rating of at tease A- car their equivalent; (~rj shares
_nr units issl~eci by ~ cotti~~;ry tlia# is registered as an iz ~r~strrient company under the Investn~ecit
 Corr~~~an}r pct ~f l~~#(~,'as arneitd~;d, that is r~ded on a nzifional securities exciian~~ a~lc~ lias a rain
 t~C at lest f~~ir stars fro~~t art~iz3gst~r; Inc., azid {vii any c~tl cr security aPpri~ved i~~ tivriting by
 Grace and. the St~t~ (cc~llcc i~jely, "C)tlier Sc~urities") •`l~ar~dy's„ ~ncans i+dtood~'s I~svcstors
 Service, r~~c: <•S~L=F" a~ie~tts Standard ~'i I'acrr's i~.~#'sng 5~r~r cis, a Standard & I'oor's Financial
 Services I.LC b~i~ ness. I~~ ea~l~ case, Grace urici~rstands that the Trustee n ay receive ~~ian.ci~l or
 advisi~ry fees rel~teci to tii~ issuance of the security .o~ inskn~ ertt~ incittclin~ sectiiratics ar
 instniments for ~~rhicli Trustee (oi` its affiliates} serv~~s;~'as m~~tager; ~at~c~i~.~tater ar plac~n~e~it a~~~it
 or ~~here Txuste~ (oi- its affi'liates~ Izas issued, strtict~rred r~~' u►td~n~~ritten to e Ut~ier ~ecurtties.

                            (c~     l3iscl~stire 'R~~ardtn~ i3se o#' Affiiiatcd Products. a~~d ~eriric~s.
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in Fcinds ~r Oti~er Seciirittes that. are ~ffitiatect z~ritl~ Ti-usfee and tl~~ these ai~filiatecl ii~tr~stt~-~ents
may constitute ali ofthe ~zvest~~~ents in xiie TnisY. Ac~a~int; {ii}.engage sut~advisors af~iiatecl ~.itlz
the Trustee tc~ iT7ana~e all ar ~ pt~rtian ci~tlic assets in tli~ Trust account; aalcilor (iii} engage ~~7odc1
portft~lic~ ~rovitiers its c~z~necti~n ~,vitl~ m~t3agc~~~~t~t t~f ~sset~ in Lila "I'i2~st ~,.cca~~nt. Grace f[rrtlier
t~nclersta~~ds ti~at the `I'ri}stet may drive fs~lanc at anti c~tli~;r bei~~~ts as <a res~~lt cif the `I`rustcc
purci~~sin~ F'un~is or Ot}ler ~ectiritie~ ~f~tiate~l ~~~iti~ Tiustee ar utiiztn~ ~i~bat~visors a~zci/az- n~►c~c3~1
pc~rlfolio providers af~Iiatcd ~vitt~ Trustee.

                            (~l}     Disclos~.ire Re~ardin~ ~~tc~ tionat Fund Fees.. Csr~ce rinde;rstands
that tlic Tn3stee ~andlor- its affiliates) rn~y provide advisory ar oti~er ~er~r~ees to a compaa2y that is
re~isfc;recl ~s air i~ivestrrieiat compan}7 u~icler tl~c It~~+lestii~ent Gaznpat~y Actof I~4{}, ~s ~iinei~cie~3; {a
"~i~nd"} i~hicli is selected Tor thc~ Tn►st Account and that `~h~ Trustee ~rtay s~eeei~tc ~icivi~ory,
reccardkee~~iiig, ~dn~inisCrafiye, ~fiarehofder serilici~tg, ~ncllar c~tl~er fees far suc3~ acltirisur}~ and otlic;r
services. These types of fees are Maid; directly ar inriirectl}l, by the Find tc~ she Tn~stee ~an~S/or its
~f~liates~ ar~ci are €lescriL~d in detail in t}~e ~ir~sspecttis, private offcrin~, inem~r~a~di~nt r~r other
c~ff~~in~ docu~~~e~zts; ft~r the F~cnci. Cit'ace shotiid';care#'ully red 3 these'dt~eii~t~ents sine t~rese fees
~liill u[ti:3laicly be ~ornc dry the Trust as ~n investor iii the ~t~iitl tltrsai~~[i the net asset ~=aI«~ of the
FL~~~d anc3 cast t~fFund sl»res nr units. F~c.s received by tl~e Tr~astc~ from tlae Funds are in atiditinn
tp the cc~inpensation paid tci ttx~ T~- }stee uncicr this A,~rcen7eint oriel niay result in the Tnzst paying.
multiple Iay~rs offees for the satnc asset, Psircliases cif Fund shares ~uitl be n~a~le in ac~orcl~~ice
ti~ith Trust~~'s standard practices in effec! from tune to tii~~►e




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                            {~~       Special Disclosures t"Qr ~u~~d S~~ares. ~xrt~c~ t~t~derstat~ds that T'~tttds
 and (~tt~e~• Secu~3ties available thrci~i~h tf~e Trustee are fiat bac~Ced ter guara~3tecd by tl~e Trustee.{br
  its ~ffili~ies), are nat bank deposits and ire ~rc?t insured.by, iss~~eci ia}j; guaranteed by ar o~lig~ti~ns
 of tl~c ~eder~t Deposit Insurance ~or~oratic~n, the Fcdcral Reserve Beard or aa7y at~ier go4fen~m~i~c
 a~;ericy. Si~cl~ Fluids ar~d Other Sect~rit ~s ii~vcitve ii~vcstm~nt risks, includ fib ~c~ssible kiss cif
. value. There is pia assz~rancc that s~vecp ve3xicles ~vitl be ably tc~ n~airitai~i zi stable iiet asset value
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 €,race sl3all refer la tlae prvspect~ts, ~arivate Bffei~zng i~iernot~aai~uan or other offering ciocu~rie~~is _:for
the Funds. Grace acki~o4vied~es (i} that it uti~lerst~itds ii~e izlf~n7~atzori set tnrtti in dais Se~tio~
  2.3.3 and {ii} ~~ecei~t and 1-eviet~sr of the prospeefus or s.iirnmary pruspec~.~s, private affering
  ineriYoraricluin ~r other c~f#'cra►ag docurnencs for ~I~e selected I~u.nds;

                               (f}     T~~~►st~e Selected Ilrokers, brace: agrees that in cases wt3ere. tI»
7"n~stee sele~:ts brcikers for trades? the Trusfec may select bra~Ccrs that ale not ~ftiliated with Trustee
~~sr i~rflkers thai a~~~ af~liat~ti ~~vzttt 'Tr~~st~c: Grace: c~nserits tc~ transactions fflr the Trust A~ccou~t
bcin~ executed through brokers a~`~ii~tec~.~ir'rth the Trcistee in accordance +~vit3i this Agre~m~zit`and
the affil<~t~~i broker's cxec~a(itin gaol cies: Grad, t~iay r~~yoke the consent prc3vic~ed iii this Section
at zany t ~Y~~ by ci rcciio~~s :fia tl~c Trustee. If #fie 1'riistee bays or sells sec~~riki~s for v~l~iic~~ an
3f~liatecl i~rb~~r acts as a dealer or utider~vritcr; the Trust~;e .~iay buy these sc~ttr~tie;s from,:o~~ self
tl~tise see~~rities to, eitll~r the affiliated broker or ~ t~er~i~er of an iiric9er«rr"stingy synciic~ite: of`~~~liiel~
an affiliated broker: zs a ri~ernber:. brace consents to brokers selected by tine Trustee retaining
crsr~l~n ssit~ns, nolu~ing ari affiizat~, ~~` ~~~e Tnastcc. Grace fiirthcr agrees i(~at, i~' eYecutioi~ .i~
t1}raii~l3 an ~f~liated broker,- the a ~ iater~ Broker is entitled to receive and retain; cvitllout credit or
offset, broker~gc cort~mis~~~s, cQr~~araission :equivalents, i~~a:rk-ups, mark-ci~~vns ai~~ deaI~r
spreads on tra~asactioz~s effected far tl~e Trust Flceot~nt €n acec~rdance with tt~e affiliated broker's:
sta~~dart# fee schedttics. U~~ojt request; ilie Tnlstee ~~~itl provict~ additional u~fcirc~iation to Grace
cone~r~iiiig cotnmissis~~is, coi~ziii iss~an equivale~tts; rti~rlt-tiffs a~2d tn~i~~Iti-dosvc~s acid tither
trat~sacfit~n costs. CrraGt; i~iatterska~itis ~iid agres;~ that t ie ~'nistee has an indirect fiila~lcial ii~eci~t vc
tc~ scle~t an affiliated broker to execute. ttansacti~iis in the Trust .~ccouz~t, as it resciits its
etici~p~e~~satiiir~ tci its affiliate:

                            {g j       Brokerage Fees and Pri~i~ia. T`lie Trustee- ~~ill seek- to t~[ataiu 3aest
e~ec~ition iii sel~c ion af,brokers ~batl~ at'~Iiated anti k~ti~f~li~t~d; as ap~Iicable} for eaeci~t an Uf
securities traces fell t~~e T`~-i~st >4cc~unt. WI~en sclectsng brokers tic 7"rj:~ste~'~nay take into account
the hill range and duality o#`brokerage. ~ervices iiiciudin~ execiitio~x capability, trading ex~~ertise,
~cc~iracy cif excc~~tia~~, cc~mniission rate, r~s~arch, ~~epuf~i~t~n anci integrity, fai~~ness in resole n~
disputes, fina~lcial respc~nsi~il t}~, res~~ansiveness; ~nc~ any c~thci• r~levanC facttics. "I"ite Trustee ~Isa
nzay c4c~sider brnkera~e and resc~rc~~ serviced prc~vicied by brokers even ttiarxgti tl~e Trust Account
~i3ay naf benefit fi~oa~~ such i~~search. Broker cos~~niissioz~ rate is azze cc~it~~c~n~t~t cat ~arice and a factor
considered ~~~ith other factors. Tlie ~rust~c: «gill not be c~bli~ateci ;t~ s~~k the Io~v~st co~nmiss.zon
rate iii advaatce cif a Trust Account tran~actioi~ or to selec[ brgkers based on its p~irported
commission race. Accordingly, tl~~'T'rust~e shat: nit tie cieeri ed tc~ nave acted ~znl~~~~fiilty solely -for
ca~isin~ Grace ko ~ajr a higher ~oinnlission for a securities trade than t~tIler brnlc~rs ~voiiIcl have
c17ar~~d fot~ ti~~ sai~~e tratt~act~it~n~~

                          ~l~}   A re atit~n +~f "l rides. 'fire 'I"ruste~ ~z~ay, in its sole c3iscretiou, buE
is i~~t rc~t~uired tos c~o~nbin~ ~ur~chases end sales of securities ~~cld in file Tnist Account tivith


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 p~~rci~ases ai d sales accurriii~ on .the same cis}~ of ih~ samre securities helri in accoi~nt~ ~f otliei~
 clients c~ftl~c'i'nt~tce ~~ar its affiliates , ~Vlicn securities tr~insactic~ns are cnmbi~~etl; tI~e actiYa! ~at-ices
 applicable io tl~~ cvnYbined transactions,may ~e averaged, and tlii Tn~st Accoc►i~.T ~~~~ the other
 ~ceoiints may be tIeein~d to haiTc ~urcliased or sold their praportiai-~a€e shares of the securities
 i~~vcilved at tl~e a~~era~;e price then c~lct~latec~. Grape ~indcrstaiids that tl~c Tr~istee ~i~ay not be able
 to seek ~iettei~ ~arieing ar l~i~ver ccists can securities transactions vy coc~~bii7in~ 'I'nist Ac~:c~unt
 securities transactions as deseril~cd in this Sectit~~i 2.3:3(Ii} anc~ that ct~ttil~a~~crl secut~iCies
 trails~icticins ~n~y or ~i3ay not henefiE the `I'n:st Ac~n€ir~t.

                    2.3.E Canstnxc€ tin ctf Invcstn~cnt Aut~~ority. I~Iotl~i~i~ in t~iis Sectio~~ shad be
ccr~~stt~tieti as ~aitl7orizi~~g the `i"rustier tt~ cause tl~e Trust to carry ~n any l~iisiness or to ~ii~Fide fhe
wins #here~rc~n~, incIiidin~; tt~c bus l~css of a~~ nvestr~~eiit eomp~t~y, car a cQmpa~~y "cflniralled" ley
atr" Eivescclient coneany," req«ired to register as suclx uEic~er the In~~estzii~jlt Cc~rripany Act of I9~t3,
as arn~ndeci. Tlic sole ~t€r~cs~e of tDiis Sect c~ti ~;3 i~ t~ authorize tt~e invest~ncf~f of ttte Test assets
or a~~y portions thereof as Yl~ay be reasat~abty pri~clent pei~di~a~ cis of the Tn~st assets fc~r tP~e
~~.i~uses of ttic Tntst. Each of't~ie Bence aris~s ~ck~~c~~vle;cige and a~re~ tc~ tli~ prt~visic~ns of Sect r~YY
2,3.

                                             AT2:TICLE IIT
                                   DISPOSI'I'IQ~14F TRUST AS~~TS

          3:1     Distxibtit tsns for 3CI)ID (~&M Casts: The Trustee sl~ali distribute to jai fir tai
 taenefit of Grace {az~ the Stag, u~~c~er the tin~iteti cant~itioiis ctescri~ec~ in Scctic~n 3.1.3.
 [N~np~:r~'~zn~sancc Deter~nin~tion~ car Section 3.I.~ [Cessation of ~racc]} such anioiznts; at st~c~►
 tiit~cs; as Gr~ic~ tir the State zx~ay iit~itr a~ I~I7ID f)ts~~I Cysts in a~cordat~ce ti~rifh tt~e standards
 prescribed izittie Seitiem~tit ~1~reeiiient ~~v~ti~li Elie T'n~st~e sl~~t[ Have ~~o duty to v~r f'y orct~nfinn}.
 Disfribc~~i~i~s shall be made ai~iy izi accaz~tlarzce ~~it~ ~taten~e~~ts ~rov did to t}~e Tn~stce p~~rsuant
 to the pr~avisions of this ~+.rticte.III.

                    3:.x.1. general Intent. ~s ~arcivic~~ci i~~ tlic Settlem~.;~t Agre~~~~ei~t, to the gceate~t
extent practicable, ttte Parties is~teiict that nQ ctis[ributrc~ns ~vil1 lle made Env tl~e Trastee.~~ntii ~at~~taiy
1, 20 3 (exc~~at for at~y funds t~i~t -may.- lie rlisfribufcci Cram tiae Pre-2(1 2 ~DII7 t~~M A~cr~uilt}.
Distrit3zrtzci~3s fc~r I~DID {33~1v1 C'tist~ ~iay ~e made frc~E~~ the T~-~~st, inc(ucii~{g the sub-~ccouiit, iii
accorda}~~e -~vitl~ 5ecti4z~ 3.~.

                  3.1.2    DESERVED:

                   3.1..3 KI)ID QOM i~on~crforn~a~lce IJeterri~i~laiion. If, at any tiz~3e after
1~ecember 31, 2f}25, DI~I£~C cer~ifi~s in a a~jriting delivered to brace anr~ tl~e Trustee= tf~~t alI
r~r~uiren~ents laavc been met for a ~T~n~erfonnai~cc Detcrt~ii~iatian, including prcr~~idin~ Grace an
opporeun~ty to cure such ~~a~~perfori3~~nce iii accordance.l}~itt the Settic~n3~nt A;reenlet~t, the Stet
~~~ay ass~:~i~~e all rights aril ~i~thori#ics of Grace it~Id~~- this Agr~:eaa~ent evitll ~~espec[ to such KI:~ID
~3&M ~vc~rk ~iescrihecl iii the No~p~rforniance I~etersni~zatic~n, inei~~c~in~ t}~e ribiii to regcaest aa~ct
obtain disirib~itio~s in accordance ~viih 3.2.

                   3.1.E CeSsatian of Grace. I'~irsuant to Section 6(e} Qf the Settl~meaat Agrectz3~~~t,
 ~ip~~~ iiotiee frcatn the ~tt~t~ to ~13e Truste ~r~d Grace, accon~~~a~~ied ley c~t~c~t e~xtation of tale basis



                                                         _g_
 for the a~c~tice; iFGrace (or a~ly ~i}ergerl or ~itcccssrar e~itityr t17at assumes Gza~e's ~btigations to tlae
 State wider ilie Settleatierit A reenl~itt}.ceases to exist car fails to continue Co t~perate as a ~o~n~
 concer~i, alf ~~igl~ts aFici atitf~c~riti~s o~'~rr~tee iin~er this A~reen~e~it staali autt~~i~~~tcally at1~ ~vitl~out
 ft~~tti~r ~ctioti cease}. and all Tn~st t~ssets s}iatl ii~~~re cc~m~letcly tc~ the berz~;fit of tine Tate cirityr
 ~~~iti~Qi t any ~ rerec~~isite Nonperf~rizia~ice Deter~~~inatioil ~~etere~~ecd i~~ Secfion 3.1:3; provided,
 3}~~~e~ter Grace s~t~il f~aue thirty X30) days aver strc~~ notice tc~ ot~je~:t tc~ arty assef~tiort of Grace's
 cessatzan i7~ a 1vriting delivered tU the Tnistee anal The ~tatc.

         ~,2        Frc~cess ft~r Issuance Qf Distribut t~~~s. The Ti~.~s~ee small make ~listributio~~~ for
 KDID O&~i!i Casts ~i~~ri~r ~ectio~ 3.1 rc~ Graee ~r the State (~~i~der t}~e cc~~~ciitions d~scrib~d in
 Sectiai~ 3.1,3 ar Sectii~n 3.1:x, ~vllich go~rerns tl~e State's contingent rig}xts to distril~~ttic~tz}f as tic
 case z~~~y tie, iii acc~r-ciazi~e ~~ii~~~ ilia f~Ila~~ring provisions.

                   3. .Z.I Distribritit~i~.I2e ~iesf, Tire Ben~fici<rry seeking the distributiri~~ shall submit.
tea tl~e `trustee ~inc~ tlxe ~ther.Bene~ciary:

                            {a)        ~ st~~t~ni~ttt scttir~~ fc~rt}a tl~e exact aii~ot~~~c cif the t3istr bt~tit~n (tl3c
 "State~i3ei~t"), upc~27 cvt~icl3 tlie; Ta~trstee inay cc~i~clusively rely;

                            fib}     4.written certification,tttat t13edistribution is for I~I3IT3 C3~IY1 Ccrst~
 ~,viihiri itie restricted ~aur~c~ses aF fih~ Trust a~zci tlYe ~~~t1~n~~i-~t .Agreement and, in'the case ttf a
 distribution from t ie Pre-2i~~2 KDID Q~.M ~ccc~tin~, that stkc:tx cl str[t~ i~iazt dc~e~ ttof deer se the
 balance ~f T`n~st ~ccot~nt, ~t any time cl~ari4ig the year in ~~tfli.cE~ suctl dis ' butzan is t~ be i~a~ie
 ~e1Q~u tine "I+tlaxiijYuin 5~.~n~ of ~3c~nd Ai-~iount in ~rzven T~efault Ye~~r" ttir tiie £~l[tiv,~ing year as
 refte~ted sou the Surety Bond An~ocin€ Ssl~etiule attached tc~ t11e Sett9e~~~ejcC Agreetrient as ~xhibrt
 ~, tivE~i~1~ ~~rti~cataon,sl~all set fo~t~~ tl~e amounts necessary to de i~i~sfr~te c+~i~lpliancc ~}~rifli such
 reguiren~ent;

                            Vic)       ~'cir coii3~leted T~DID Q&i~~i that I~a~ already been paid far by `the
 Beneficiary s~~k.in~ rlistr btitt~ri, tt~e nvoi~~s and receipts sufficient to demonstrate [hat 4vt~rk {fir
 €lip relevant portion lhcreot`~ l~~s bec~~ performed az~~i pav~~en.t I~as been n;~ade (~.jhicl~ tt~e Tniske~
 sl~ali ii~ve rya duty #a reirieb=a},•

                            {d}      ~t~r ciistributioiis directty to a cc~€ tractor; ter ven~Qr (~~itlaot~t advance
 ~~}iment'b}j t~i~ Bericficiary seeking distribL~tit~~~~, a copy a~th~ ~t~nfra~t far the ~erfc~rman~e cif the
 L~cirk ~ccompat~ied ~y -the relevant i~~{tike{s~ for payment ctu~. tc~ the speeifie~i cantractc~r or veiid~ir
 (~~r~~ich tl~e Tr~~ste~-shalt l~~ve na duty to review) ajici

                           ~e}-    Trustee shall have ~~o re~s~~ansibiti~yr to cc~n~rm receipt ~f ~~~y ~r aII
 rcc~~~irecl su~poitin~ dflc~~inenfation for each distrib~ition or the cc~n~~leteness cif any su~;l~
 su~pc~r•ting dact~s~ertt~tivn provided ~vitt~ eac;~i distril~tition request other thin to ct~nfr~n a
 distr ~~itiof~:request leas been ~~eceived ~'r~ri~ aii at1C~iQriLec~ I3ea7~~ci~ry.

                   3.2.2. Distributio~3 Pa vii~~nt. ~~fithi~7 tt~r~~ (3} ~~~siness days. after receipt of a.
e~istriE~~ation xcc~t~est subn~i~teci iri accarrlai-~ce with 5ectzoi~ 3.2.1; tllc Triistec shad issue suc~i
distribution i~~ accarclat~ce 3vitt~ the Statei~~ent.
          3:3    Tc:r_ms'_nat~tl~ Distrib~~tiflns. Upon tl~~ conditic~r~s, aa~c3 to ttie eYle~~t, }provided i~~ T}7is
 Stet c~~t 33, i~c re~Y~ainin~ ~I~`t-~ist Assets shall 6c dis[ribtitcd in acccsrdarice ~~aitii this Scotian 3:3;
 a~~d tt~e Trusts ell ter~i~inate.

                    3.3.1   RESERVED.

                    3..3:2 t7pci~i Ex~iratio;i cif '~ert~~. t~.o~lsistc~~t ~v tl~ tl3e Cerii~s trf tl~e Se~tl~~rient
A~reei~ie►~t; the Tnist shall ter~~inate oi~ ivC~i~cli 3l a ~ 122, Tli~: TrListee shall-not ~ti dciiy ~ralong°_the
durat~t~n of the'I"rsist a~~e~ shall, fc~tlo~vingthe date pravicIed isi t#i~ iu~mediatety preceding sen[ez~c~;,
ei~cieavor to res~stve; ~~'itic, ar otlier~=~i~~ dispose of all clai~ris a~aiz~st the Tr isl pursuant to +.~ritfcz~
ittstriict ci~is frp~n the Beneficiaries; ~~ic~ [he~1 (ui~tess c~then~is~ t~a`rc~ct~d tit. vt~ititi~ by a~ree~nent
bettiveen the SCate a~~d Grace) s~ia1! discrib~ite tie rc~7naini~ig Trust Assets to Grace and the ~tat~
eq~zalty, sut~ject to the prior pay~~lenfi of the Trustee=s fees, exper~s~s a~1d i~d~mi~itzes ~cc~~rei~
tllrougll t~~e date ~f termnatia~~.

                  3:3..3 Uuo~~ Certific~iio~i of a Gonciition of ~ariy Terzniz}atio~~. Consi~ten~ ~iiti~ the
terrtls of tine Settlen~~nt Agreen~~ntr the Trust st}all tc~-~z~it~atc ~f eitllc~- tlic State or Gr~cc certif es iii
kvritin~ tc~ the Trustee ~s~tl the ~tl~er Bect~ficiar~, t11~[ a Canc~itian t~~ Early 1'~r~t~iiiatir~~~ ti~~ t~ee~
met pitfs~~ant tc~ Section ~a(a~(iii) or Scotian 6(d)(i}and. such otter ~3eriefi~ ~ry does ~i~# i~titl~ir~ thirty
(30) mays after actual receipt of s~z~l~ certi~c~ti.cii~ c~bjee~ tc~ tl~e terr~3 nation of the. Trust .in i;~ritin~;
to tl~~ Tr~~~tee and tl~te ~~ne~iciary ma4~ing suer certi~icatic~ri. In accorda~ic~ ~vitla such'certificatic~n
iii th e absence t~f' t~t~jectic~n fra€n ttae ether ~3e~~eficiarY, the Tni~fe~ stlalt effect teri~~ii~ati7i
r3istriE~utions of tl~c reniairiiii;TrusrAssets to Grad, s~~bject ~c~ tt~c pr flr p~yn~ent ~fa~iy outstanding
Tniste~'s fees; cti~e~lscs ~zi~3 inc~en~riities accn.ied tlzra~►~tz tl~e d~tc oftcrnninatian.

                                                  ~S,RTICL~ IV
                                                 TRUSTEESHIP

          ~.I     ~~pornt~~~ent. Pl'~C ~a~~k, Ie~atiQi~al Associ~tic~n, nit i~~ its inciit~idt~al c~~pacity, b~~t
 in its repr~;sen#alive capacity as '~'ri~sEee, is Hereby a~~poa~iTcci tt s~r~~ as i#~~ °I`n►stec to adnii~;ist~r
 the Trust iii accorc ~z~ce ~vitlt tl3e terF~-~s cs#~ this A~re~inent; and the ~'rustec I~ereby accepts such
 appointment and a ryes t~ serve in 5~ich represca~tative c~pacit}r~ effective upcari tl~e date ref phis
 ~,~LC~.T17~t1I'.


           ~.~       ~.C~~CV~~


          4.3      General f~.~~t}ior t~~~zci C}l~l~~atica►~~. TI~e BeF~c;~ic pries i~~tend that tl~c Tnistee's
 poi=r~rs be exet•cisable solely in ~i n~anx~er that is ct~r~si5telit ivit~~, and i~r fiirtl~eraiicc cif,.tlie purpt~~es
 of ttic Tnist-set. forth in this A~ree~~~ci~t, cansiste~~i ~viti~ Settle»ienk A~r~en~erit, any not t~tti~rti~is~.
 The Trustee i~t~dert~kes tc~ ~erfor~ii such duties, end only sucki duties; ~s are spec'i~e~tl}j sot forth
 in tl~i~ Agree~i~eiit. No implied dti~ties, cc~s~eiY~i~its car ohiigation~ shalt be-read into this Agrecti~te~it.
 Tftc Tr~~ste~ s[~~tll lave itie a~.~t~iority to bind the Ti-~~st, and airy ~uccessar 'i ru~tee, or suc~e~scar ar
 assign caftlic Tnist, bilk shall fc~r ali ~utposcs ljereunc~er be acting iii its zc:pz•e~etitativc ca~acity~_as
 Trustee; a~~d riot individ~.ially. The Triisiee sli~ll l~a~=e nti at~lig~tit~ns to ~erfo~~a aF~y aerie=hies for
 lvhich tl~e1nisi lacks s~~ff cieiit funds. Tl~e Tr~~st and tt~e Trustee sl~ail Heil end are i~nt aut.h~irized
 ~o enba~;e in at~y iracie ter business «itli aspect to tt~e Tn~st assets ~.r ~r}y proceeds therefror~~.
          4:4      P~~~rcrs. The Trustee ~i~all tjave il~~: folly«~izt~ ~~v~~~crs isi ad~i3ir~isterii~g tl~e Ti-~tst:

                 .4.4.1 Petansylvania La~~~. Except ~s t~t€~ersv se pcc~vzci~cI i~z t}iis Criisc agreeri~e~i; tote
Tn~ste~ s~jatl ti~ve ail poe~ers granted to tr~istee~ ii~der 2f} Pa., C.S<§ 77 0;5 and 2~ Pa. C:S. ~ ~780:b..

                  x.4.2 Aciclitic~nal Po~ver~. ~Vitl~c~ut liinitis~~; tt» Tritsiee's pQ~vers tinder ~.4 l ia3 any
manlier; the Tnzstc~ is fiirtlier a~itti~rized t~3 ~crfrir~~i {►try anti ~Ii arts a ec~~sa€'y t~ a~~ti~tiplisl~ t1Ye
pu~-pases c~C the Tntst and f~cilttate tl~e Parties' conlplian~e ~viti~ the Settten~ezit A~reen~ent;
iiYclucIing tl~e c:~ecutit~r~ ~incltidiiY~ ate bci~aif ~F tl~c Trust) of agreements, n~tr~i~ncnts a~i~t ot.l~er
dc~c~amei3ts necessary to ia~z~lem~~it this Agreement, the Settlemeatf A.~r.~em~r~t, pr a~~y c~rc~~x of tl~e
Cat~rt c~r`as r~3ay be necessary ar~d proper to carry- cant ti3e provisions of dais A~rcement, and= to tli~
ext~iit directed y ~ii~ Benefi.eiaries i~~ ~~vritin~;, the Settlez~tez~C Agr~emez~t; ~1~ditic~nally; the Tre~ske~
mayr arr~on~, vtl~er tliin~;s, i~-~vest the TrL~st As~cts as provided in this ~,.grcenierit atitl ~l~ clt~eun~etits
iii Co~~ri'o~~ bel3aif cif itself aiid the Tnist:

                    4.x.3 Lin~it~t►c~ns nn tl~e Trustee's t~ut~iorit :The T'rc~st-and tl~e Trustee shall ~1ut
aiid are not a~itl~orizcd to eFa~a~;c in ally trade or t~usiz~css ~ri~lx resp~ct°ta tla~ Tnisfi;~.sscts gar a~iy
prt~ceeds tiZeref;r~rrt. ''~Ii#}iocit li~nitin~ ttie 'Trustee's right to pa~.rincr~t of is fees, ~xp~nse~ :and
i€~~ien~n ties hereu~~cter, the Trustee sha3i not make distrit~utions far ~Suiposes ot~ier than a~ ~x r~.ssly
set forth iri Article i.II c~ :thss Agreement: N~i~~itf~standing s~nythin~ fits ~t~~ contrary- in this.
~green~er~t, t~i~ ietttement ~.greerc~ent, 2~ Pa< ~:5.~ 7?$0:5; 20 Pa. C.S~ 778.6 or az~y +oit~er lava;
foie Trustee shall not,t~a~ve the power tc~ resc~Ive ai~;~ ziispute t~efc~een oz among ttze l~enetici~r es, the
~'arti~s andlor any other Persaii ~•e~ardiiig tlYe ii~terpret~tinn, ap~slicatio~x or cnfcirccinciit s~f this
Agreci~ient car tl~e ~~ttietrient ~green~ent a~zdlnr the adrriinistratcin nf'tle Ti-€,tst, :including t}irot~gh
iii~di~it cii~; a~~bitr~tiot~ Qr c~tl~er atteriYati~re dispute r~sc~Itit ~n ~areicedur~s:

            ~.5     Coi~~pensatio~x. ~`I~e Tn~stee s1iall be erititlet~ toreceiVe c~s~np~iisatci~ f'r4~i~ Grace
 #`car its ~crvices under: [ills r~.~ree~7ient iii accordance ~~itl~. the icl ~duie.:of Accou~it ~'ecs, ~ ctip~r of
~,~hicl~ file Tnistee deliz=creel to t11e Beneficiaries with this Agr~ctix~~~c, tldclitionalty, brgkerage fees
~~~d cc~ni~3~issions n~~y lay cl~~~•ged tc~ t[ze Trust Account in c~zmectio~~ 4vit}i certain;seci3rities trades
exect~t~d ley t ie Trustee and suba~lvisars ifi acccirc~~~nce ~~titta Cris Agreeineaxt. In cax~sit~ez~arion for
reecivin~ ~c~~~~~i~issit~zis frc~ia-~ tl~a 'Trust Accaufi~, brc~~ erage firms may provide Txustce ~vitl~
research; pra~ucts anti-other serslices ~Wiiici~ mad.' ~~ t35~t~ ~Q SSSISt TTtiSr(.~ III ~TL3V3£~ii3~ lI'i'N~Stf3lEdlt
advice. file Benefi.eiaries and other clzents. Grace azi~horize~ ttie T`ru~te~ tc~ debit t}~e ~'rus~ A:ces~t~~~t
(car such other ~'~C Batik. account o~vt~ed h}r Gr~ec a~ brace zna~ request) for file Tn~st~e's
c~tl~pci~sation in accorc~a~~c~ :with the Sche~iuie t~f Account Fees then in effect anc3 all of the oilier
casts,~ild expenses d~sc~•ibecl abt~ve~ 1~Vitl~ic~ ~'c~rty-fi~~ (~5~ ti<~y~ ~~'ter recent by C~r~ce t~f a
State~i~nt froii~ the Tn2stee scttiiig forth ~a) t13e a~i7ount.af any compensation, fees tar expenses ctue
to fife Trustee; car (b} ariy a~nnta;3t debited fr4n~ the finist ~ccoatnt dt~riii~ tti~ Stateiiie~~.t period;
Grace shall traiis~Fer funds iii ~I~c ai~~io~~nt of~ such de~iit; co~npet~s~ tic~ns fees +or ex~et~s~s to file Trust
tc~ be added to a~~d inetucied as part of the Trust Assets iii order tQ reimb~irse the Trust in fiitl far
a~~y ariiounts: ~et~iEecl fraz~~ floe Trust account by t11~ Trustee ~t~rs~iant to this: section 4.5 Seetioii
4.6, ec~ion 4;'T ar Article VI. ~'~lithin anc (~}day of the ex~iratit~n of such forty-five {4S} day
peric~d,'Grace sl~atl notify tine State if Grace does riflt transfer such add tionat:funds.io the Trust ifs
a~cardance t~vitli t1~e in~medi~fie(y preceding se►~tence.

         ~€.6     Liiiiii~tticiit an Liability ~fTrustce.
         TI~e fplfc~tiving pr~vssiox~s shall govern flYc. Trtist~;c's ri~kits, pc~~vcrs; ot~ligafiozas ~ncl duties
~incier this Agrceme~iti, notzviti3sta~~~iin~ niiythin~ Iie~~ein to the ~antrary::

                            (a}        ~1.i~sent ~ct~ial fraud, bad fait~~; ~~vil(fii~ ~mi~cc~i~duct, dross ~ie~ligence
or a>t~~a#ez~ial breach of its c~k~lagati€~z~s ii~iclez t~iz~ A~re~me~~t as ~stab~i~l~ed try a fi~~al jc~ri~einetit t~f
tiie Caurt r~o ~nnger~ subject to ~~~peal; ~i~ the Tr~~stee shalt i~cu~-~~~ liability ft~r.~~~y acti~ai t~k,~~~ or
o~nittet! to be take~~ ire acc~rdarice ~vitli af~y it~structic n; direefiion or request of a I3ene~ciary #lint
is nr~f;incot~sistei~t ~xritli ~~~e ter«~s a~tt~i~ Agreen~ci~t, is~~tutii~~~ ~~it~ :regard tQ dist~~ibiiti~~~s under
Article III;:aiid (ii} tlic ~xt~stee s1~a11 i~at be liable fir any lass .t~ the Tnrst:~ir ~1iy claim ofinet~cz~lity,
p~rti~Iity ar unre~sonabie~~ess resulting from any ackion taken iii a~cordailcc s~ith sttcl3 d rect~ci~i_
Tl1e 'i'nisfee sliest t~aic no duty ~r alili~atio~~ to r~v~ew yr confr~~z ~vliether,~c~y action tatccii by it
pursua~~t to any such instn~~tions, direetzians ar rec~u~sts coni~lie~ ~~ritli the teni~s of t2iis agreement
(unicss sucta instnic ian; direction ~r re~t~est oii its face is n€~t c~t~zsist~i~t ~aitli tli~; trans cif :this
AgreeYilei~t); the Sc:ttlerr~cnl Agreement or any otlicr agreement, artier or ia~strt~it~et7t: Tt~e Trustee
shall gave no d i.ty to }~ro~lide advice tt~,;or cc~tiit~tz~i~}irate wit13 t~z` tvaz'n c~~- a~3prisc, any Beneficiary
c~inc~ri~iz~~ i~istai~e~:s its ~.vi~ict~ the Tru~tec ~vc~~.tld ~r ini~;I r have exereisecl tl~e Trustee's ti~vi~
di~~ret`ion in a tnan~3er c~z~'Cerent fro~~i t ie manner direcfccl b}r a Beneficiary;

                               (b~     Nc~ prav s an of t~iis Agreement,_ t~3~ Settl~za~e ~t Agreemient, ar a~iy
 Co~.~rt Qrdcr shall rec~~iirc tl~e T'r~~stee to expel}d car a~isk its o~s~n persnt~al fi~zit~s car c~thcrLvisc inc~.~r
 any ~~~rsonal'fi~ia~~eial liability ire ti~~ ~~crfc~rmance of any of its ducics ar t~ie'exei`cise o~ ~~z~ of its:
,~utliori~ies ~~ `~'nzstee here~fnder. No~~it~~stac~d i~~ the frarego ~i~, t~ie;`Trustee shaJi satisfy ~r~~~~ ids
 oe~ri~ fian~is-any li~►i~ility i€i~~ased by a cgLtrt ~f can~peteiiC jurssdictic~n on accciunt of Tnastec'.s actual
 fraud, b~cl f~itli, ~villfiii n~isea~jdu~t, brc3ss X7e~li~~nce or tttatc3•ial brcacl~: ref its ol~li,~~fiiizls under
 this A~~'~;ea~ie~it.

                               (c)       The Tr~istee sl3ali t3ot b~ clee~zzcd'to Dave ki~ci"~lecl~e of a~~y event oz~
 ir~ftir aticin ~Z~:iti i~}r car iri3putcci to ~c~y Persozz:~iilcl~~cliii~, ~kn affiliate, ~r ~tlier Iitie of t usxn~~s.or:
 divisi~ai cif tl~c Trusicc) oti~er t[iai~ its~;if iri its capacity as Truckee. TIYe Trustee s11all nat be ~leeineti
 to Piave notice or kno vterlgc ref' an}~j event.ar inftir zatior~, or be rez~t~ reel to act upon any e~.=ez~t nr
 i~~`c~z~riiation (iiicl~idiilg the sending of ar~~ notice, untess a Respo ~sibI~ C?facer cif the Tnfstee
 receives ~vritteil notice thereof acid su~li notice i-cfercnces the fact ter event. "Res~~~i~~sit~lc ~fficcr"
 rr►ea~~s any officer of the Tnistec with direct res~?~nsib iity for the adininistraticsii of this ~~reemeitt.
 "I`~Ze availability car detive~~Y {s~~cludi►~g ~~ursua~~t tee flits A~rceinent) cif rcparts or other ~i~ct~rnent~
 (including i~c4~~s car o[her p~zt~ticly available r4ports fir riocuinen~s} tai floe Trustee si~aii riot c~tlst tuie
 act~~al or constructi~~e kf~o~c~lecl~;c sir notice of it~Enrniatit~n ct~nfained ill or dc~em~ifiablc from those
.reports car claci~~iteitts, except for sUclt reports ordc~c:tin~ents that this A~reenie~~t expressly requires.
 the T:tistec to review.

                           (d)      A~iy Person (i) into `wl~icli tlic Tr~istee stay be i~ierge~ or
ct~nsc~lidated; {ii) ~vhicl~ Flay result from any ~ne~~;er, cc~~~ve~~s on, oT canst~l da#.iQn to 1vljicl~ t1}e
Tc~.istee shad be a party or (iii ~irllich niay sueceeti to X111 or s~ibstantiaily atl c~ft~ae corporate tz-ust
b~.~sine;ss cif the Trustee she~il tic tine successor ~f the Trustee Iiet~euzider, lviflic~ut Ilse exec~~t air trr
~ilii3g cif aixy'instn~rrient r~r any further act ci~~ the dart of -any of the parries. I~~r purpcises of t3~is
A;gree~~~ent, "Persarx'' IIIec~IIS &i2 Illt~l~'Ii~~.i1I, cor~i~r~tinn, ~onZpaz~y, part[~ez-~l~ip, assnci~tion, ~joii~t
stock e~~pany, ~tan~tory yr conin~on la~~° iru~t; urtincorptiraiecl car~anizatron, joins venture,
~t~ventn~e~~ta! autt~oriEy, lin~itc;d liability company, liti itcd liabitity partnership c~i- ofller etlfity:


                                                          - IZ
                           {e)      T~~e T~~iistec ~31ay act ttirectl}~ sir ilxro«~li iEs age~~t~., aitr~~~~ey~,
custadi~~~s, se~-vicers, r~ianager4, sion~iiiees i~r oilier sltillcd professionals; a~~cl tl~e Trust~c shall not
be heIct res~~cinsibte or liable for, tai liavc an} duty icy s~.~~ervise,. any. actioii,,inactioi~, ~i~isconciuc#;
car negligence. ~t ~~i~y s~~cll. Perso~Is select~ci by tl c Trustee tiv tt~ rate care. Aga}7 e~pe~7ses ineiirred
b}r the Trusfec iii acting tlit•o~i~;li agents, ~t~f~ri~eys, custodian, services, tz~~i~a~crs ~r otl3er skiltecl
prc~fcssip~~als slaali tie detiitcd from thc.'I'a-ust ,~:~cottnt zr accordance ~~itf~ Sectio~~ 4:~:

                        (#~      Tli~ `Trustee shall riot tie res~annsible or .I at~le for special, indirect,
~~u~itive, ~r conscc~~~entiKit loss csr ~~ma~e ~f a~~y kind whafsc~~~=cr {inelcrdin l~i~s of }~r4~t}
irres~ectrv~ afwlletlier tlie.Trustee Iaas been a~iv ~~~ ~f'tl~e TikcBihcaad of such Iris i~r cla~7~a~e acid
regardless i~f the form of actiara.

                         4g)     Tti~ '1'rrzste~ sli~lt be ezititt~c~: ~a rely coiic4iisvely, sriChaut
investigaticiit or other aetic~n oil its. ~arf; cats st~teitt~nis opinions, certificates, reports, clir~etions
St~Ili~~1iC4'Sz 111S~Itt1l11Z'I7l~51 11t~~IC~S¢ c°1C~VtC~y I"~'C~UCStS.= E~?~Iti{'S'SJ Ct3IlS~IltS~ TL'Ci'1~~5~ ~'{.'SO~ll~lt?I753 ~'SQI1C~5a
C1~CI3~~itIC7IiS 1I1t~ C3~~1~C t~OCLIiTl~fti5 ~7lli'f3~JT"~Cf~ fit} ~~ 1`CCCIY~t~ fTOT11,Hi2~ ~~i1~~i~13I'~, ~S: C(?11~Ett1]7~s~~~i~
by this Agrec~~~ent, i~ot c~~~ly as to dcte ex~ctrtion; val"tdity at~d effectiveness; hilt also% as ~c~ the tri~fi}~
slid :accuracy ~C ~~y irifori~lation containcc~ t#icrein, and such reIia~c~ small not: ci~nsti~iite
ne~li~~i~ce (oi- grass riegIi~e#Zee); bad ~aitl3 +hr's=ritlful rriisconduct i~~ eonn~etian ~vit}i tl~e Tr~i~tee's
1~an~Iin~ i~f fiinds ar athen~ise, anti the 'I'rraslee shad Writ h~ ii~File ter accc~iii~tiible ~o any Pcr~t~n by
reason of sctcli reliance. "I`lie T'~~ustee sllali z~ot be r~spc~nsible :for ti~~ content gar ~ccu~a~y of any
such: cic~c~~merits ~rc~~~i~ied tai tl~e Tr[t~tee, end shalt not be required tci recalculate, ccrtii"y; or ve~i[y
~rny ii~ft~nn~tit~i~ c~ntaine~l tt~ereit~.

                          {h}     TI~e Tnistce nay; at ihL ex}7e~iSe of the ~3etrefrc ~f• e~ (i) req~iest; rely
ozi and. act i~~ accordance sviEl} officer's certificates s~~ fhe Beneficiaries aticI opinions csf cUuzrscl,
end {ai) cnnsutt with, ac}d request ~dtJic~ frram, legal c~u~xsei selected by il~e 1=n}stee as to any
matters arising sn Li~nncctit~i~ with this.~greemetit, the intcr~ret~ztrpt~ and ~t~nlinistration of~tiy of
the ~r~vi~ioils of this A~reenicnt ar the Truat~e's i~igfifs an~3:citiligations ziritier this Ag~~ement.
The Trustee sE~ail tr~e~►r zoo liability and shall tic iiiity ~arc~t~4terl in acting or refr~init~~ frt~rz~ ~c;tir~g
z~i accardax~c~ ~xdith such t~f~cer's certif cares and apii~ions of cfl~inscl and the i~ritten nr Dial ad~fice
cif s~~~li Iegai counsel selected by tt3e Triasiee ~ri gn~d faith:

                           (i~    Tl~e Tn~stce. shall ir~c~~r ago liability if,:by reason of ar~y ~rovisic~r~ of
zny present or ~.~t;.trc la«~ ar re~ulatit~~~ thercuritier; ar by any force iYi~jcure event, including lint
~aot liniitet~ to and pct ofGoci, ~~aE~iral clisasler, cp dcr~x{c; p~ncietnic, t~tFarantine, stielter~in-lace or
sin~tstar directives, guidl~lce, policy ~rc~tt~er acticin by a~tY g~~ernrriental authtirzty, accidi:iits= lal~nr
disp~ites, disease, nt~tional etner,~ency, ~c~ss car a~~alfu~7ctic~n of z~tilitics .ter computer software or
llardix~a~-e; the ~at~~v3ila~iiity €i#' tl~e I`ecicral Reserve Bank ~,~ire ~r` telex ~r citlzer i~rir~ ar
ccini ~~nica~i~n f~~ciIity, acts t~f War, terrorism; insurre~tion;:tevoluticin cir Qtlxer z rcun~st~nces
~e}~c~nd its reasanaLIe contra[, it~e `1`nastee :sh~tl be prevezzted or fcirbicii~en froiri doing i~r
performing any set or tl~in~ ~~~I~ ic~~ tlae teri~is cif tl1i~ Agrcemet t provide si}ail.or sna~~ be done or
~erforil~ed; ar b}~ re~a~on u~ as7y exercise of, or failtir~ tci c~~rcis~; ~n~~ diseretic~n prc~vi~leii far in
this ~+:greemcnt.

                         (~}      `Tlae Trusted st3ait nat be req~aiced to take any actinn ]iereunder if it
~liall liav~ xeascinably cieterrx~ineci, or ~h~II hav~:beei~ advised. by its co~~nsel, that suc~~ acti<~n is



                                                                  -'13
iikeiy tc~ ~-esi~lt i~~ liability ail tt~e part cif tl~e Trustee or is con#r~ry tc~ tkie ~erztxs ~~er~:c~f or is ~lt~t iti
accorciai~tce ~~,zitlz ap~2icable laws.

                           (~~      An}~ ~a~iZ~~ssrvc tar discretionary aet or ~ri~~il~ge ~f; or right or. pt~kver
ctanf~~-red u~~e~n, tlae Trustee e~~(iz~~rated iz~ ti~is A ;rcement shalt ~~ot tie ~iee~z~ed to be car ntlxeruris~
~Qnstrucci as a duty ni~ o(~ligatic~n,%and tt ~_Tri3sfee shall rs~it b~ ~a~i~sc~ii~liy liak~l~ or accguritable for
tiie per~'c~r~Yiance taf any su~lY act, pri~filee, rz~ht ca;~ pu~ver ~;xcept a~ otl~er~visc ex~3ressly }~roijidet~
}~eren.

                            (I~      'I`tie Ta•~istce slSall ~aot be li~lci .res~iit~sible ~r tiabl~ fir or in res~e~t
oi; ~i~d Tnakes tYc~ re}~rese~tztion or ~va~~ra~~ty with r~spec~.to Vii) the. pre~az~~tit z3, tiling, ctirrectciess
or aecttr~cy of arty. financing stater~~et~t, .ec~x~tin a~ti~n statement or record iii ~f aiiy:d4cu~net~t
(irzciuti~n~ tPiis ~greenient) nr iz~strvn~cnt in any ~ubl:ic of~ee:at any` firne; or (ii) the ii~i~nitarnb>
cii:atic~i~, ~~iai~ltena~lce, enfcsrceat~ility=; existence, stariis, vaticiity priority ~r-~acz`f~ctiori i~f ai~~
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                          (m}- T#~~ Trustee sl~att not be lteltl i~espc~n~i'~le or liable far ar. iii respect_
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                          (n}      Tl c; T~~~~tee sh~tl nr~t ~c held ~~s~~~nsi}ate or liable fog; aiad shall liav~
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                             (~)      Ill ttie event vial {i) the 1'r~istee is u~~surc a~ to the application a~-
 €3tcrpret~ton Qf ~i~y ~ircvson of this Agree~xient, (ii) this Agrectnc~~t is silc~lt ot~ is incc~in~lete ~s
to tie course of ~ctic~n tl~~t the Tr~stc~ €s x~quired ar ~er~iitt~~i tc, t rice with r~;s~ect to a particular
set €~f' f'~crs, or viii} tt3c~rc tl~a~i Qi~e i~ictlic~dc~logy can Eie used- tt~ t~~al~~ as~y detert~~inatioii tci i~c
~erfc~rm~d bu the Trustee l~ereui~de~; then tli~ Tz`ust~e ~aay g~v~; i~jritten notice to tIle Be~ietici~ri~.s
z•equestin~ jc~ia~t 1~rrit~en i~~stn~ctiaz~ at~d; tci tl~c ex#ent that tli~ Trustee acts o~` refi~it~s frt~ita actin
iii -good f~lith i~~ acccjrdaracc ~aitli:~ny s~ct~ ti~ri~tei~ iiis~n~etion„ the<'~rra~~~e shall nc~r b~ ~e~-sazja~lq.
liable to airy Pet-st~n. If the Trustee shall i~c~t l~~tve received. such ~s~rrittcr~ instn~etioi~ ~~v thin ten {:10)
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                          (F)     I~7 t~rcicr tea ~jerify Grac~'~ identity and/or deterz3liiie tl;e auttaority of
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c~m~leteci ~'e~~ti~c~tion Regard n~ Beneficial £:~i=deers off' T.egal Entity C~~sto~ners attached as
appendix II to [t~is A~reetr~ent at tl~e time the Account is cr~~iied and ~t suc~i ether tithes ~s ttie
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it is au#t~tcrrized to disclose tl~c iilfori~3a.titril provided ir► tt~e Ge~~ti~catit~ii Regarding Beiieficiai
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Cei•ti~`ic~ftion Regari~ing Benef eiai t3~vners of Legal entity C~tstcirriers ~vitt~ an~J inda~~it~tial
autf~,~rizect ~o a~e~~ car u~clate the T`ntst ~ccoi~nt.

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t ow to distribute any an~oi~~~ts ~vhicl~ it leas r~cEiijcd, or (~} detern~in~s that tl~er~ is any dispute
~i3long t1~e Beneficiaries lt~reTt~ ab~a~at lea v such s~n~~unts shc~i~~d b~; d sir~liii~ed, tl~~ Ti-usT~e n ay
choose to defer distrikaution of il~~ a~ic~t~rtts t~tI~ ~l~ arc tl~c s~.► j~:~t cif such c~ncerta nt}t ar dis~itlte;
If ~lze Trustee its gt~ad fai#l~ believes that the uncertainty iar cii~puCe ti~til not b~ ~rc~~~~~tly rest~lvt;d,
the Beiiefciaries a~~ee that ~l~e T'i~ts~ee sIa~11 ~i~~e tie right, at its opticiti, to deposit ~vi~h, or
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                              ~s}     ~~ck~ 'c~~ tli~ Benefici~r e~ ltere~y agrees that (Y) the. Trcistee (~-1)
except as cithenuise expressly sit ~ortta herein, has not ~rc~vided zxor ~viil it provide ~~ etas f~cuze;
any aci~tic~; cou~~set ar opinion re~~rdi~ig this ~~rec~ie~it sir tlie'tra2~sactic~ns conte~n~Iated l~er~by,
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decisions.

                              fit)    Ail ~~riites~ c~irectic~zis giv~ri ~~ any ~en~fieiary to the. Trustee
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ide~xti~ed ail Ap~e~idix I I~erc#c~ ~ai~ `°Autlic~rized Pe;i-soi~"} a:uci rlciiverc~ trs tl~e Ti~istec, ~s such
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tie direetions~ to r~viel~r tl~e directions acid confirm to tk~e ~applicatil~ Bet~~tici~ry that t1~e direetiot~s
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tl~e pc~~vers'aiid duties cc~nferrcd zzpan. t~~e Trust ~nd/t~r Trustee by the Settiement'A~rc~f~lei~t sir
this Agrec~nent uiticss the court, b~ a fi~~a~ arcl~r -that is not_ rc~ler;~ed on a~pe~l, ~izds that tFie
Trustee cc~~~riiiifitcd act~~al frat~c~, tiad faith, v~iElful nYiscQnduefi; cir ~r~ss ne~lige~~ce gar ~nateriall;y
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~r a zitaterial t~reacti of flxi~ A~reci~x~;nf: Ex~epx as set forth iii tl~e tirecediii~ sentenceT the Traistee
sf~all have ait~ l~~l~ility fc~i at~y action take~3, or errors i€~ juc~n3ent ~na~e, zn ~;c~ad f~itl~ by it or any
of its officers, e~7~ptayecs ar agents. Nothing iti [his Agreenz~sat shall be construed to exeui~~tc tl~c
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Trustee {in its capacity ~s such .anc~ in -its inciit-ideal capacity=}, its affiliates ~nc~ their ~•es~~ective
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of i~~vcstigation} of any f ind dr nature ~v~~~tsn~ver ~~~-isiii~ ouS cif or in ca~iriect~on ~vitl~ this
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               ~~c~~     that. Gz~ace s~atl not:be required to indemnify an Ind~~~~tii~ed ~ersan for a~iy
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cif the 7`nis[eebill terminaee on tli~ date ~Iie `~"nest is terzr~ hated in accoxclance ~~ith this A,~rne~ae~zt
c~r,b}r aai order of the. C'c~urt, Further, tli~ Ti~ust~e: may resign at ~~~v dime ~v giving: at least tl~irf~
~30~ days pricsr Fvritten ns~tice cher~of to tlx~ Beneficiaries and'a~iy Co-Tru~tec; end. the res ~tzation
shall becoi~~ effective ~z~on the deli~r~ry cif the .Trust Assets tc~ the successor 'T'r~~stcc appt~itite
uxlder 4.10. Scctic~ns 4.S t~irt~~~~li ~.'1 a6c~ve shall suruive the termination ar assig~lment' cif tl3 s
A~reerrien# acid t~~e. resi~i~ation or reil~cival cif the Trustee,

         ~:~     Re~tlacezrient. The Trtistec ~~i~y be removed, i~jitYt r~r ~~ritl~aut cause, a~~d replaced
 zpan thirty X30) days written notice ley a :;oint ~.srritte~~ determin~tiori ai' the Beneficiaries; The
rei~~c~val shall become effective- ~zpon the delivery c~f`tl~e Tn~s~ Assets tc~; tlic siicc~,ss~r Trustee
a~pciantcd Liicier ~#.1 il.

          x;1:0 ~~x~c~intn~ez~t of ~izcc~ssar T'n~stee. .If, at any tine a sttcce~sc~r "rustee is regti#ireci
 for ~n}f ~~~~stiii, sitc~i s~~ccessQr sliatl be ~aiaitly ap~ainter iii ~vritilig by tl~e Be~ieticiaries. Any
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13creundcr aui~'sliali ~t~ siacii acceptance i~ritl~ the T'arties. Tiiereugan, suety sttc:cessorTr~iste~ sli~lI,
 ivitl~out any ~`urtlier ack, becat~ie vested ~vitl~ all the ~rz~pertaes, rights, pox~~ers; trusts, end duties off'
 its. predc~esscar ire the 7'rusf with Tike effect- as if` originally named 1}erein; ai d a rei~~oved or
 resigtiii~g Trustee sh all, ~~F~en r~ciii~steci in e~ritin~; try t ie st€ccessor Trustee, c~ecute ar~d deliver
~z~ rns run~ent or inst~-timents ~i~nveyiii~ aid tr~nsfezri~~g tti such sizcces~or Tr~~stee ~indcr the Tr~lst
alt tl~c Tn~st Assets in tl~e c~~stody of such pr~deees~ar Tnastee. ~ s~sccessar Trustee ap~ointcd
iialdcr this 4:1~ shall be a Tiational f~~nkii3~ a~sQc"s~tic~ri; or dank ar: tr~~st com~>any c3~artered tinder
the la~~s of Perinsyl~,~ani~, tiavin~ a. capital and sur~tu~ taf ~t teasf ~200,{104,~OD. If no successor
'I'n.istce is timely a~pa'stlt~~i, aid Sfi~ll hive timel}~ accepted ssicli ap~s~intnxent; then the Trustee
n ay, at the sole r:xpcnse ofG~~ace {snei~~ciin~ wit1~ respect to attarn~y's.fees acid e~pcnses}, petition
the Curt fci~- the ~p~4 ~~tr~~ent t~f a successor Tr~astce,




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       4.l i  Nc~ I3o~ld: l~;ot~v tl~standi~lg ~~~y state.iaLv t~ tiie contrary, the T~-~~stee, iTlctudi~~~ a~xy
successor Trustee, shall be exeti~~at frvm'g viia~ any bc~i~ci ~r other security iii ~~i~y jurisciictioi~.

                                          ~RTICL~ 'tT`
                                TRUST R~CC}ItDS~ 'I'A~: ~t~;~'C)~7['~~IG

          S, I     ~ccc~untin€~: The Tr-~isiee ~~ill prc~iricie q~rarterly st~tc~~zet~ts ta'tlie Beneficiaries that
inclii~l~ a listi~~g iaf` atI fransacficins, r~ccipts, `arid disbursezlicrits tic~riia~ the ~recetiit~g t~caarter,
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                                        DID Spiltsvay ItePla~en~e~~t Trust


         This ~nuiro~3ai3eiit~l ~ctiaediatici37 T'ri~st Agreement (tl~e `•r1~r~ei9ient") is ~~nade as ref' t~zis
    _       day of                                      2t?2~, b}j a~~d ~tnon~ ~'~.R. ~'ira~e ~ Gc~. and
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 Setticm~nt Ag~~eeinent (`tl~e "~t~te") ~s beneficiary, {each, i~~dividi{ally, a "Party," ai~ci coliectivel~,
 tl~e "Parties"), and PNC Brink, Natianat AssociaCin~~ ~3~ t in its indiviclu~I ca~~acity, but ~~lely as
 Trustee ttli~ ``Tnistce'=}.

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           ~rHEIZ,EtLS, Grace az~d tiic St~fe 1~ave e~te~-eci inky a Settl~~~-~eiit A~rec3ne~3t that protridc
 fc~r t}7c formation cif this tn~st, to be ad~liinistercd in t ie n~anrier described herein:

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 and a~rccm~nts crintained he~•eiti,. and pursuci~~t tc~ the Settl~me~it A~reern~i~t; tl2e Parties ~ncl -the
 Trustee hereby agree as ft~llt~i~vs

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tine vatiie end sca~ae of tlic ~naziciat assuxanc~ protritled i~~ this Settlement Agreement fc~r KDID
O~cM a~~dlor K.D.ID Spiil~~ay Word;
                                 {b)          ~cctio;i 6(d)(i}: T}~e KDlI3 is rec~~aircd tc~ be r~i~~oved, s«bst~i~ti~li}F
 or c~implet~ly; or

                            (c~    Section ~(e): Cir~cc (or any ~~~erged s~3ceessor entity that ~ss~itnes
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Gc~xt~rt~on~vealtJ7 of Pe~tnsylvania, or, i~ that court abstains fi~o~j~ exercising juriSciietion or is
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by W.R_, Gr~c~ ~c Cb. ar~d the State ~iereafter, in ~cc~rclanc~ r~~ritl~ ti c Kerins ref the Settlement
A~reenlent.

                  1.1.18 `State" shall have'the ta7~a~~i►lg given iii tt~e ~rea~~~ile_

                  I,I.19 "Statement" shall lave the nle~nzi~g given in 5ectir~~~ 3:2.1{a).

                1.1.2U "Tn;~t" means the I~DII3 ~}~iit~~.=a~~ Itc~:~lacen~~nt Trust established pursuant
tci this Agre~n~erst.

                    1.1.21 "Trust Assets" t7i~as~s the ~uii~is transferred to; ar earned by; the Trust
~~ rsiiaiit tea dais Agre~r~~ec~i:

                1.1.22 "<I,n.~stee" means the trustee ~f the 'I'nasi, A~ any tine that mcr8€iplc tn~st~cs
are acting, the tesrl~."Tr~st~e"shall apply to ~acl~t ~f the ct~-iruste~s.

         X .2    C3t1~er: "Tc~ tt~~ extent- a ter~1~ in this Agree~x~ent is ~;ot c~e~~~ecl above, to tine e~te~zt
 practicable, s{ich tcrrzz sI~alt Dave tlic zz~~ar~i~i~ provici~d, if an~r, iF t1ie:Setti.eii~ent ~i~;reerriei~t:

                                               f`~RTIjCLE ti
                      +~ItLr~:TIC~N Ai~tDr i~IA~I~.G~MEi~tT Cl~ T~tU~T ASSETS

          2.1      t3bjectives and Piimi~ses.

                    2.1.1. Generzi. Tli , exclz~sive objectives aaYd purpose; ~f tlxe Tri~sk ire to c~tlec[
`arid- disburse funds ~~r I~.DTD ~piltway ti~4~~xk Costs, as required tti~ciec~ the Scttle~z~ent A~r~ei~~~:nfi,
~~sfitll ~~4 objective or ~uthari y to en~r~g~ ir► any E~atEe or E~usiness. Subj~.cfi to S~ctivn 3,3.r oftliis
Agreeitient, all. payznen~s and disbursenient~ frs~n~ the 'T"2-ust by the Tntstee shall be ia~a~ie a►ici
appticd solely ft r tig~s~ ~~ua~t~~es; it tieing utiderstooci and agreed tlsat any payn~cnts tQ the T~-t~st~;e
pursuant to this A~r~ement arc in fiirtheran~e cif such ~urpc~ses; anti at na ti~~c shall the T'riist for
tl~e I'ruste~ oaf i~~l~~lf oftl~e Trsast~ conduct i~~uestn-~er~t ~r bt~si~zess activities that cdrzxprc~rriise these
pu3pc~s~s.

                  2. i:2 'Tax S[af►ts: Initially, Gi~~cc i~~tends, but is nt~t ree~uired tc~ ensure, t#jai €fie
`~`r~ist eons#itute~ an "envirc~nn~ei~tat rtmediatic~n tntst,'} as ~arovided 1~y `~'rea ury lZegula~cins
~3{?1.77t}1-4~e~; ai d tl~e Trust sl~ali at all times ~e administered, and all ~r~visions aftliis a~reecnent
shall be c~ istrc~ed, in a i~i~cuier that is consistent ~vittz such intent. ~t ar~y time; }lo~~~ver, ,Grad
ittay tnEce such steps as are required to elect to treat talc Trost as a "c~~iaJi~e~1 settier»en fund," as


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 provi~e~i by Treasury Ke~;~ilatic?ns ~ 3.4fi$}3-1; and, falic~~~in; s~►cli el~ctian, tl~e '1'riis[ sl~atl at ali
 ti~~lcs ~e ~dini~iistered, a3id ali ~ri~visic~~3s of tt3is agree~iient shat3 lie c~instn~cd; in a rnru~ner tl~ai i~
 cans stem ~vitl~ sizcli sn~en.t. Grace i~~teaxds that it tac cc~nsi~ereci: to be the Trust's:"ad~~~i~l s.trator '
 v,~ittiin the nieafting c~:f'C'reasury R~~i~iaticins. ~Te Mier the State rear tl~e Tnistiee shall Have ~iay duty
 or t~hligatian ~~ con~~ectian tti=ith tl~c ta.c treatm~~it c~fi tl~te''rust, t~tl~er tllan.tc~ caoperatc its good faitl2
 tivith ~'irace i~z caruiectia~ tliereti~lztl~. Grace sliali be stit~iy r-espc~risil3lc~ for er~svrizi~ cor~~liaiice ~~iti~
 the. Regtzlati~i~s required of an en~arcaz~m~rzfal renlediatiQn trust or c~i~ali~cd $ettle~nertt func3,;as ttie
 case ii~ay ire. N~itl~er t ie Stutz liar the Trustee shall tie responsible fc~r pre~sarin~ or filir~~ any reports
 ar returns rel~tin~ to federal, stag; c~~- loci;[ income taxes wvith respect tc~ this Agree~~~~lit other than
 file Trastee'prepariil~ or ~li~i~ returns ~r rep~rls for the Tnist~e'S ct~mpensation; ~ iovideci, that the'
`1'rust~~ 1~ercby'is autlir~z-izcd fo exe~iite acid deliver any tax reiurns ire such for~~is pres~tateci fiti it and
 sh~li_Izav~ nia liability tz~itlzx.~spcct to the pre~arati~~~ or c~s~te~3t. of suet t~~x returns. ~~jith respect to
 any ati c u~rts payable under this Agreerz~~:nt, tlae I'arties'sl~~tl deliver tt the Trustee such tax `forms
 car ether tiacuments rea~~ztal~ly rec~~~estecl by the Trustee ;as sl~~ll b~ prescribed try tl~c ~zternal
 ~Zc~fentte ~od~ cir a~hc:r ~p~~lisable law at s~.~cl~ time or iii~~es: reasQna~riy required ~i}r t~:e T~stec,
 i icliidi i~ sc~cl tax f€~rms ar ~tller docu«~ents; as applicatitc, tc~ allo~~.j ~I~e. 'I'rustct to dctermi~ie tl~
 ~tr~c~unt tc~ deduct or ~vithliold {anci to alt~iv,~ the Trustee ~o sty ded~ict or ~uit~~li~ici) ~u►~s~razrt tc~ the
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 ~~itltaut limiting an}! t~tlier ~rouision of this Agrecn~~z~t; thc~ State ~a press~S nt~ opiniati and rY~akes
 too a~reernents rcgartlii~~ ttie'tax sta~~ts €~f ille `Cnist,`~Sut lea~~es suc~i natters and the rc~uliiz~g #~x
 consequeztces tti Grace's clis~reticin.

           2~       Creation t~~and',C'ranst~r of Assets to tl~e Trust.

                    2;2.1 Esta~ilisl7i~ie~~t cif Trust: The Parties Hereby rre~~ncably esta~lislz tl~e T~~ust;
tvliic~~ st~tall bear the ~aame "KT3II} Spilt«ay Replac~n~~nt''rust." tWittii~z ftvs (5} biisin~ss days €if
the date I~ereQF; ilie 7`rustee s1~a11 esta~lisi~ ~ trust ace~uiit {tic ``Ti-~~st Aceaimt"}. `I'he ~~.~r~~r~sc cif.
t3~e `I`c~ist Accoit~zCslia I be ~e receive and adn~itiis~cr tt7e Trost assets at~ci to f~ciiitat~ the nxaking
of payments lierecinttcr,, alt. iii accorda~3cc auitli This Agr~ertte~it. ~ xace sha11 c~infribtrte tt~e Trust
Assets`to TI~~ i'nast iii the ~13anner,a~id fit the ti~~~es-.set f4rtl~ in the Settlement A~reeinent. ~"l~e State
shaf t Ila~~e nr~ ablzgaticin tri e~ntrit~~~te assct~; ter pro~erry fo the Trust at airy time. Ttie firustec hercEiy'
accepts at~d agrees to hc~i~i the Trrise Assets iii tl}e Tc~ust Accoiint`~or the t~e~ie~t caftt e Ben~~4iaries
~`or tl~e purp:o~es dcscribe€1 in`Se~t o~ 2. i s s~~t~je~t to tl~e ter~Y~s off' ti~is A~reenre~~t. T[~e Trustee shall
have zoo respfln$it~ility, ;a~~ti assurt~es Yea liabitity, to ~ ursu~ calLecticsn of Trust tlssets to ~e
cc~z~tril~uCer~ under Elie Setttemet~t A~i~ee~nc~xt fr~in any source: I~astc~c~, Ali obii~ations ~~itki respect
to the Settic~nent A reemeaif's re~t~ire~nents for funding t~f ttie Trust ire to be scilety excr~ised 6y
Grace.

                  2:2:2 O~tiji~ership Tnast ~~sets. All teg=i~ rights and iri~idcnts crf o~~inersliip of tlic
Tr~~si t'~ssets ~17~1t be Held solely fay fhe "I"r~istee. I~II~~~vever, except a id c;i~tiI. ot~ien~ise prt~~T ded in
this Agreement, Grace slial~ tic treated as clie ~ti~ner o3~ ttte Trust Assets fiat federal incoiii~. tax_
~urpQses.pursuant to Treasury Re~ul<~t~ons 5 301:7701-~(c}{2).

                  2.2.3 t~ddtional C~intributians. 'I'I~e Tnzstee is aull~c~rized tcs accept cciritribut~ns
f~ t}ie 'Trust from, ~~7d only fran3, t}~e Par~zes. The Trustee is riot required to accept any cazitrib~.ition
that the Tn~stce believes is not ap~r~priate fc~r administrati~T} as ~~art cif ti~~: Trust Ass~.ts.



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          2.3      In~testtl~e~~t aiad ~afckcpiil~; Qf'~2-€ist Assets.

               2.3.1 ~e~re~,ation a~ Tn.~st Assets. Tlic Trust Assets: sii~ll be lxeld i~~ trust and
se,~regat~d from all; a~i~ ~I~~lt i~ot be cc~niiz~gled ~~~itl~ aziy, otJ~er assets a~ Gracc, -the State ur ttzi
Trustee:

                    2.3.2 Inv~;sttnent Rec}uiretnents. The Trustee shall ha~~~ tl~e autti+~i• ty to itivesf tlje
 Trust assets. its slzci~ a ;Ztan~3er as tt~c~ Tn.~stec deems appro~r ate in the Trustee's discr~tioz3 a~~c~ if7
 acctar~3anc~ ~~itti the. g~~idclines ~pplicable to tl~e Tnise Account sit Earth ita this Section 2:~. (the
 "It~v~srriicnt Policy„}, pis may be amcFlcicc~ zn tyr ti~~~ fr~in ti~~e tc~ tin~c dry Grace, the State af~d tt~c
 T~uste~. `I`tie Trustee sli~3t cc~alsult ii~itially'ancf frnii3 time to tirr~~ ~~ritli Grace and the State reg~rdiilg
..the zi~tcire and allocation of investments cif tli~ Tnist Assets. .~~i. investinenti transactions eff~cteci
 for the T'zust A:cct~t»it shalt he cieeirie~i iii. cofnpliance with the Ia~vcstriie~~t .Policy iiiiless.Gracc ar
 t ie State noiifies Trustee in writing of its i~~jeciiti~~ tivzttti~l sixty {60) days saf its ~~ceipt ~f ti e zriost
 re~:ent Account Sraten~erit pezr~u~nt to ~cctian S:l ~f this. A~;reem~nt. The cc~n~pli~nce of an
 inv~stn~ent t~ith the Investn~ient Pc~iicy shill be deicrtnined on ;3ie date of purc}iase, used pn t13e
 ~rs~rket v~~sli~e aid asset elas~ car type as of ttYat date cnn3~~ared tci the value of tli~ 1rusC Account ~s
 of't e most recent ~~aluatiQn date.

                  2:x.3    Ir►vestrs~eiit I'rc~v.isinns.

                              {a}      Cash Sivee~'Vel~Tcle. Grace autlic~ri7es Mlle ~'ruste~ to autoinaticail}r
s~~e~p ~nznvest~d ca~1~ 6.al~nccs in :the Trust Accot►nt into {i} any money tz~arl~et ~u#~aal fund that
 (A} coai~~lie~ ~~itta the criteria set f~rtt~ iii (I) Secuz~ities ai~c1 ~xcl~ar~ge Ci~~xzin.issiou Rule Za-7 under
 tl~~ Investment ~o ri~a~i}J Act of 1940, as am~iiciect; i~r (II) Securities ari~i Exehan~e Cozninissian
 Rule 3c-7 under tt~e Investment Caii~patiy Act t~f 2940, ~s amended;-:and (Ii) I~~s ~iort~'~lii~ ~~set
 of at least ~S,OQ4,OOO;t#O~ or {ii) any ~a~ak de}~c~sit ~ecozll~t cif'f~reti: by a camiiaerc al l~~in~ i=which
 has a eaT~~~ined capital ~tnd sz~rpt~.~s ~tid ~~ndivid~d ~~rtsfits of not Ic~~ t1~an ~50~?,OO~J,tIUt}, iaz ~a~h.
~IYc~s~n t~~+ ~"t~ustee {referred tit as "~~vec,~'vcl~ieles"); ~utiicl~ niay ia~cludc ss;rcep ~~~hicles advised
~y t~ze Tr~ste~ aii~Ilc~r its affiliates ar deposit aecc~unts at tl~e `~`rustee or an af~liat~d:t~~zik: Grace
und~rst~nds that Trustee tivill derive finari.cial benefits fron-~ affiliated s~~eep vehict~s (iri~l~.iding
PATS I~3axik, 1~Ia~iona~ t~ssociation,tiepasit s~vee~ accot~ats), w}3ich benefits arc in addition la tIY~
fees set forth in the Sclieciiil~ ~f t~cc~i~nt ~~es ~~:~cribed in Sect oix ~.5 of t~iis Agreement:
                                                          _.
                              (b~      T~jvestn~erits ~n ether Sec~.irities. Grace aut~~c~rize~ the Trustee to
ingest iiz.;{i) tiire~t obligations ~rf; ni~ obliga[iaiis tl~~ pri Zcigal of and ii3terest cin ti~~liiel~ are directly
and fatly ~~~a~~antcec~ or insure[ by, the LTi~itecl States c~FAir~ei~ica {rar by a~iy ag~i~cy tt~ereaf'to tine
~xtertt such nbligatiozis are backed by t}ie fi~li faith a~~d credit at~thc I7iiited:Stat~s ~f America}; iii)
in~~catmez~ts iz~ con~n~erciat paper i~avang, at sucf~ hate cif~cquisitia~3, a credit rating of at lest A-2
f~-aiii SBcP orP-2 from Nli~tic~y's; (iii}:re~zircl~~s~ ~greesne~~ts ~~vitt2 a i~rriY tiF~~oi nai~r~ t~~an l$~? days
fc~r sect~xities t~esc~•ibeti iri clause {i~ of this sentence aiid entered into ~a~iti~ a fi~iancial institutiiiii
satisf}ii~i~; the ~x`~te.r a dcscrif~ed in cl~i7se (ii) of Sect can 2.~:3(a); (ivy corporate debt +obligations
c~,~ith a Vi loa~iy's rati~~g ~f ~t least A3 or ail ~&P rating of a~ leash g-, car ti~~ir ~quivale~it; {v j; st3ares
tar u~~it~ issued by a company that is rcgrstcred as an i~vcstn~et~t ct~mpany i~nc~er tii~ Iziv~stialent
Can~p~nv A~i of I940, as azrie~ded, tl~az is tratiet~ on ~i i~atitrna~ securities ehehange and has a r~ti~ig
of at feast four stars groin Marnis~~st~r, Izxr..; and Zvi} any ot}~~r security a~~rnveci in ~=rritirl~ by
Grace' anti tlic State (ccillectively, "C3ther Sec~~rities"). "IVla~dy's": rrieai~s 11~ic~ody's Investt~rs:



                                                           -5-
Service, Inc, "S~t'" ti~c~e~►s Standard & Poor's Rating Sc~~v ccs, ~ S#aaadarc3 R. ~'t~4~-'s Finaneial
Se~~c=ices I~I.C: t~i~siness. .In each case, C.rrace i~a~d~rstantls that [lie Tr~istee za~ay receive. ~t~~r~cial cir
acil~isary Ices relatr:d t~ the iss~ia~~c~ t~f the security or instn~~a~erit, in.~:lisdi;~g securities ter
itistniments for ~vliicll. Trustee (or its af~ili~tes} sersje~s) as inai~~~;er, ~aran~oter or plaeenient a~e~~t
or,irrlier~;Trustee ~c~r its affiliate) i~as issL2ed, strlicti~red ~r u~~d~,nvritteri,tlze Otltec~ S~c~triti~~.

                             Vic;)   I~isclnsur~: lte arc~ii~~ Use - ref A~Iiliated Prc~ducfs and Services.
Grace unci~;rstanc~s :end agrees that the Trus[e~. n ay, i€'ap~ri~priate for the 'mist Accaunt, () inirest
i~~ Funds or C7th~r Secttritses that -are affiliated ~atitii Trustee anci teat tllesc affiliated irive~t.me~its
i3~ay cot3stilute all nCt~ie itivUst►nerits izi the Trust Elcec~tint, iii) engage stibacivi~ni~s aft~Iiate~ tuith
the `~nistee to zr~arxa~e all nr a poi-tio~i of the asses in tlxe Trust ~lccau ~t; andl~r viii} e~~ga~c n7adel
portfolio prc~viciers in cc~niie~tion ~irith m~~n~i~en~e~at of assets in ttx~"Trust Aecaunt: Grace f3irthcr
t~~3derstands ttaat the T'~i~stce ~iiay .derive fiia~icial;:ai~d c~tlier ~ci3efits ~s a result of tl~e fin~stee
~~urcl~~isiri' ~a~~ds cir C)tl~cr Securities affiliated L~t1~ Tiustee or utiiizii~ su~a~3visors at~dtvr tnc~r~el
ptirtfc~lzc~ ~rc~lr clers ~~#iiiated with "t'rust~e:

                              td)      T~isc~c~s~~rc Re z3rciin A~i~iition~~i fund Fees; Grace uzrder~tands
 tl~{it ~17e Tn~stec: (~~~c3/or its affil a#es) n~~y provide advisary nr ~thcr scr~~ices €o ~ cc~tnpany that is
 red st~~~ed as an investment cd~i7p~siy unc~~r t ie Irivefitment ~tirra~~~ay. Act c~f`194 ,'~s amen~~eci, Via:
"~ut3d°'} which is selecferl for t11e ~rust- Acc~~ixzt aid that the Tn3~tee may recc v~ acivist~ry,
 reccirdkee~~ir~g, atii7~ini~tra~ive, sh~rclic~lder scrvicin~, atidlor other fees for suc~~ a~visc~ry ~iid other
sersr ces, "i`~~~se typ~.s o€fees are paid, dir~ctiy or inciifectly; by the Mind to t11e Trustee (ancilc~r its
 affiliates :ancl are describ~c~ in. detail in tine prospectus; ~r~vate t~fferi~ag nlef~iararsdun~.~r ather
t~ffei~i~rg dt~ci~iiaents fir tt~c ~ttnd. Gr~cc sricsi~ld cE~re~i~lty read these documents s t~cc :ttie~c fees'
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 to the compensation paid tc7 t1~e Trustee r.~aader this Agreen~ei~[ ~t~~d x~iay result in the Tr~.yst ~~ayin~
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 with Trustee's eta;idard ~racticcs its effect from time to tune:

                            (e)      Special Disclosures €ter ~tiric~ Shares; C'irace understands that. ~'uz~tis
a~id.~.7tl~er S~cctrities available tlir~~~gh the Tr~~sts:~ €ire ~~c~t backed or g~}arantced ~y ih~ Trustee (car
its affiliates), are ii~f drank tiepasits and are nc~t insured ~iy, issu~t~ by,'~s~arante~d by or ol~ligatigiis
~~'the ~ee~eral L?cpc~sit Ii~sui~t9~c~ C:~rporae o~i, the Feder~~ Resenrc I3oarc~ car airy other ~t~ven~ment
a~ency~ ~uci~ ~`~.incis a~it~ Other ~ec~irities i~i~rnlve investment risks; inalrt~an~ possible lass o
ualuc There is too assurat~ee that s~~veep v~tiic3es tiviil be able to zt~aintait7 a stably iiet asset ~~ali~e
cif X1.'04 per ~h~re. Fear tncire cQniplcte information ~t~t~ut Funds, including e~i~r~es and ~xpca~ses,
Cixace shad refer to the prc~s~ectc~s, private t~fferi ~~ rne~raaranduz3~ or ctl~er offering c~r~c~iit~et~ts faa-
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2,3:3 wild iii) rec~i~t azid zc~vi~~v afi the; praspectt~s :or sunirt~a~y praspe~tt~s, private. aff~rin~.
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or br~kers't}~af are af~liafed ~virli Trustee. ~iracc cc~nsenfs to trans~i~tions ft~r the Tnasi Account
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t~~c affjli~€~~I broker's e~ec~itiaa~ poiici~s. Grace z~iay re~~oke tic ci~nsent pro~rided in t1ii~ Secticirl
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 ma}Y cc~nsidei' sflkerage end research services provides] ~~ ~rol~ers eve~a t~tci~~3i tti~ Trusfi Ac~c~unf
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 causing ~Gr~ce to pay a tiig}~er conit3lis~ion for a securities .~radc tl~a~3 cattier brc~k~rs ~vaccld }lave
 cl~ar~e~t fay` the same transactir~n.

                           ~li~     A~ re anon nf'?'rades. Tlie Tnistee r~iay, in its s41~ disci~ct'scsr3, lout
 is trot r~qu re~3 tc~~ cc~mh ne purch~sc~ a~zd gales cif sect~ritics 13e1d ire the 7`rust Accocin~ c~vitli
 purchases and sales acctirr~iig o~~ clue wine ri~y of the sat~lc securities ~~clii in accoi~n~s cif-other
 clicn~s c~fthe Trustee:{car its ~ftili~te~}. 'V4~I e~ sec~irities trartsactions.are coin6ine~, the act~~~I price
 ~p~tica~Ie to tl~e ca~~~binec~ tra~~sactic~ns may 1~e av~ra~ed; end the Trust Acco~~~it and tl~e cachet
 acc~L~nts nay be deenieci to -have purch~scd ~?r sole] their praportionat~ shares of tl~e sec€~ri~ies
 involved at floe avera c price il~er~ c~ic~.alatctt, Cxrzice ti i~iersEart~s tf~at the Tri sic ~itajr ~yot b~ able
 to seek b~tfe~ ~.~r cin~ or lor~~er casts vn. securiiies transactions by cc~inbinin~ Trust AccQun~
~eci~r t es trans~ctit~ns as describes] in #leis Section ~.3.3(h} and that cotnbizied seciiriti~:s
.transactions c~~ay fir tn~iy not benefit the Trust A~e~~nt.

                2.3:~ Cofistriictia~~ ~f Invest~~ient Authurity, Nc~tIiin~ iii this Secti€i3~' s~i~ll be
construed as a~~Chaxi~it~g ii~e Tr~~stee to ca~ise tt~~ 'I'nist to can-y on any b ~sitiess ar tc~ divide the
gains therefrom, ~nct~zdin~ the business of an iiiucstznent canipazxy; or a company "co~itrolied" by
an "iizvcstme~it ec~m~any;" rec~~.yired to re~i~ter ~s such tinder the Investment Cazr~pany Aci t~F I9~Q;
as amc~~ded. Tl~e ~flle ~~t~r~aa~~ cif this Section 2.~ is tc~ a~th~rize tl~e invcstn3el~t flf the Trust 1~lssets
oz at~y pQrkions tl~ereaf as ~n~y be rcasa~~al~ty prude~it pc~adit~g use of the 'I'r~~~t Assets: fnr ttie
purposes of r~~e Trust. Each of the Be~ieficiaries act~rto~vled~~ and ogres tc~ the ~rc~visitsns of Section
~.3:


                                                        -7-
                                             r1RTICI..E III
                                    DISPOSITIC)N -OIE 'I`RL~ST ASSET

           3.1     Distributio~is for KI?II7 Spill4uav'4~Vc~rk Gusts. ~'he ~"n.Fstce slrall,distribute tt~ t~Y~ fpr
 the b~z~~fit cif Grace f or tl~e State, u~~dcr the txmitec~ conditions described i~z Seetii~i~ 3.1.2{b~ [~arly
 I~istribu€io~~ tflr Ei~7€;r~e~~cyj, x.1.3 [Na~i~crffln~3~~3ce Dctcnalin~ tionj, or Section 3.1.E [Gessatio~3
 o~ Grace]) scicl~ ~t~nc~Eir~ts; at suc1~ Tiini:s, as Grace car the Stag z~iay incur a~ KI~IL? ~pilit~Eay ~~Jc~i~k
 GQsts in accorc~~nce tvitl3 tEie s~anciar~s prescri~erl in tl~e:Settien~ent r~.~r~e~n~nt {ivl~icl~ the Trustee
 sl-sa~l had=e Rio deity to verify nr con~rm~: Uistribuz ins s~i~ll ~e ~nadc ~~~ly in acct~z~dai~c~ ~trit}~
 StatL3~3enis pravicie<3 tc~ the T~~usEc~ ~aursuant to the provisions of [leis A:rticie`III.

                  3.l _1 Gezler~i Intent. As ~rt~vicled iii the Set~teii~ent A,~ree~iient"; t~ CI~e ~;r~atest
extc~xt practicable, tlic Parties inte~~~ That no clisYribtrtic~ns ~~riIt bc; made I~~r tie Tn~stc~ pint l S~nu~►y
1, X126. F~~ inr~in~ Jan~l~ry t, 21?~, ciistril~uziciiis for KL~II:~ Spill~v~y t~4~i~r~ C~s~s-ti3ay tie ~ilade
f~ar~~ tl~e Tn~~t iii accordance rvitli Section 3.2,

                    3.1.2:_. Early DistrE~iTtioris: N~t~,~rit}~stand,iTz~ ttte Parties' ~e~aer~l intent as de~crit~c€i
 in Section 3;I.1, if at a~iy tita7e aFtcr J~t~ttary l ; 2f~72 (a) a 4urittcn ctetern~iiatiQri ~~y tiie 1C~~1R~
 I~irecttir ~r its deteg~e tlTat des~rii~es a repair ar replacement that is K:I~~L~ Spillevay Wt~rl
 rcaso~i~bly rteees~acy to p~rforni iiefore Z126,_~,~itl~ t~~e ~n~ir~eeri~tg basis far su~l~ detergi~ifl~~ion
 is dclivcred- ~o't~e Tr~.istec pur$iiat~t to. Sectcin 5{~)(ij of tkxe, Settic~ncnt: Agxcement ar (b} the
 T7iistee receives ~=~ritten mist =ti~ctioa :frc~t-~i tiie Mate #~t~r tl~e pay ricrit of posts to res~oii i Po or address
 an en~er~ettcy at t~~ KDI3~ S~~ill~W~y, eQ~~sistent ~~itl~ t1~e standards and ~r€~ced~rres ~f floe `Dana
 Safet~~ Aci, It~C?. ~5-, S-21 S, or an t stFpersedifi~; la~v pui-suar~t tc~ Sect o7i 5(e)(ii) of tt3e Settlement
 ~greerne~~t ~ui}3ie~~ tl~c Trustee: sh~li have no duty t~ veri~}i ter ct~n~rtn}, ~is~ribi~tic~r~s fc~r sucf~
 I~131[~. S~iilltivay '4'Jcirk Casts slaaIl lip r~3~ci~ by the Tr istce iri accordance with S~ctii~~i 3:2.

                    3.,,~ I~T~Ii~: 5t}itl~v~Y ~'c~r~C Nonpe~~fon:~an~e D~tc.r~nina~ic~~i. If> at. an}~ tii~~e after
 December 31, 2(125; D~iRC cent Tics' iii a i~Friiir b cietive~'ed tc~ Grace arit~ 'tftc Trustee, that atl
 regu rezne~~ta 1~ave li~~,n ~~~eti for ~ Noi~p~rfan~~ar ce Dc~~rmi~iatic~n, iF ciudii ~ pr~vidif~g trr~ee yin
 c~~~~oriunity to ~~ire suc~i z~ot~performance in accord~ctce ~vit~z t ie Settle~~aet~t Agee ear; the Stag
 n~a}r asst~nie X11 ~i~lits and a~~tliori cs 4f Grace under this A~reen~crit: ~~ritl~ r~s~e~: to such ~vark
 described iii tiie I~on~erfciri~iax~~e L7etern~ s2<~tior~; iitcludin,~: ttyr right Ea request and a~itai~~
 ciistribi~ttons ii1 ~cec~rdatice ~~itts 3:2.
                                                                                 __
                    3,i.4 Ccs~atican Q~Gracc. P~~rs~►ai}t tcs Secticin 6{c};af tl~~ Settlei~~c~~t Agrce~ncr~t,
 upon entice fi~~rTi tt~e State to t}~e Trustce'~►~d Grace, accompanied by dtacuzi~►czxtatiat~ of the basis
 fc~r tI~e i~ot ~c, if' C. rice for any ~z~er~ed or success~t` entry that:a~s~t3tzes ~arace's obli~atio~~s to t~~e
 Sf~~te ~.~nder t1~c Settlement Agreenicz~t} ce~s~s t~ exist or. fails- tQ ccintini~e ter operate as a going
 coneen~, all ri~l.its anti authc~ritics afC3race ut~tder ttzis A~;reen~eni shall ~~.itt~~naticaily ~tnel euit(3atrt
 further ~ctioz} c~~se, and <~11 Trusf ,assets si~ali inure ctin~pietety c~i the ben~:~t cif tl~e State ~311y
 ti=ritfot3t any pre:ret~~.tisite I~c~nperfor~~~ance DcYern~natit~n referet~cedin ~ect~n 3:I.3; ~rovid~d,
 Iro~~.jc;v~r, Ciracc sl~ali leave ti~irty (34}} da}~s after suc}} ~~flticc to ab~~ct to auy asser#ia~i of Grace's
 cessatic~~~ in a writing delivered to ti3e Trustee and the State,

       3:?    PrUecs~ for .I~sii~tace .cif Distributicins. Tt~~ Trustee shall make. ciistri~~~tia~~s fc~~~
 KDID Spitl4u~y ~~ltyrh Gc~~ts ~tzader Section 3.l to t`'~rac;~ car the Sfat~ (under: the cantiitic~i~s described
 in Sc~tion 3.1.3 ter Sectinn 3.I.~, z~tl~ic37 gcsverris the State°s contizi~cn€ rights to distributian}, ~s
 the case ~73ay bc; iii accardance with the. folloL+~ii~~ provissot~s.

                   3.2.1 Distribiitia~i Re qitest, Tire Benef citlry sc~;king tti~ c~i~tribution sl~~ll submit
to the "I`rt~~fec Intl tt~e other $t,neficiary:

                            (a)        A ~tat~n7ent setting fortis the exact at~io~~tit of the distri~~~tifln (ti~~
 :`Sfatetn~~~t"~, u~ct~~ urliicll tll~ Tnistee rt3ay c~ncl~~sivety rely;

                          {b)      A t~ritte~x cc~rti~cation t~i~t :lip distr Piuti~iis is for KDID Spiil~Fray
 Work Costs ~vitl~it~ tli~ r~strietcd p:ur~acasf:~ of the ~~riist and the ~ettlet~le~it ~~ree;~~lerat;

                              ~e~      Far can~spleted ~v.ork that leas alr~~dy ~e~it paid Cor by ttYe
 Beai~~ciary se king r~isiribtitiioii, the invoices and receipts suffcicnt to c3e~nc~zistrate that ti~,ro~~k {c~z
 the relevant portion tliereoi'} t;as beea~ per~'ar cd end p~tyn~eziC lzas laeen n-~acie ~ivl~ict~ the Tri~stec
 shalt lia~te nc~ cliaty tea reuie~.vj

                            (d)      ~t~r distributions dirc~tly_ tra a coritr~ctar csr vci~dc~r (i~;i~haitt ad~~a~3ce_
 payn-~eiit by tllc Beneficiary seeking distribution); a ccspy ttf the coiitxact for the perfon~iai~ce ofthe
 ~~c~r~Z, ~ceo~~~paz~ied by the retevar~t nvoic~(~} for ~ay~tzent e~ue to ~t~~ s}~~ci Ced ct~nfractur car ve~ldor
 (e~l~ic~ the Trustee shall }iasle nn duty to ~~evie~,~r~ and

                           {c:)     7'ru~tec shall l~t~vc no respansik?ilit}r to ccin~ir~~z receipt of any car all
 required su~~~~ortitlg dcicuinea3tafion ~'tir each d stril~utit~n ~r the eoi~~pleteiiess ~r~ at~y such.
 sitppc~r~in~ dpcumentat:~c~n provit~eti ~~litl~ e~~c~~ d str t~tatian ~etjE~cst ~flaer t~aan to cont`irm a
 distributio~~i request I3as becri received frozii ail authorized ~ene~ciary.

                  3.2.2 Distributic~~~ Pa ii~erit: ~~iTliii~ t1~r~e {3) ~iisin~ss ci~ys attar rec~i~it t~f a
di~~ribt~tion r~gir~sf s~~~n~ittes~ in accardan~e svitlt Section 3.2.1, t~~e Trustee. shall issue such
c~istribt~tian in aec~arc~ancc with the St~tcnzetit.

          ~.3      Ter~~ natir~~ Distributions. upon the ccind [ions, ~ncl tci the extent, prn~ic~eci in this
 Secti~ti 3:3, tl7e rerriain~ng Trijst Assets stt~ll be t~i~tr bated in acc€~rdaiice ti~,rith this Section 3.3 .
 ~nci the '1'n~st dial xerminat~:.

                  3.x.1 B 1~~rcet~~ei~t. ~f airy Time after Elie year X072 ~trt friar tc3 the Gill
ternlinatian p~ tl~e Trost under Section x.3,2 or .Sectiar~ 3,3.3, the F3ene~ciarie~ nia}~ a~re~;
cansi~lering all of tf~e relevant eir~u~i~stances ire ~xisteiice at the ti~n~ — iiYclt~t3in~ the val~~e of tl~~
Trust ~•ers~is thr~ c~sf of-a s~eplac~i7icnt KDID S~iti~v3y —that tl~e Trust sh4~.71d be used for a
reasoz~a6Ee end pntdent purpose ~(~ather thin re~~~acera~ent sir sigtaificant repair o#the KDLD SpiI1~.~~aY}
reiatecl to the ~CI~TD Spillway car tine KDID. In that went, the 'T'r~lstee s}3~1I e~fectu~tte s«c~~
tertz~iria~in~ distributioixs as i}ie I3ci~efi~iari~~ jointty ~iirec:t in trritiii~,~.

                  3.x.2 Clpc~n Expiration €~f Terrn. Consistent ~vit~ tie terms of tli~ Settiegne~it
t~.greei~lent, the finest stall t~rtilii3atc o~ tl~e date thE~t is l l0 years fr~itn t~Ze elate t~f'tt~is ~.grc;ement.
Thy T~~istee sha1D riot unduty prolbii~ ttie duration of ttie Trust and ~liatl, pit tl~e expiratir~t~ cif tl~e
period described in tlic itnn~edi~tely ~~recec~ing sentence,- ez~deavnr tc~ t-esolv~~ settle, or crtller~~risc
disuse cif all clai:ns against t is Trust pursuant tc~ ti~uritten it~strt~ctiuz~s frc~nl tl~e B~;n~~ciaries, anc~


                                                         -9-
then distribute t1~e E~cm~ii~iz~g Ti-~.ast Assets to Grace tc~ ~e Eisect.:solely far ~auz-~t~se:s related io tt~c
KDID, sz~~jcc€ tc~ the prior payincn of tlie'~'rustee's fees, expenses ~iid inde~ni~ities accnied through
t}ie date of f~rt~iit~atio~~:

                    -3;3.3 'U~a~~ Ce~~ti~catici3i c~~'a ~on~lition of Eartv'I~ez~minatio~~. Consisie~it ~uitli the
terms of the ~e"ttl~ti~etit Agrec:nlei~t; flee 1"~~ust sljatl tezl~iinat~ ii ei[h~r tiic State car Grace cci-ti~cs i~
~vritis~~ to #he:Tnistee and tiie otf~e► Berte~ciary, tl;~t ~1 Ctitiditiou cifEa~-ly Te~~ininatic~t~ teas b~ezz
mgt pursuant tc3 Section b(~}.(iii} nr ~~;ctian ~(tl)(i} end such oiler Ben~~ciary tines nc~l r~~itll rt t}iirty
~3C~} days after aetcial receipt of setcl~ certi~cati4n ~bjcct to ttie teri~lizi~tio~i of t1~e Trust in ~vritin~
tci the Trustee a~~d tEie Bei2e#"iciary i~nakiilg stic;l~ certification: Tn acc~irdatice with such certi#icatian
in Else abse~l~e of object tin. frorti the t~~her F~e~xe~iciary, the Trustee shalt ~f~f~ct te~~t~~ hating
riistril~ut~c~zts c~.f the rei~saining T~`~:ist Assets to ~racc, subject to the ~ritir payrii~zit of any o~itstandin
Tj-~.istee°s fees; ex~}ej~ses aid iii~te~~ix~ities acciued'thror.~gh the ciatc aftermnation.

                                                     €~;~'TIC~k: I'~~
                                                   '~'~tUSTT:ESHTi'

           ~.1      Appointtiient: PNC Bank; N~tir~nal Associatic~t~; not in its it~ctiv clt~al capacity, i~ut.
 a~i its rc~~r~:sezatative opacity as T`i•ustee, is Iz~r~by appc~ ntcd tt~ serve as the Trustee tc a~liniiiisier
 the Tri~s~ in ac~c~r~ancc with tl~e terns ttf this Agre~ztiertt, aiid tine Tritstce l}ercby accepts_ such
 ap~ointt~~enf end a~recs to serve ~z~ such re~reset3tat ve capacity, effective upon the date n~ ih.is
 Agreen~ciit:

          ~.~      [Reserved

           ~:3.     general :r~~.ttlloriiv aa~d f~t~li~?atians.: Tie B~~xe~ci~irtes i~itGi~~i that the Tr►.~st~e's
 pc~~~ers b.e exercisabt~ s~lel}r i2~ a ~i~~i~trei'il~at is ct~nsistc~it ~~iitlt, a~-~d in fiii-tf~erance af, tl~e ~r~rpr~ses
 of tl}e Tnisi sei forth. i3~ this Agreetnent;;ct~n~istent 5~! tlr Settleine~~t A~reenl~~~Cf a~~ct hat ott~err,~ise-
 T~ic TrctstLe ~indertakes to ~crfarni such duties; end ~zi[y such deities, pis ire s~eciPicaEty set forth
 iii this 4gc-ce~iient. 1lTa if~ipli~d duties, ~ouezYants c~z' s~bl~~~€inns st~~ll be rc~d iut~ this Agreez~ien[.
 T"l~c Trustee shall ~i~ve tkie atitliarity t~ .bind tlt~ Tn~st and atiy sue~essor Trustee, ~r succeSscir ~~•
 assign a~ the 'S`~usG, t~~t ~~~all far aII ~urposcs }iercunder h~ actiiz~ its its represen atrve eapacity as
 Tz~~stce a~~d i~cit it~dividt~~illy. Tfie Tnistee sliatt liavc i~a c~~li~atians to ~cr1'c~m~ atiy activities for
 ~vh cli the i'r ist lacks suf~eic~T~ firrtds: The "~'t-4ast at~tl t ip Trustee st~3it hat and are- i3ot autl~c~r zed
 tea e~igage iii `a~~y tt~acie ar ~~rsin~ss with respect #c~ the Trsist ~issets sir aiay proceeds tl~~re~rc~ii~i.

          ~.~       Pc~~vers. Tl~e'1' u~tee stzall have tl~e;folla~~ri~~~ powers it adn~ainisteri.s~~ t}~c Trost:

                 4:~,1. Pens s~lvania L~~v: Except as c~tlier~,z~ise ~~ir~ivi~3eci rn this in~st agrr:eri~eiit, flit
"Trustee shall 13atfe all pc~~vcr~ ~ra.ntec~ to trustees ztnder 2{} P~. x.5.5 7788:5 acid 20 Pa_ GS.~ 77 30.6..

                   ~.~:2 ~lddition~l ~'akve~~s; Vv itl ~i€t limiting the `I'rctstee's powers ~ic~~iez x.4.1 itY a~~y
r7iaz~s~er, tl~e T~ust~e is ft~r~l~er ai~th~rszed to perfart~l aiiy asi~ ail acts. necessary tt~ accc~~i~plislt the
~iurpc~ses t~f tii~ `rust and facilitate ttie .Parties' cciit~plian~~ ~vitl~. the Settlement A~reem~nt,.
incluc~in~ the cx~ct~kiUn (incl~adii3~ ozz ~ehaIf cif -the Trust} t~f agreements, instruiY}eats and other
da~uirients necessary ~ci implement this A~reen eiit t~i~ Settlement A~reci~le~lt, or any order ~I'itie
~t~uz`t or as n ay 6e necessary ~nci: pz`oper io carry out the ~rovi5io~~s of this As~~~een~ent, anti, to tt~e
~~:tent ~irectcd by the Benc~ciaries irr~vritin~, the SeE~le~iient A~ree~-~~e~it, Adclieionally,_the'I'rusfee
s;gay, an~oz~~ atl~er tij ngs, ii~~e$t the Trust Assets as provided in finis A~►~ee~13e«t a~Yd file docuiiients
i~1 C:oc~rt on bchatf ~fitself a~Yd tYae 7'~ist.

                   4.4.E Limitations fln t1~e Tr~aste~'s A~ittlnrity. The ~`rusi an t t13e I"r~tste~ shall not
acid are not:~utharized to ei3gage in and trade cir business ~~titlt rGs~~~.ct t~~ film Trust Assets cir aiiy
~~~c~ceeds tlierc#`ran;. ~~ithout l n~ tiitg tl~e Tnaskee's right to payment of its. Fees, ~x~en~es ~t~d
's i deninities ~~eret~nder, t is Tn~stee shall riot naaic~ distributions for p~.~r~~oses gti3e~~ than ~.s ex~sressly
sefi Forth in Article III cif this . A;~~~e3~~ent. Notev tl~st~adin~ ai~ykhi;i~ tp the cont~~at~y in tlii~
t~green~et~t; the Settlei~aenfi 1~,.~;reenlent, 20 P<~. ~:S y '7'780:5; ~0 ~'a. ~.5.~ 7`7$O.~S ~r stay tit~~ex l~iv
the Tnistee shall nat Have tlic potivcr o resolve any disp~~te bet~~~c cry or a~~~az~~ thy: Bene~ciarics, tl~e
T'arti~;s end/ter ~t~iy t~thcr I~e.~sr~ii regarding the- i~Ytcrpretatian; ap~licatian car ~nFtircement of this
Arec~ici~t ar tl~c Set~7err~ent A~reezi~e~tt ~ndlor tte attt~tiaistraiic~i~ of the Trust, in~tudia~g tlir~ugh
rncc~i~tit~n, arbitr3tsc~n or oth.~r alien~a[ivc c~is~ute resviuti~n pri~c~dures..

          ~.5:    Gotnpe~is~tzt~n, Tlie Tr~istee s3~all be entitled to receive cai~tpensatic~n fr€~~n Grxice
for its services u~~tier this ,4brc~ment in a~cordancc ~ctitl~ the Sc~ledulc of-Account Fees, a ~~py of
ivl~icli the Trustee r#~liv~red`to itie Bciie~ curies ~itt~ this A~reeinent. ~ddi€iciiia~ly, breskera~e €ees
and c~ati~~t~issiorts znay b~ cl~~rged tc~ the 'I`rtsst ~lccoz~nt ifs cflnFiection ~~ith c~rtaic~ sec~~rities tr~c~~s
excciited by tiie Tnistee and ~ubativisoc~s. z~ accordance ~vttli this Agree~izei~t. :I~i coi sideratio~3 far
receiving coriicnis~ ans from tl~e '1"nist Acco~i~l~, brciker~ge Finns ~~~ay provide Trustee ~s~ tt
res~arcll, ~zoduct~.ar~d otliei- services Evl~ cli i~ay be used tai assist Tz2~s~ee in ~rovidiiig i~ivestn3ent
acct;ice the BeriG~ciari~s and ~tt~~r clients. brace ~ii~th~rizes tlie'irustee to debit the'1'nist ,~ccc~t~nt
(r~r such other PI~IC ~3ank; account o~wneei by: Grace as Cxrace tn~y r~c~uest} fear the Tricstcc'~.
iori enszt on iii a~~tirtlance s~itil the Scliedui~ of F4eco int ~`ees #hen in effect at~d all of t ie other
costs end exper~sc~ described agave. ~'yitt3ia~ foz'ty-eve (4S) gays a#'ter rec~i~~t ~y Graee ~f a
5t~terac~xt frc~rsi ~h~ Trusle~: setting fc~rtlt (a} t2ie ~maz~nt of any coinpe~~satic~n, -fees cir expenses due
tc~ tI~e Tn~stee, or (ti) ~~~}r atnnunt tl~bi[ed frorri tl7e `Trust Accou~~t cicrrii~g the Stater~xerit ~ieric~d,
brace shall transfer fi.inds iii tl~e ariiata~it ~f'~ucli debit., cc~~3ip~~~satic~i~s fees cir expenses to ~l~e "1rust
to be added to azld ~3ett~reled ~s part of the :'I'r►~st Assets in order to reiri~burse ~~~c T'n7st in full for
~riy aiiic~isnts ~3ebited £`rt~n~`:fhe 'I`nis[.Ae,coita~t by "the `I'rtistee ~urs~sa~it to this Sec#ic~~Y 4.5, Section
~.6, Section ~:? or Article VI. 'Witl~ir~ one {1) day of the ex~iiraiioia n~'such.tarfy-~vc (~S} day
perit~d, C~r~ce shall »otify Che Mate if tir~~e dogs not transfer stick ~dditio~ial funds tQ t}i~: Trust in
~ccorci~rice i~it~~ tlic iznrnediakely prec~dsig sent~r~ce.

         ~.6      Litnitatioii on Liabilt~~ c~f'Trustee.

        1'l~c fr~ll~~viz~g ~art~visions shall go.ver~i t ie Trustee's rights, pox~jers> obli~;atifliis and tiutie
tinder this A~reertient; not«ritlista~iding anytl~iizg herein to tlz~ ~t~ntrary:

                             {~}      ~-lbseiit act~.ial fratul, bad €anti, ~.viliful intsconc~uci, dross nebligenc
ar a inateririt t~~•eacly cif xis ob ig~t ons under kljis ~gr~emer~t as estabtisl~ed by ~ Ana! jud etnent ~tf
the Go~~rt nc~ longer subject to ap~seal: Li) ilia '1"ru~tee shall is~c«r i~~ Iial~itity far <~tiy action taken tir
r~it7~tt~d tc~ l7e taken iii accortlafice ~~it1~ a.Fiy instr~ictio~l, cisrectian or req~~~::st ~f a Be~reficiar~i'that
is not inctinsastent with tie te~nns t~~'this ~;reeme~~~; ~7cluding e~iitl} .regard t~ distribcx#ions under
Article III;. and {ii} the Trtisfee shall nc~t be li~~ile f'Qr any Ir~ss to tEre'I'z~:st or any elain~ of inegciality;
partiality ~r uiir~as~~~atileness resulting froi~i any action takefi in ~cct~rdance with such di~~ecticsn.



                                                         11
Tlie'Trustee ~l~all llaye Rio i~~ty car ohl~~atio~~ tt~ revie~~ or coi~firtn ~v~ictl~er af~y actio~~ taken by it
~u~'suaiit t€i any sucl~'iF~strtictic~ns, c~i~~cetic~ns car regti~sts cc~n~plies 1~ritit tine tc;i~ix~s of this Agte~r~~ent
(~~~;le~s such instruction, direction ar._~ec~uest ~n ats face is t7.ot consistent ti~v th ~~c tecins~gf this
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shall ha~~~ tt~ dut}r to ~ra~~idc ntly ce toT or cot~~r~~unic~te ~~aitl3 or s~Jarr~ car ap~a~•ise, any ~3eneficiary
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Gt~cti~t order shall require t ie Tni~tce tcs expeiiii car risk ins a~vi~ perso~~al funds ar ettaer~~rise incur
any personal frianciai 1ia~Ylity its tfic perfc~rrniance of any Qf its duties or t#~e exercise cs~any of its:
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own f~iz~cis ~~iy liability iii~posesi ~ y a ctiairt afcoi~ipete~it jurisdiction a~i ac~oti~n# ofTrustee°s aclu~t.
f'raix~i, t~~d faith, i~,titlful ~ti scc~7i~i ct, dross i~~~Ii~ence or _material brcac~i o~ its t~~+ti~~tiofis under
t~~is' Agr~,ernea~t:

                            (c)       Tl~e'Tazastee sE~~ll nr~t be deemed to Ii~ve knr~~vi~dge of ~2iy evefit'o~
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d~visii~az oftl e Trustee) other tt~a~i itself in-its capacity <~s'T"rustce. The Trustee ~li~l~ ~~c~t be cleet~erl'
t~ ~~ave nt~tice or ~Cna~~ted~~ cif a~z.}r cve~~t car infQrn~at€one car he rer~~.iired TQ:act ~,i~3o~-t any event ar
infciri~iatia~~ "{incli►di~i~ tli~: sending of any ~aatice}, t~i~icss a F~cs~onsible C~f~c~i i~f tale `I'3-~~ste
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meains ati~ t~ ~cer of thc'T"rustec ~vitkt direct responsibility for the administration of torts A~reetncnt,
T(~c: avail~t~ility or delivery (irieluding pursuant ~o this ,A.grecn;cnt} of reports or ether d~ct~zt~ents
(includif~g ne«s ar other publicly .available r~poris iir ctacunients) to the Trustee s1iall nit cranstitute
actual oz' cr~i structive i:~r~ot~led~e c r ntaticc of iiit~ir~3~atian cotitainerl in Qr detern~i~ ~~i~: fresri~ tht~se'
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gQveriinicnta! autti~iri#v~ limited E ability cc~i~~}~~tity, Ii~z7ited liability ~~rtnerSliip ter otl7er.entity:.

                             (e}       The Trus~e~ nay act directly ~r ttu-fl~~gl~ its agents; attorneys,
~ustacli~ns; servicers, n~aiia~ers,'~i~~i~iziccs or Diller skittcd professi~~~dls; a.rtcI t}~e'Trustc~ sl~~ll ~xot
be laelcl resp€~~~sil~le or liable for, or Have ai-~y ditty t~ sup~rvis~, airy actac~ii, inaetic n, misconduct,.
or ne~li~ence ~f u3}~ sucta' Pcr~gns sel~ctez3 by tl~e Trusfiee ufitt~ due raze: Art.}~ expc~~s~s izi~ur~'etl.
ley tl;e Tg~.iste~ in ai:tii~g tlrrc~izgl~ a~eitts, at~orncys, cusfodiac~s, s~;rvices, managers ar-other stilled
~rc~fessiaz~ai:~ shell he clebzted fr~am t~~c Trust ~1cc~i~nt iii accorcla~ice ~vit1~ Section 4.~:

                         (~      TI~~ Tr~istee sliail not be re~po~~sit~le c~~~ liable fear special, iFidireet,:
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regardless ~f t}~c faun t~f action..

                          (g~.     Tlie `°I"rusfee shah be entitled to rely cc~~~olusively; ~vith~izit
itives[igatioi~ or tither actia~~ c~zt its ~arfi, on statements opinit~~~s, certificates, rcparts; directions;
SS~Ili11119'eSs 1I15tCUITlCI1~S~ S1Q~iCGSr r"iL~YiCG'~ Tf'C~i1€StS, ~V<11VC'ISt C(}I15~.€1tS? t'G'Ct,1~.7~Ss IL'St?~11~t0315 r ~()1I~5
caiculati4ns aiit~ t~#lier ctt~czttxa~~tfs ~iurp~rkec~ tc~ be f~cceved fra~i airy I3eneficiar}j, as cot~fcri~plated
by #13is 1~gree~nent, ric~E anly as t~ ctR~e execut~bn, tJalidity and effectiveness; t~tit also as to the truth
anti accuracy: cif ~ii~~ ii~fc~r~naticiit catitained tt~er~in, and such reliance sl~~il riot ~i~nsiit~rte
i~egl get~ce {or grass Yicgli ez~ce),- bad faith ~r ~vilt~ul ~nisccsriduet its ccii»iectit5n ~vitli ttie Trustee's
Iia~idiir3g offu~ids or athcr~vis~, and-:the Trustee shall ~zot die liable or aGcountabte tc~;any Person by
reason. 03 s~acl~: reliance. T`he Tr~zstee shall nit he res~onsibie ft~r t43e eontcrat ~r accuracy of a~zy
such documents prci~ri~i~ti Eo the Trci~tce and s~i~~ll not be rcgiairGd to rccalciilate, certify, or verify
any inforri~at on contai3icd #Herein.

                            (f~},• Tlie Trustee ~~-►ay, at t~~c ex~~n~e cif fhe l3ene~ci~ries {i) request£ relj;
~n and ac[ rj~ acec~~ctance ~v tli officer's certificates of the ~3ec~efici~rics ar~d opinions of eaui~sel :
and iii.} consult ~vitli, and rcgi~cst` advice fro~~i, Segal cnu~isel selected ~y t~~e fir~jstee ~s 'ta any.
zrtatters arising in ct~nnectit~n vfit~i this ~ ~;reei~~ealt, the interpretatio~x a~ici aciti~i~3istratir~n of ~u~ of :
t3~c ~rovisiciiis taf this- A~reezn~nt or tli~ Trustee's rights ai d Qbligat ons. tznd~r t13 ~ A~r~et~nen~
T~~e Trirs~ee shalt incur no liability a~icl shalt be ~ciiiy protected in pct iyg or refraining fra~t-► acf gig
iri ac~i~rdance with such officer's ~:ertifie~tes and opit~iai~~ of ec~i~nsel an~1 the ~.~ritteri or oral advice:
of such<Ie~a[ caunset seleefed by t4ie Trustee in.~csod faith.

                             {i}      Tl~e Trtistce sltatt i~~:c~~r na liability sf, try reascii~ of ~[~y prt~visiai~ of
any ~~resezit at' fttttir~ ta~v c r regul~tic~n khcreuFider, or by any force ma~ei~r~ e~u~nt, ii~cludin; b t.
not limited to at~y act of C: od, natural cii~as[ez•, epidei~~ic, pa~~de~nie, .c~~tat•anti ie, ~l~elter-izt-place or
similar ~lire~tives, bu dance; policy or c~tt~er actson lay ~riy gnc~~rnriiei~fat acatti~rity, accicienfis, labor
dis~~i t~s, dtsea~c, twat anal en-~ergeztcy; Ic~ss r~r rr~~Ifu~ictiQ~i of utilitic~ car ~ompciter saft~vare or
hardware, the catiavaiiabil ty of the Federal 2eservc ~ai~~ wire ~r• le3ex or citi~er wire or:
c+az~xn~cini~~ti Vin; Facility, -acts of ~~~az; terrs~rism, insun•ectiaiY, revt~lution r~r other c rcunista~zces
be~fond its reasenabl~ cci~iirot, the Tz-us~e shall be prcveutec~ or forbidden f'ra"m dciii~g cir
perfori ~ir~g any act or thing ~vi~ ch tine terms t~f this A~reer~er~t prc~v:ide sl~al~ or ma}f tie done ar
perforn~~d, or by reason of ~~iy exercise of, or failure to exercise; and c~iscretiari provided far i~~
dais ~~r~ei~icnC.

                           ~j)       The T`n~stee ~li~ll nit 6e ~equired,tci take a~~y actio~~ Ixerettncter if it
shall kiav~ reasonably determined; or shall have t~e~r~ ~civis~d by its ci~uY~seix tha,f such aeCi~i~ i~
likety tc~ res~~lt.in laab la"ty on tl~~ part c}f t}ie Tn~ste~ or is ccititrary tc~ tt~e terries hereof or is i~ot in
~cz:ort3at~ce «ritt~ applicaEiie Iakvs.

                          (k}.      ~1.ny permissive. or ciiscr~Tionar~~ act or pr vzle~e af, or right or po~xler'
ct~nfci7er~ upon; t}ie Trustee etaun~erate~t iti ~I~is A~ree~~lent shall riot ~c ~leet~~ed tQ be car c~tk~crivise
~.a~7s~rued a~ a duty car obligation, and tt~c Trustee sl3a11 not be }3ersoiia.lty tiaiile ~r accot~nta'~le fir
~lY~ perfo~~tis~ticc cif~~y stic~~ apt, priuiLe~e, right ar po~~~er except as oftic~r~visc ~xpr~ssly provided
herein:



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                           (t)      Tt~e: Tr,~~stee shall not b~ I~etc~ res~~onsihl~; ar liable fnr or iF~ respect
of, and makes ~3o_repres~~lE~Ztit~.i~ or ~~~a.~~rax~t~t v~rith r~s~cet to (ij the preparatit~n,'~li~ag, ~ct~titcii~e~s
ter accuracy a#~ a~~y fina~Ycin~ ~t~te~~~cn~, cc~~Itinuatian st~ten~eni or record ~~ of a~~}r d~icu~neiif
(inclixdii~~ [liis A~r~euient) car instri~tne~it izi a►iy pt~t~lic office at any tine, car (ii) the ina~iitc~ri►~~;;
creation, mais~teE~a►~ce; enforceability, ~Yistence, states, validity, priority ar perfectinii rsf a~iy
security iz~tei`est, Iicn or ct~llaterat or ~Iae perfc3rti~ai~ce of a~~y cciltateral:

                           (n3)     `I'li~ 'I'rustcc shall nc~t be ticld iespr~n~ tale or Iiat~l~. foa~ ar iii respect
caf, ~tn~i-n~~~kes no repres~:ntatio~z car i~r~rrat~ty ~~rit~~ ~~cs~ect tc~; the corr~ctn~ss or enforceability cif.
tine recitals ccintainecl in this A:gF~eeii~e;it c~~~ i~~t airy reiatecl dneuzi~~nt

                           (rid    'I'lie 7` seee shall oat be lielcl c~esponsible car Iiabtc for,;a~ld shill h~~sr~
nn ti~ity t~ supetvise; i~-~vest gate ~r monitor, the ~cti€~ns or ami~sic~ns t~faE~y t~tlter I~e~~Qn, i~~cludit~g
the BeiTeficiaxics, in c~nneetion ~~ritl7 this A~reeczieiit or Qfit~er~~~is~, a~~d'cxcept as expressly set fartl~
in tlrticic III of this Agreeii~~i~t, lie 'I rttsiec zn~jr assuin ~t~rfortnance b}r all:s~,~cl I'e~~so~~s of their
respective ~biiIIa~i4ns.

                            (ci)      lit ~fs~; co-c~3t t~iat ~i)'the Triistec is un5uf~~;'as to tla~ a~aAlieatian or
it~terprei<ifza~t ~f ~tty ~a~~ouisic~r7 of ti~is ~gre~t~ie~yt, (ii) this Agreement is silent ar is nco►1~~I~te as
#o tl~c course of action that tEie -I"rusie~ is regk2irci~ cir p~rnaitted tt~ take ~~it~ respect ta, a }i~rticutar
set,of facts, or {iii} more ~l~~n one rnettinde~lc~~}J can be us~~i to ~~~~ke any determination tc~ he
pert'cinned 1iy tine 1-rustee`heret~~ider;'tI~en ttie Trustee i~zay gi~;e ~~rittei~ ~iotiee ~o t ie Bezieficia~ics'
req~i,csting joint ~vri~tcn ~i~~fructirn anti, t~ t ic; extcn:t that the Trtistce-acts ar refr~iiis frori acting-
iz3 ~oc~d fa~tl~ iii accorda~~cc with any s«ct~ «bitten i~-tstruction,:thc Trustee sl ail not be ~~crss~nally
Ii~bt~ tc~ any I'crst~i-~. If the Tn{spec si1~~l~ nvr iz~~vc r~ceivcd s~icI~ ~vri~ten instr~ictiaiz ~~rithin'tc~~ ~ t ~}
days cif delivery .cif` ricsricc to tl~~ I~ei~~;izciaries {c r witt~~n :such shUrter ~~riracl cif tin~c: as ~~}ay
re~sos ably tie s}~c~c f'icd in such i~ot:ice ar as s~~~y be ~~eces~ary r~~dcr the cir~usnstances} it may, but:.
s~~a11 die under no ditty tn, .tiake Ur refrain; front taki2~~ ~~~y aetirst3, and s1~~ll have ~~o li~~l~ility to ~tty
Perscsti fa~~ 5t~cit action €ix i~7actitin.

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the:perst~n o~cning tt~c Accai~nt, bUtti W.R. Gz~acc & Ct~, and KDC rttu~t s~.~bnlit to ~I~e `I'n~stee
co~~~pleted ~ez-ti~~~it a~~ Regard n~ Bc~jefici~l {flti.rncrs of I ~~a[ Entity 'Ci~s[a~~~ers attached ~s
~p}~endix II to this Agreen7ent at the time tl~e Account is c~~~a~~d aticl at'su~l~ ottt~r times as tl~c
'~`rt~~fec may rac~~~c~t: Grace a~,i-ces teat if requested by tt~c 'I'n~stee. Grace ~t~ill p~-t~vide copies of
its ~ovcnzin~ .ciciciii~~e~ats G~nt~ any ~tizer dciciir~ientatic:~il rcc~uestcd E.~y tl~~:'Tr~i~t~e to ~terify ttie
irtfarrn~l ~n:prou tied ~~~ Appe3~~ii;c II. Grace «i~derst~nds, I~ati~+ev~r, ti~at ttie'Tr~tsfee. assumes ~~o
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than is ~crify C.irgc~'s idc~itity andior tli~. a~a[laority to open tie Tn~st Accoi~nc. Graec ~e~ti~es that
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is cam~teke ~~.tl conre~t, Grace a~~thorizes tt~e Tr~~stec ~o share tI~e-ittfc~miatit~n prc~vid~d in the
C~rtifcatioF3 Regarding Be~leftcial Ci~r~~ers c~i Legal entity C~lstomers i~ritt7 'airy ittdividuai
authariied to c~pe~~ or update t~~e Ttirst Accaurit.




                                                          1~ -
                         {t~)     "I'l~e Trustee shall tt~v~ ~~~ ~l~ticc ~f; s1iall a~ot be snbje~;t tt~; and shill
nc3t be rec~uir~d to ca~n~~Iy Uvith, arzy otlYer agreenl~nt iinEe~s the "I`nistee in any ca~iacity is a ~~a~-t},
tlieret~'ancl-has executed the s~~i~~e, even tl~i~tzgh reference thereto ii~ay he nia~Ie li~reiri.

                              (r~      ~~Ihe~ie~~er t~~e Tz`tistee {a} r~~e~~es at~y ae~~oiuits; tli~c ap~iicatiot~ or
t~ispr~siYic~i~ cif ~~lhicl~ is i~at clearly address~r~ liereu~ider, ~i~) deteri~iiiies that ii is uncertain al~aut
hc~ti~ to dist3-ibtzte any ~maustts which it i~as reLeiveci, or ~c) determines that tticrc is Tiny t3ispute
a~~loi~~ t ie F#e3~eficiaries ht;r~:tc~ abvitt hc~«t s~~ch amciuiits sliot~Id be distribi~ted~ the Tn~stee inay
;chr~r~se: Co defer dis[ril~utiozi of the a«lounts ~cvhich arc. tt~e subject of-stitch tinccrtainty: or dispute.
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Yl7e ~3eneficiaries ~~re~ t}7~t - the Tnist~e shall l~av~ the r ~l~t, at zts option, to clepo~it t3~it1~, or
~omnie~~ce an i~iter~iteader procecdi~~g in respect s~~; s~rch amounts in Ci e Cac~rt for a dcternzin~t on
by tl~c ~~i~rt a5 to the correct a~plic~lioi~ ot~ such amounts Ilercui~der-

                            ~s)      Each of the $enc~~ciaries Hereby agrees that (Y~ the Tr~istee ~A.}
except a~ rsth~r~visc expressly sc.t fartli herein, has nod ~iroviclect nc~r ~~itl it provide in t11e future;.
any aduice, cc~ut~sel ~r npiiiion regarcliug ti~is Agreci~ie~~~ or the tcan~aetiot~s ctinteiiiplate~ }~ere~sy,
ii~clutf n~ ~~riti~ respcct to the tax, fii~anc at, invest~i~nt se~uri#ins la~v or insurance ifnpticatii~i~s.
a~~d ~onsec~u~nc~s of tfie consucnn~atio~i, fi~tiding and ongoing acitt~inistration o~'fi1~is A~reetne~t:~r
the ii~iti~t atzd ac~gciii~g setecticin ~ii~ci n3b~zitt~rir~,~ cif financing arrati~eine~ats; (B) h€is nt~t n acie a31~•
 nvest Batson as to the accuracy car ca~~~pt~te~~ess fl~ any represetttati~ns ~~rarrantics car other
obli~at c~n~ of-a~iy Person i~zicie~- t}~is t~.~reei~lent car env Qt~er dacurnent nr nStru~i~~nt {cagier tl~aia
the Trustc~'s rc~rc~enfa~io~~s and ~varra~~ties, if any, e~pressly. set forth i~~ this A~x~~:ment~ and
shad nest.l~ave any IiaEiiiity iii cc~niiectic~n tt~cree pith anti {~) zfs nc~t ~re~~areci ar verified, iitir sEiall
it be resp~rtisiiale tir liable fbr, ~~~y iz~fon~~at can, discidsure ar otltcr sta~em~nt in waxy c~i~ctostire nr
c~fferi~~~ d~ciinz.nt ~elivereci in cc~nnecti~an ~vitl~ t1~is Agreen~e~it, a.i~d (z) it will; rz~a~~ its a~vn
~teci~ior~~ reg~rciriig its rights slid ~ro[ccfions ai d will gnat rely on they Trs~stee regardf~ig such
dcci~iaizs:

                             (t)       AlE ~rrittc:n directii~n~ given by a~~~ Be~~e~ciary to ti}e T~.istee
r~lat z~~; tc~: the Trost f~ssets ~ni~st b~ iii z~rifin~; signed- by a re~r~s~iitative o~ s{tc13 Beneficiary
idcnti~ed cii~ Appe~idix I l~~;retq (gin "~1.utYic~rized T'er~on") and delivered to tltc T~~istee, as such.
Appendix ~ r~~ay ~e a~ne~ided' fcc~n~ tir~~e t~ ti~~3~ try a gene ci~ry by notice to t~r~ Tn~stee delivered
in acccirdance ~~aith ~l~is A~re~i~~ei~t. Directions rilay be delivered tca tIi~ "I'xuste~ in pexs~ti or by
U_S. Malt, av~rnigl~t courier, facsin~iie car etr~ail. Email direct ans will be dc~~a~e~ ~utll~riz~d arit~
signed by an:Aitthorized Persfl~~ if'seizt frc~~~ an e~iiail address pi•nvideci iii Appendix I ~A~~t}~orize~i
Pcr~~ii3 ;} attaeilerl tai tips A,greenlcrit; as tlic same nzay be: u~ciated ,from tiia~e tea tine by the
Bene~ciarics arid: dclive;rec~ t~ the ~'~~usi~e (".~ttctZor zed Persons L'sst°'}, iviti~ visible electronic
cc~raies icy al3 c~tljer taut~iorize;ci Perso~is. TI~c Trustee will have no liability ultder this Agceei~lent
far relyzng on ~z~d acting upon a~iy firm cif directia~~s ~.r~~icli it t~elte~jes tc~ be ~eizi~iiie. ~f iii
t1~it}iorizeci Person uses ct~laiI to sc rx~ ~iirectian:s tt~ title Truckee, the>applicabl~ Ber~efciary vili
ca~is~ all t1.~.;tllorizec3 Persons to seed et;~~ils f'r~n3 thy; en~air ~irlclres~ provided iti file ~uthcirized
Pcrs~ns I.~ist. `The Trustee ufill assume that all en~ails seni frar~~ ~ ~esignatecl,~rz~ai~ adcl~e~s have
been autl~ar zed af3c~ se~lt by an fluthc~ra:reci P~rst~n, until either Beneficiary no#ifies the Trustee by
cietiv~r}~ UF~n updated A~itlior zecl Pe~~sc~ns List that the eF~Yail ~deir~s$ is nt~ ton er valid: All em~ils
sent by clue 'I'rt~stee to a~~ 1luthorizec~ Person's designated ei~nail address ~viii be deemed delivereii
~vhe~i seiikE~y tile Trustee; liol~;~ever, ~c~tt~siti~ in this Section slia3l ret3tice the Trustee's ab#igations
t~ prc~vi~ie certain ~~otices by €Weans ~t1~er tl~ati epnail ilk acccrrdanee svit~i Sectic~i~ 6.~7, t~~ th respect-
tea rxc~Tice ftii~ ~vhici~ tiniy emait is rec~~tire~i ~urstaant fia this tl~rcernei~t; eac}i £i~~iefic a~-y tivaives all
claims r~~Liltin~ from an Authc~ricet~ Person's ~'ailt~rc to receive sent e~l~~ils. Tlie "Trustee will be
de~~ned to liay.c rccei~~ed and acc~pteii direction s {and obli~ateci. Eo pct can ti~e.rlireetic~n~) o~iiy when
tl~e'T'rust~e I~as received aa~d had a ~easc~nable tines t~kin~; intq a~cotrnt tl~e ~~3~~Ine~~ and nature of
tt~e directions, to rGvie~~j the ciirecti~ix~ -and ~csn~rm to flte ap}ilicablc I~ei~eficiary fh~t the direLtic~tis
lave bcc~i accepted by the T't~~stec. t7Yider no eirci~n~stances ~v 11 telepY~on~,. ic;tephosie voice
nzessagi~l~ a~~d other fc~r~ns of telepl~v~~ic, Oral c~mi~itnicat ~n., text, s;c}j~e: or .otl3~r for~~s cif
instant n~essagin~ constitute valid an~i ef~'~ciizr~ t~i~~ectiaa~s i;~xder tl~zs ~1gt~crnen~. Tlie Trc~st~e's
executio~l of any directions ~~et~uires a coi ~r~iercially reasonabic }~erioct ~f-titiic fnr processing and
~s ~t~bject tc~ the Trustees i~~teriial ~aolicies and pr~~~dures,.~ust~niary prc~c:es~irz~ ~t~ir~ctsn~s at~cl'
securities eteadlines, r~~utual fund Gonlpany pracessizxg deadlines, anti a~piie~ble market closiii~s.

                            (~~)     Tl~c T~.istee sl~~ll aicst be li~bie fc~r ~aitirig to cQm~ly i~r tti its
obi fat arcs i~zicler t(ais ~.~reeri~e~~t car ai3y. related do~urnci~t iT~ sa far as ~li~ performa~~ce; of suc11:
obligations is de~efac~ei~t upon the timely reeci~~ cif clirectio~~s ~i}cUor c~th~r infQrniatirsn Pram art~~
Ben~;fici~fy ~~rl~i~cl} are ~~o~ receiijecl or not ~~e~eiv~d ~t~ tl~e tirr~c r~c~irireci; Tti~ Tni~te~ s~~~ilt nc~t
have siny ccs~7~nsibility far tE~e ~cc~.~racy of ~;~~y iiYforn ~ition ~irat~iticd tc~ any:other Pcrscan that lies
Cecil obtained fra~~~, car prt~vidcd to the Tr~~stce hy, any Beaaeficiary:

          ~.7       Excuipatii~~i aild Tndeirini~~acioi : T1ie Trustee- sl~~ll riot tie p~rsc~n~lly liaiilc Cnir at}y
cia n~,-cause c~~ actio~~, or c;tl~er assertion:cif` liar 3ity. ar sine out ofor in r~tat ~n to tt~e discharge.of
the pavers artci dt~~ies ~c~tifcrred upon t~~ 'Trc~sT ~~~~far Trustee tiy~ ~ttze Se~tienief~t A~recincnt or
t(~is A~rec~ncnr ui~Icss #1~e Cak~1~, try a final Dreier that is not` reversed on.appeal, ~~~~is that tl~e
T~~~ste~ comiriitted act~.~at fraud, bad fa tdi, cvilifigt rizisci~nduc~, or gi~~iss ire ligei~.ce ter n~aCerially
I~reaclaecl its c~btigatio~~s €.xnder this ~~reen~e~~t ~a relation to tla~sc ~c~~,~uers car dciti~s. There small be
eta rrc~itttable presui~3}~tic~n t}i1t ax~y a~tican taken gar not takci~ with #1i~ express approval of the
Coiit-t dc3es. ~~at ~constit~~te air act cif aet~ial fra~~d; bad. faitl~,,ti~riltful misconcluez, ter gross r~e~ligc;ticc
car a ~~iater a( bread of this Agreeiiie~it. E~ce~t as sit ~artl~ in tlzc prec~ctii~~ seiite~ice, t13e Ti-i~stee
shad have ria liability fc~~~ tiny aataon t~icen, car errt~rs iii judgtii~~~t tnadc, ids ,~oocl f~iith ~iy it car ai}y
flf its'c~fficcrs; er~~plciye~s c~i~~ ~~ei~t~. No~l~ i~~ in t1~is A~rcenient shaEl ~~ coristruec~ to cYciit~aie the.
Tnsstee fi~t~rti any liability res~~ltin~ Fran ~ ~t1y itct or ~imissiotl ~oristiktifii~~ actual fi~aucl; willful
n7isc~nc~~~e[, or gross ~~e~,li~e3~ce ~~r a naatet~ial k~reacl~ of't11is A~recmene (in each case: as dct~r~nin~el
try ~ final; nc~tx-a~~pc~la~iic c~r~I~r froi3i a ct~~.~rt cif campetcnt juriscticti~~~);

~'o tli~: firtlest exte~it ~~cr~~~ittcd ley ta~~r: and t~rit~ic~ut prejudice to air}~ separate 3~reen~~i~t r~latit~g tc~
i~deirir~ificZtioi~ €~f -the Trustee, Crrace. shall. intlerr►n fy, protect, ci~fe~jti aiid t~sald 3~artiltess the
Trustee (in its ca~aacity as such ai d in - its i~~d victt~a! capacit~j), its a~~liates and tli~ir;respccti~Je
directors; c~f~cers, c~nt~~lc~yacs; sharek~ot~iers; representatives; trustee$, ~"raiitor•s, ~ieuefici~ries,
certi~c~ite l;citcle~•s, n~cnibers, age~lts, attc~~~t3cya, accout~t~nts and their heirs, successors and
perniitteii assi~~is {e~cl~, a.~~ "Indemnified Pei•so~~"} fram and'ag~in~t ~~~y and alt fees; ~xpef~ses,
darrr~ges, Iass~s, claims, liabiE ties; ~enaltics, causes: '~f action, dcr~iands, judgii~ents, taxes
{c~elud n~ ai y taxes cat ti~~ Trustee on or n-~easitreci liy, coinpcnsat on received by: the ~'r~istee},
suits Qr costs. (i1~. ~:ael~ case i~~cl~rdin reasonable a#tc~r~~e}rs' fees a~lci ~xpens~s, court costs ~.~ld costs
of investigation) of any ki~~d or nature ~v~~atsoeve~~: arising out t~f car in coa3necti~in exritla this
Agre~zt-i~t~t that may be irtip~scci ctp~a~, in~urrecl bye nt• asserted against si3ch Indcmni~ed Person,
incliidi~lg its co~i~~ectian ~~~itI~ (i} the exercise ar performance of any of the Trustee's rights; ~~o~~+ers


                                                         -15-
or duties 1~ea•eunder, a~i~i (ii) hn}t c~~fflrceineait {iricludii;~ an}y dispute, actinii; claim car suit brotigl~k}
by the Tn~stee of any- inde~~~~iifica~ion ar c~tlYer obligation of Grace (eaeli` of tl~c fore~oiti~,
„C1ain~"}; ~vi~ie_d,
               rt          ttiaf ~racc s1r~t1 ri~at be re~jLrired ~t~ ia~denrinify azi li~demni~ed Person for any .
Claim resulting frc~in such Inr3ei~~rzifed P~rso~}'s actual #~racid, grass negligence, bid fai#Iz or ~.tillfi~I
n~isc~nci~Gt car material breach of This Ag~cerrieiit (in each case, as cietern~iiied 1~y a final; i1an-
apse{~I~ble nrd~r trna~i a ca~irt of co~x~~~ctenr j~tri~dictir~a 1. ~ot3~+ittisr~ztc~ir~g tlye ~'oregtiin~; unless
anct until a find, non-appealable oz~der ~f a c~ii~rt of c~irnpetent j~:irisdic€ion determines that an
Indemnified Pcrs~ir acted ~u cli: gross n~: ~ig:.n~e, bail :faith, ter ~villfiil miscoi~riuci or fnat~r ~lty.
I~z~ea~tied this A~r~~r3lei~t, Grad sl~~i1 adva~~~e or r~itn(~urse, as reasc~z7atil}t cieterl~~i~iable by the
'~ruste,,, ~n}~ a~~ci all ~in~a~ii~~s due to such'ind~nini~eii Person pursuant tt~ t1~e foregoing i~demzaity.

          4:8       I ern~inatiori t Resi~,natian: of the Tnsstee The ciutyes, respQnsibilifies, ai3d po~~rers
Qrti~e Ti_ustce ~.viil iermir~ate air the date the Trust ~s term tzated in accordance ~~ittt:tl~is Agreement,
t~i~ by ari c~z~der of tl~e Coi2rt: Further, t13e "Trustee may resign at a»y dine by diving at least thirty
{3t}} days ~ri~~- ~~rrittei~ notice thereof tc~ tt~e Beneficiaries anti any ~o-Tru~fiee•, end tl~e r~signati~F~
shall become effeeeive u~~on the delivery of ~IYe'Tri~st Assets to the succe5s~r Trtastee appraintecf
un~tez~ 4.i0. Sections 4:5 thrt~u~;l~ 4.7 aboue sha11 sur~+~ ve Elie t~rmi~~a~ion ter assignment oftliis
A~r~~e~~~cz~t end the re~i~~ati~n flr xen~c~vat of tl~~ 'i'nrste~;

          4.9       Re~~lacent~ric. '~'h~ Tnastee n~~~~: be r~ia~oved; with Qr vritl~aut cause; ai~cl repl~ceii
upon thirty {30) days't~1ritterY ~Z~itice y:~ j~i~it 3~rittert tleterti inatiQii off` the Be~ieficiaries. T'hc
r~~riciv~t sh~rll bee~me effective upon the - deli~c=cry of the Tru~fi Assets tc~ ttie sticcesso • 'l""rctst~e
~~~Spttiitted aincle;r ~i.10.

           4.It} Appointment ~afSuccessar -Tn~sf~e. T~`, aI ally ti~7~~ a successor Tn~s~ee is required
 for finy ze~~sc~n, sc~clt successar shall be jc~iY~tly app~iilted in ~vrzting by Eh~ Beneficiaries. ~~iy
successor Tri3stce appoi~~ted hcreu#~t~~r `shall execute an .instrument accepciii~ such appoultiner~t
l~ereuncier anti sl~ali file s~~cl~ acseptanc~ with the Parties. The~•eupt~n, s~ich successor Trustee stall;
ti~it}~out any 1~.~rther act, hecciine 1~estec~ jvith alt t~~c properties, rig~~ts, pa~~vers; tnt~ts~ az~d dtttses of
_its. prectecessci3- iii t7ie Tt~st ~vitti like ~ff~t as ik~"originally nan~~cl 1~erean~ ~i~c~ .a removed or
t`u~agiiizig Trustee shall, ~~t~ci3 requested in writing by the sticsess~r Tri~st~e; execute aliri rieliver
air instrLcn~enf ~r instruments convc}ritr~ aid #rans~'er~~ing;t~ such s~iccessar Trusle~ ~inc~er the'Czt~st
III tt~e Trust assets i€~ the cl~st~dy of such ~reElecessciz` 1'rtistee. A s~~ccessnr Tn~stee appointed
under t~7is ~€. t0 shall tie a a~~tianal t~~n~cing t~s;~c~ciation `sir bank a trust ~oai3~~any cl~a~~tere~i iii~c~er
tl~e ~~~~=s of Pen~~sy~dvania; f~avrng a capital and sur~itus of ~t bast ~2(1~,~00 DOtl. If iici st~ccessnr
Tnistee is timely aPpainted, 'and shall l~aue lit~Yet.y acce~3ted s~cl~ a~~~i~i~~ttaient, tI~~~i the Tiirstee
may, at tl~~ sole expense cif-Grace including ~vitl~ respect to attorney's fees and expenses}, petition
the ~o~~rt far tl~e ~ppcii~~i~n~i~i of a s~tecess~ar Trustee.

        ~.1. I Na Bt~nd. Not~~iithstattd ng._any state t~~~ to the ~t~ntra.ry, the Trustee; inclt~din~ any
succ;e~sor "Cn~stee, slz~ll be ~xe~i~pt from giving any bcii~d or atl~er security in any juri~diceioi~<

                                         ~,:i~TICLE '4~
                                TRUST RE~O~S, TAK R~.~'C}RT~I~G

        S:1      Accaunti~~~, TI~~. Tn~stee will }~ravirle quarterly statements fa t~i~ ~3e~~eficiaries t1,at
i~iclude a listing of alt transactions, rec~i~~ts, and ctishursem~iils iic~ring tl~c }~reccding quarter,


                                                       -17-
tc~~etller ~viti~ a c~irrent listing t~f' tlxe `I~nist t~.~sets: ~Zeld in t}ie Trost t~ccc~t~nt ("A~cc~~►nt
Statei~~cnts"~. ~_ach t~f tfie. F3er~elic;iarics agrees that tli~ f~c:coiu~t ~zatcineai[s iii ~ f~i~~m custaii~arily
used by tEle Tr~jstec~ tivittY respect to its test acc~~~nts art acceptat~le as co~lfirt7~at can crf all Tr~~st
r~ccou~if trai~sactic~ais. ~aeli of the ~en€~f:icia~~ies unclerstancis ~I~at it z~iayF ,at na ac~ditic~n~il cast,
request fi°om Tn~stee a rnc~re tictaile~ traxlsactio~~ ~-cpc~rt z~rliac~~ niay be `I'r~istc:e's fc~r~~~ flf
cunfirznatio~x car a bi~i~~~~x de~iler's cc~iifirn~atinz~, as a~~ Iicabl~. U~~c~n rec~i~~t cif ~cc4tirit
St~ter~~ci~ts, each of tf~e Beneficiaries agrees` to promptly review diem ~t~ci to file. ~t1}~ abjectioc~s
tivittiiz~.sixty (~0} days:after tt~e r~:ceipt cif ti c A~cc~tant Stakement. If nt~ o~~ection .is recei~red by
T~~~stee ~uitltii~ lire sixty (~tl)-~iay }~cr cid; the Acccat~~~f Stateme~~t will ~e ciee~iaed a~~provetl grid
ratified by the I3eneficzar es ~nci' wilt b~ final anti b ti~iiig o~i Elie ~3e~a~ficxaries. t~ii ar t~efare
Febniary l ofeach calendar year; the"1'rastee shall prt~vi~e tt;e Beneficiaries u~itl~ a sfaten~et~t
refEectsi~g tl~e Tnist Assets' balance, as of Decernbex 3.I of tlae, iintnediately pxececiing year;.
sui~Yn~arizing all 'Trust tr~snsactrc~ris #'rorr such prcc~ciira~ year:

           ~.~      `'rust Rec~icis. T}3e Trustee s~~all ma ~~tain ~rt~p~r ~o4ks; records, a~ic3 ~ccounfs
t~elatin~ try all tr~a~sactioris peri~inir~~ tt~ t.l~►e'T'rust, and the a~set~ and l a~ litres ~aftli~ `Trust, in such
detail and fir such period c~i- time ~s ~t~ay be necessary to;ct~al~le t~e'Tn~stce to ;-;lake f%it.l a~~d ~roper
accatt~~ti~~b rec~i~ired E~t~der t~~ Sectit~ra 5.1 a~lc~ tip comply l~~ith applicable pr~v si~ins of l~iv ani~
~;oc~d ~ccountiii~ practices; ~tnci the ~3ene~ciaries st7aii liav~ tide right, upon reasaiiabtc advance.
.xrriiten notice ~eiivered f~i tlic Trr.istee; to ins~aece such bci.cik~ and rectird.s. E~ eept a~ otherrvi~
faz~c~~~idecl herein, ar as reas~al~abiy c~irectec~ Yr~ the. Be~ic~~iar ~s iir o~jr f ~~~, tfie Trusie~ small not Y~c
 rec~t~ir~c to ale an}r accc~~~ritiri~; ar seed =~pprc~val "of t11e Court ~~ith r~es~aect tit tl~c ~dnzii istiation of
t1~e Tn~st, ~r a~ a ct~~~ditioii for malting ~iiy ~~yn~~nt car ~listrib~itit~n o~it of tti~ Trust 1~ssets.

         ~:3      Tex I~3fbrit~atian. Subjeek tei dsfin tivc ~uit~ance groin tl~e Ir~ter~lc~l R~vez~ue Service:
or a judicial de~isi~~~ t~. tlz~ ccintrary; tiie Triistce s#tall furnish eci Grace or` any citl~er parry.
cn3~tril~uting 7`r~~st :A~sets tee the `I'r~»t suc}~ statet~1ents and:aciditi~nal irt[~ar~natio~~ as to items of
income, dc~iuct on, ~i~3d credif iif tl~~ inisi far tli~t tax y .r~r ~tt~-ibtitaE~le to the particin c~~' tlii~ Trust.
treated as Qti~Jned by -that party iii ~ccc~rtlancc rvitli Trcasut-y Rebutatiotis ~ f .Ci71-~ at~c~ ~ 3t)1.77D 1-


         S.4       'Tl~e 13en~fic.iarics rta~y elect ti register to. use ~asstive~rd ~~r~itecCed scctioi~s' cif
~~cl~sites sponsare~i by F~iC Ban1e, Natit~zx~l A.sst~ciatic~li thrc~u~~i ~~il~ici~ tine Beneficiaries - can.
access t~~e T'r~~st Accaur~t ~(``5ites"). Tlie >~3et~e~ciari~s ~vil1. be rec~uircd to accept ~ ~*~~bszte riser
agrcet~~ent{s) fair ttic; ~it~s {tic `<i~~ebsite t~grecr~~c~~t"j. If tlier~ is a ca~~tlict ~icttuc.~n tt~c terns cif
  t~l~bsitc A reetnetit and phis Ag~~eet3iet~t, CIY~ fer~t~s cif the V~~e~is to A~r~ernent ~~rii1 apply to tIze
I'~rties' iisc cif tlic Site:

         ~.5      Tai Rep~rtin~. T`t~ ttl~ extent dir~~ted in.c~rritii~~ b}7 tt~e T3ez~eficiaries; t}~e "I'r~~ste~:
shrill also ~Ic (tar cause to 6~ Clcd} anti ~€her statciiiciits, rcturiis, cir clisel4sures,-each iir the: fcirin
~rs:,sented to f1~e Trustee, E~rar ~li~~g rclaf 3Y; to rt e Trust: that arc r~t~ittred by anY applicable
~avemme~~tal unit ~z~rllicl~ tl~c `I'i-uste~ shall !rave i~o ciitey co v.erafy tar co~l~rn3}.




                                                         fi g_
                                              ARTICLE ~I
                                    i°ViISCELLAi~'EOUS JPROVISIOi~~

          6.l      A~taet~dn~ei~ts aril ~laivees. Aii},l prbvisi~iz~ ~ftliis`A~r~ement may be a~ixe~ided or
~~ai~~ed o~xty by n~utc~ai written ccx~sent of ttie Trustec~ the. State, and Grace. t~oriset~t will nc~t be
~iF~~~eas~lial~ly cvi#iriicld fi r an amen izn~rit pra~c sed b}r Grace ttie sale ~ftect of1vl~ich i~ to fiirtller
tine `Ei~c~st's c~~ali~ca€icon as an "envirr~zimezital rcn~~liation tr~ist,°> pravidec~ that stash elian~e dies
r~.at affect #tic substantive rights_ or obligations- of the Pai-~ies ar tize T~-~stce, X11 fees, costs: a~~d
~x~e~l~e~ (i»eludi~~g reasof;abl~ attgrn~ys' feesf :costs' arYd expetlses) it~tcurrett by tt~e Trustee iu
canr~ection with aiiy a~a~endinei~t i~x ~~jaiver shalt be payable by'Gracc:

         62      Tax. 7'reatnienY. 'I'l~e 'I'~ust crested by this. A~r~en~enf is iilterlded by Grace tea be
t1-eatcd ~s an Ealvirai~mental Remediatic~ri 7'rt~s( ftir feder~~ irican~e fax purposes at1~l, ter .the extent
~rovitleci'by l~~~r, this Agre~t~lent s~iall be gavcrnccl ~~ ct e~nstrued in alI res~,ects consistent rvitt~
such intent.

        6.3       Ccro pcratioii: Tlie Trustc~ sl~adl t~ske si~cl~ actia~l~ ai d execute s~ici~ ciucun~ents as
are rcaso~~abl~ ret~tYe3te~3 b}F file Berief cia~-ics in ivritin tvitla respect ~~ e~'~ectt7titi2ig €~c Settlen-te~le
A~zeetnenE anti this A~reeztient ailci the transactions ez~~~te~nplatec3 thereby: To tIze extent that tl~e
Beneficiaries regt~~~~ tie Trustee t~ take sk~cl~ an zction,:tlle Trustee shall dc~ ~o at #Its sole expense
t~f GFace, ~~+hc~ ~~ree to separatcty ui~c~ and pay such expet~se(s~:

         6 4:       fac~vern~n~ I~a~v~ Juz~i~ti2ct~oa~- T~iry.'I'r~al. The: Trust ~4ssets; ilie rights, c3c~ti~s, anti
o~ligaiic~sis arising uncle€ this Trust Agreet~ent sli~tll be g~vei-~~ed ~iy, and carsStx-ued and enforced
in acccird~nee r~vitts, file I~~~s ~~ LIiL Gommankveaitt~ of Pe~lnsyivania ~vitl~Qut ~;i~in~; effect to'.t~e
  ri~iciples of l~tw tt~er~of that watt t'ec~i~'sr~ f~~~, application of ~~re ta~~s a€any other jurisdiction:
 Eacd7 of the ~;igi~atazies I~~re. to irre~oeably,siibn~it~ to the pion-exclusive-jurisdiction afany State ~~
~'cdcral court sitting i.z~ r~.11~e~heny C'~~,rnty; ~'e~~rasylva.~iia in respect :of any action sir pracecdiil~
pertaiiiitag solely tci t is ~oiastruct on c~~ the Trust Agreement ter tt~e adn3inistratio~-~ €~f fhe Tzt~sE..
~:aci~ ~aarty to`tl~tis a~r~ement:irr~vocably waives; to t~~e fiallest ext~~it.p~ri~~ ited ley applicat~Ie la~v;
at~y ~abjccti~in or defense that it n ay nn~v ar hereafter have. tc~ the i~ying of vetiu~ cif any such
prflccec3ings pertaining stalely tc~ tl~e ~;t~ns#ruction t~f tl~e Tra~st ~gr~ement ~r the ~dmii;isiraticit~ of
tl~e Trust il~ a~iy such c~iuri x~nd any clairil thai ~~ny proec~d ng brciuglit in any such courf i~~is been
broti~ ht in an ncc~z~~r~ni~nt forum. ~'ACH PA .TY H~ItETC3 H RELY ~V~iT~ES THE RIGH`i'
TI-iA`T :IT MAY I.3AVE T~ ~ TRIAL: B'Y 3UR~' C?i~~ ANY ~LAINI, Cat1t'~IIT~RCLAIM,
SETO~~, D~Ni~4NT~, 1~►~TIOItt ~R CAUSE U~' 1~GTION S"ERTr~ININCr St~LEI:.~' TCd THE
C:ClNSTR:LIGTIt?N ~?F T~-I~ TRUST' A.~~2~~'M~N`T t?IZ. 7'~~E ~Z~i~1Il~tIS`I'~A`I'I{~i~S Off' TIIfi
TRI.~S~', IN ~iLL, OF TIDE FC3R~Ct~ING CA~~S V~IIIETH~ K. ~+~OVV EXIS'l"~G C)R
H~RFi~,F7°~iZ ARISII~IG ANI~ ~VHET~-I~R St~L~NDIi~G IN GON~'RAGT; TC3RT ~I~
t7THER~ISE. ZACH (~F THE SIGNA'1'C)RI~S ~-IERk TQ HEREBY 1~VAIVES PERStJ~AI:
SERVICE ~F THE SUM~~ON~, C()Iv~PLA.II+;T AN[~ t~'T~-I~R. PktQ~;FSS TS t1~i~ ~N ANY
St..iCH ~CTI(3i+t QR SCitT ~~JL3 ACITtEES TI-Ir~T SERVICE ESP ~U.C~~~ SUIvIivlONSa
C~I~iPLATi~IT Al`~tD CC:~TFIER F~Z~7C~SS Mt~Y $~ MATTE BY RE~IS'I'EI~ED C}R: CER1'YFIED
IvIA1L P~I~bR~SSED Tt~ IT AT ITS i~It~TICE AI3T7R~SS AS PRt~VIDET7 ~IEREI~ A.NI~ T~~AT'
S RVIC~ ~t~ zV1ADE SH~T.,L .BE DEEMED C.OMI~IETED UPUN SIGNATQRY'S ACTUAL
RECEIPT THEREOF. N~thin~ in t~iis P~ira~raph 6.4 shall be ce~iistruei~ to establish choice cif Ia~~r;



                                                       -I9~
jurisdiction, or ve~~cue, nr waive a~3y jury rights that i3~~y cxi~t in coainectiot~ ti~v~tl~ any proceeding
nc~t solely ~~ertait~ing tc} tl~e constnictior~ flf tl~e Tn~st ~1~rcenient or the ac~an~i~isiratioa~ c~ttt}c Tr«st..

           6.5     Sites. The initial sites of tiae Trust sl~afl be €tie State of I'enz7sylva~~:i~~ V~itl~ the
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studies and ~tata; z~ is riot af~ c~ hai~stive sti►~~n~ary cif this infcim~ati~n. This ~•epoxt aisc~ d~scrib~s
the types ttfrestr~ratic~n ~roj~ct$ that coutd 6e impiernetated to ~ort~p~i~sate_ fir Icasses~ fie types tit'
ecc~to ic:at values tlxat ~:aulci be providet~, aEid the anticipated_ criteria fc~c selectir►g restaratio. ti
prc~jc<cts. The settle~~nt r~fleccs the juci~r~~~;nt and e:~~eri~i~cc of c;~perts Zvi• Graec; an~i the
MQritana Naturat ~.esource T~amage ~'ro~a~am (`<]~'RDP„}

TI3~ NR:D~''s mission is t~ act on bel-~alf cif tl~e ~overnQr cif 1}~e State of Montana, t~~~ #rustee,: ft~
recov~t- t~ai~iages:fctr nati~trat resotr~~ces i~~jz~rLd by tfie,retease 4F hazardous substances and t4:
restore, r~h~bilitate, replaee, cir ac~juire #[~e ec~t~iv~~le~~i of ~1~~ injured i~:atttral resciizrces.

I.        N.~TLIRE iDF THE ~T.~TE'~ ~LItEG~B I~4`.TIIRTES

[nforni~tic~7~ cgllectecl ~t t}ie Site under the ~vE.i~sight a~the C1:S. Erivir~r~rnent~l Pt~atecticiit
flgsncy ~;E~'~) in c~iisultatit~rl tivith tl~~ 1Vio~~~~xi~a [Jepartmen~ t~f Environnient~[ C~uality (I:~E(~)
anci c~tl~er a~ez~cies pursuant to ttie Cc~r~~prehensive Envicc~nii~e~~ta( £tespaiisej ~csi~j~er~satit~~~ a~~d
Liability Act, 42 t1,S:G, §~ 9601- e~ sc>~- {~ERCL~}, as well as atl~ier infs~rnlatian, has ~iecn used
by iize State grid Cr~tce to evaluate tl~~ nat~~re cif potential ~iati~ral reso~~rc~ i~jur'ses and potential
I Est s~i-~rices in canneetian cv tl~ tt~e se~tleme~~t agree~~~~~zt. Some. of this inforniatiat~, i~~cfuding
reIeyanf baek~rot~ricl infc~r~natiani is str~nmarized fae[o~=~. The State leas nc~t conducted a "fc~rina~
natuc-al reso~~rce damage ~ssess~~~ent (NR.~A~ at tiie Site u«der U.S. D.~partm4nt cif Interior:
{pOI) re~i~tatians prci~i~~~l~ated t~n~er G~R~L~1, 43 C.F.R. Part 11, car under the Monta~~a
Coia~prelzensi~~e ~nyrarun~ntal C~ear~up and Res~sonsibilit}j Aci, 75-t0-7D1, P~~1CA, et;req.
(~~C1~}. This tii~c~~n~ent dies trot include all cif the infc~~-i~~atic~n that ~vo.~itd be ~r~ a~~ ~T;DA ~~icl
i~ E~ase~l tin ttie infarn~afit~rY ~atlierc.d t~ date.                                                   ~ ~-




' As i~idi~ated i» tine Sztt#eit~ent rlgr~eme~at €~ec~vee~~ tl~e Stag and Grace, each Party de~xies #Ite ~llegutic~ns oft€~e
other, Grace asseres tttigt tiicre are i10 si,~i~ific~iat natu~~aE i es~urce damages {NRD~ a~ car re€atcd tc~ C7tJ3; the State
asserts that tf~ere are. mare significant iVKD at or rotated try ~}U3. The Sett9~i~~e~~t ~green~ent represents a
cc~n~pransise tl~ai compensates ilae Stain: (as tn~s~ee) fir the c~ai~~a~es that ii alleges iii exci;a~3ge-for a release o~'all ~f
the State's NRI3 s;lais►~s against ~r~ce in car r~i~tea tc~ the Libby r~st~~stns Stip~rf~~nd Site. The Setilef~tent
Agreenxent tc~ tvE~ich this r~.port is attacileci is soi~ly on behal~af t13~ State ~r~ci Grace, ai d does #lot expand or limit
tEie Ie~at i•I;lits or abii~ations of any p~i~son or e~lEity atiier E}~at~ the Stag ~a7d Grape:

['age 1 of 17
         A.,      Site ~~istar-y az~r~ Assessment

~~.r3 of the Sits consists of z former ueri~iic~slite r-~-►ine and adjoinif~; forested tands,,lc~catec~
ap~araxi~inate[y 7 ~~iif~s to ctie n~rCEteast cif flee to~~n ci€Libby; Monta~ia. '~'he formeJ~ ti~ined arcs
a~;d "s~j~~la~ciiatet~~ stti-rattr~diiig area are oti~t~eci aE~d z~~at~a~ed b~~ tJ~e Ka~at~t~ai Developrzae~jk
~o~i}pai~y (~.DC), a Grace subsidiary; other laird ivitt~it~ ~I13 is i~lan~ge€I by t~~e 1.1.5. Forest
Service.

T}ie fcirrrier vermici~li#e mine r~vas c~perated from tl~c carry Iy~i~s to 1~~0, initially by the Zonalite
Coi~~~any, ~~dl zc}~ sold tl~e mine at~d prc~cessiiig facilities tc~ a ~>r~decessaz ~~n~paiiy to ~ra~e iii
1963.. Histot~icalty; vet~i~~ict~Iite f~~r~iii the for~n~er ~i~iinc ~~+as rised i:3 itZsc~latian, feed aticlixiues, jai!
arn~~~►dments,,pac~ag~ng, a~~d cc~nst~~~~cticrn made -ials, Vermiculite ors, exc~v~ted ti~~rbtird~i
~~vaste: t•ock), i~~ine tailing; a~ic~ asscicia~ed t~3aterial f'rcit~i tl~e fi~rttaer rriine c~r~t~iia an~pf~ bale-
type: ast~estos a mafer~al in the ~eala~y in tf~e ti~iiae area ti~~t is teriiic~d Libby aznpliibc~l~ ast~e5tos
(LA}. ~t~~li materials also inay cc~ntaila non-asbestos I~iazardc~tis substances.

  IViinii~~ operations incl~ided blast and drag_ lirse iitin~ and milling of are, tiviti~ are.proeessing
  lak n~ ~Eae~ onsite dc~~•i~~g most of the time tl~e tl~in~ ~~!as i~~ c?peratinn. Boni tlr5' i~°~ l.li~~g and vet
  trsil~in~ were canclucteti at the thine-site up tci app~•axitii~tety 197~},.aftet• ~vl~ic~~ t1~e e~ztite
.'operation c~sert vet ~~r~c~ssii~g (N1'~JN 20t 6). Ir~,~~7?$ the State s~sci~:d to brace are. opera ng
  perttiit u~~~er fl~~ I~~efa3 ~iriic I~eclaizZafion Act. Grace cij erat~~3'tl~e niii~e uridet~ ifs peri~~its; arid:
  ~e2-forz~~~ rectat~~ati~at~ ~f mined Ianc~s as they ~~iere taken c~~:t af~a~~rati~azi ~M~V~-3 2016). ~linin~
 operatio~~s ce~serl cc~s-~lptet~l}r try I~}90, f~(lotived by f~~E-ti~et• ~~ecit~nzatian efforts that i~~cit~cied
 de3~3c~liCiot~ af'c1~ia~e facilities, re-ct~i~tatrt•ing oftl3e mired areas; at~d revegefatiat~ (1V11~~.TH'~Ot6):

Ict ~ctQber 2(~~2 ~~?A added tine Lii~t}}~° Asbestfls Stiperfitnd Site tti the I'~~t ona) I'eiorities.L se:
EPA ~ividecl ttie site ir~ta ~nu3tiple operable i~~~its: Far ~iJ3, ~ i'en3edi~1 int=estigatioi~ (~I) uflde~•
C~RCL,t~ b~~ai~ in 2Q4'7: T'lie RI eras perf~rtiied in ~~tase~, at~ei inelcided ct~Ilection n~ tiiore tliata
3,300 ei~viror~nientaI sa~~~~les fay I.;~ anal}=sis and more il~an 50~} sariiples for nat~-L;A analysis
(~~.Rt Grace & C~: ~t al, ZOI9}: St~rf~~ce ~v~te~~, sediitient, set~im~nt pcir~ ~vater~ grouncl~,~Jater,
soil, r iii» ~+r<~stes, ft~rest ~lii#~f, ire bark, ~iir, ~nct fish anci rnan~ii~al tissti~ ti~ ere sa~iiplec~ for
areal}psis;

 EP1~ ~oncfiucted 6aselir» ec:oio~,ica risk ass~ss~~esits (BET~A;s) as pt~it'of the Ri. TEie c~t~jeetive of
 the risk assessme~~ts vas tc~ detei•~nii3~ the patentiai ~'c~r currenf or fti~ure u~~accept~ble risk to
 ecotogic~I receptas~s (~.~-, fish, aquatic: invertebrates, te~•~•~strial plants, terrestrial inverteki~Yates,
 birds. ar~d n~a~-ttin~als) ti~Jitt~in (?L13. EPA puE~4ished ttvg BERAs that there th~:cul:tie:ration ofth~:
 e~oiogical st~id~es. Tt~c first evad~~ated eccr(csgical risks' potentially sssciciated ~,viti~ non-asbestos
 h~ardaus sc~~sfa~~c~s, such as i~t~r~;anics ( Pon-Asbestas BER~~ {USEI'!~. 2Q13}. Tl~~ second
 eaani ~~ecl eci~fogical risk ~c~tentially assaciateti ~aritl~ I.,A (AsE~estt~~ SERA} (t,ISEPA ?(}14}. A
 summary of ~It~ risk assess~Yiei~ts is presented in the fii~a] RI report {I~t1~~i~ ZQ1 b}. ~~•ac~ and:t}3e
 State consicterecl the data cditected for tlxe BERAs ~itd IZI, as e el} as adc~it"r~ir►a! inf~rm~tia~~, in
 their respect ~Je evaluations c~f~~~otenzial natural rest t~rce it~jt~ri~s acid s~.ry ce tosses in and:.
 relats~i~ to ~U3. Some of the data ~~ld a~-talyses are clisctissecl its greater detail in s~~bseq~ieKzt



 Pale ~ cif 17
sections oftliis doc~ime►~t. T1~e State does F~c~t abree with all analyses ~t~d cc~ncli~sic~ns presented
iii tfzese rej~~rts.

         ~3.      C3li3 ~~bit~ts

4~U3 provides a range of habitats fcir aq~i~tic anti upland species. c;~eei:s az~~ fh~ii~ associated
ri~~ariar~ zr~~}es, ponds, ~vetla~ic#s, and ciplar~c~ i~abitats.

                  1,       c~.t~uatic habitats

'I:he pri~naryf surface ~,~~aters iii Ot13 that ire itZost fil~e4y;tca l~~ve rc:ceiverl asEiestc~s anti c~tf~er icon-
~is~esfc~s (~aiardous substap~ees t-z4ea~ed as. a res[~}t of r~sYiiiit~g acti~rities arz tiyiinin the Rainy Creed
~~+~tersfieii {-~-L#6.l kr~~) and incl~~d~ R3i«y Creek;, Fleet~voc~cl Greek, ~~cr~~}, 'Gi~e~k, pc~~t atts of
tli~ ~iiie Tailings I~#ipokand~rae~it ~FTI}, thL:Mi11 Pond, acid potentially-the Kootenai River, itaitay
Creek is divined it~ta tapper Rai~~y Creek (nc~~-~l~ t~f the ~~ii~~e area} and I:.c~r~~rer:l~.ainy Creed.. R~in~
Creed floes i~ tc~ tiie Kaatei~ai Ri~rer a~pr~xirtzatiety 3.9 ktn soirEh of#h~ nlirie area.

Fleet~ve~ad Creek fl~a~vs east tc~ ~~~est on t.~~e nartl~ern b~rcler t~~t~a~ ~a~ine ar~~ end ~ha•~ti~h a
ptir#ion of the;~o~rse tea lit~gs pile pa~icrr to disc~~rgii~g tea tl~e ~Tt. Carney Creed. lies sotat~i of tlae
nine aria aiid f7c~tius along the tore cif ih~ 'Vest WasEe Rock Pi1e'bei~ore j~iiniti~ L~ti~Jer Ma ny
Green j~is~ ciol~rtistr~a~n c f the it~(i!! Paxid. Rai~~y creek ~~tti pnrtii~ns of E ot~~ ti`ib~;taiy sr~eks ate
per~nniaf {tJSEP~: X013) ~n~ ~rc~vicle hatii4~t far ~ssh end ac~i~a#ic inve~'tel~rat~ con~r~iliniti~s
~~I~rVi-i 2t}16}. Ri~iarian areas accur alo►~g fine cree~.s any€ ~arc~vide ecological tieaie~ts such ~s
~:1lanne~ stability, shade fir tine streaa~7~ erosiat~ coniral, energy ~(ot~, nutr ~r~t cycti~ig, wa#er
C~'GI1I1~.;? Hydrological f~inction, and plant and animal:}~abitat (~1~~JA I.~9~i).


In adclitioii tQ the creeks, tlierc arc goncied areas ii1 t3U3, is~ctuding Carney i'atid I`ieet~i~aad
£'arid, acid t}ie Ivt It Pflrict. The F"I'T includes a pernded area that varies in size depen~iis~g on
~.~reci~it~ficsr}.. The F'I`I ~~7{} acres} «ras establisl~~d its 1972. to r~c~iv~ a~~d settle r3~ii~e taiti3xgs,
tlirougl constr~~c~io~i of the Kc~~tenaE Development Impoiandenent Dane {KL~ID} across Rainy
creek. 1~'l~~ter etYEer~ tt~e ~T'I f'rnn~ Upgea- ~ain~ Creek, ~'leet~~~aod creek, surface rrinoff, anci
~r~t~ndi~ater. The Mill Panci, ~vt~ic}i is taeated iii #h~ Rainy Creek clia~ iiel dci vnstrea~i~ (soil#1~~ of
the k.DID a~~ci jest nort~i of tP~u enti#~uence t~f Carney L eek, eras eoiistrtictecl to supply eater far
sriinin~ ~ peratit~ns al~d diseli~r~es into Ka ny ~re~k. ~VetEartcis-are ~iresent on atic~ a~Ejaue3~t to tl~e
FTI and ~ortiai~s of The other waterways, and prc~~xidc siii~tilar cct~to~ical taezicfit~ and.sez-trices a~
those provided by ripari~ra I~abitat~.

t~~ aciciition to #lie physical impacts cif i~3i~aing r~}~er~ti~rs~s, physical alter~tiotis €~f tl~e C)L:~3 habitats
I~~ve ciccurreci aver tt~e }~~:<~~•s clue to a variety ~f~#f~~r activities; inc~~td n~ tis~bez•i~~~ aper~t ons,
cl~ani~e4izatian far ~~Qad construction. ~I}CI ~T~~G~ITI~iI~ 17~ CLl{Y~C~S ~i1tl II1l~JOLItit{I21~IttS ~USDI~
~~Q~~.


                  2.       Terrestrial ~Iabitafs

Upiarid habitats within OUP consist ~ari~~~arily a~ti~e forrn~~- mined area az~d sura•ofi~ldi~}~ faeests.


Fade 3 cif 17
Tl~e area dist~~rbecl b}r mizii~~~ {inclL~diii~ t(~e`fc~rlt~es~ mitae~i a~'ea and f<iriiiee tailings
impc~ui~cir~~ei~t~ c~ye~~s approximately l; l00 acres cif OU3 {MWI-I 20I6}. This area is
chara~teri-r..~d by natil~e t~c~ck, soils aticf ve~,etati~n, as l~~lt as tivaste rock a~ad tailings resuiti;lg
~rc~rn past n~i~iii~g ac~iviti~,s. Durinb t}ie ~~erior3 o~'min~ aperatic~t~, hits az~~a dvas I~r;ely
iit~veg~t~~teii. Iv1in'sn~ activities nat cent}~ invol~3e pltiysi~al disturbance by liia* y rr~achiriery arici
excr~v~tint~, but also iF~elucle remav~f of to~st~il and ~Iacet;len#.af tivaste rock, ~~tllc}~ cljatts~es tl~e
~l~ysicai ctinr~itons t~t`tl~e soi! e~iviroiii~zea3t (e.g: Si~eorata et al. 2~1{} ~ai~ 1992):

IVl ned areas ~~ere r~clai~l-~ed as n~ii ii~b in those. areas ties p13~s~cl ~~:ifi:. Tulare extei siv~e
rec(asnatian eI'for-ts at the fc~rrner ~nine:~iegar~ in 1991 after arsine ~.Ir~sure.'I'ilese efforts inc[Licie~l
hydt•ose~ditYg at~d ref~t-esr~tit~rt:~~~itl~ zinc ~~id decidur~us trees::~ther ~•ecla~~~atic~~~ efforts i~xcludeei
tctrading; tret~cl~in~, ~t~~d other pliysicat itieasures to stabilize tfie ~~~iiie sxirtaec;:

,t'~t present, a=~~etative conli~ii~nities of the farmer rtiiF~e~i area incl~.tde fc~t~~sts ste}ip~ s~irt3b, and
   rasstai~d habitat, t~°stl~ grassland ar~d.sfiep~e sE~ru~ prciv di~Yg:tlie preciorriin~nf cgitei', Sane baee
sail ~ireas exist, prirt~araly c~~i ste~~~ly slop~ci ~~aste ~~t~ck piles and atl~er steep stapes.

(3~.~tsiEic~ of tlt~ ~'or~ner tni~~ed area; t1~e QiT3 terrestrial li~bif~~s.~onsist o~Cet~Z~erate n~c~ntane
forests, portions ofiv}rich have been tiistarically lc~~ged. T)ottg[as ftc as t#~e ro ost ~org~~ncr;i tree
t}rpe, p~-es~~t at ~~t~r~i~[ 35°l~ cif the Fcirested 13U3: aria, follo~~Jed b~~ I~cigepole pi~1~ (17~/~} a~3d
sp~•iic~-fir {l'7"/g}, ~i~ith western larch fo~~~.st oc~ about l i%o flf t13e forested [~nct area: TI C
r~m3inin~ area is ~o~t~[ate~i ~vit~i ~r~~~io~.~s eiecidi~nu~ species ~c~mmon in ~~at•Yh~ve~t ivl~anta,sla
(1~~~,~1H 2O16j. T`h~ t~U3 forest outside of I~DGlGrace c~~vnersti ~~ i~ part of tlic Kootenai National
Fnrest.

         C.       H.~7ar~3ous Substances Associ~~t~ct ~v►t~~ 1~.tlegett IV~tttral Resources injuries

Uiie fa ~a~~c~:~imit~t to tEie x~~i~7e al7d ass4ciat~d access roads, the agt~ati~ at~c~ ter •c.st~~ia1 habitats of
ttie Rainy Creek ~vatet-s#ieti have beer] ex~osecl tci LA alit[ outer. too»-a~E~estt~s constituents
released f~~an~ t4~e miii~ dr~a, i~iti3c~~►g3~ sc~zi~e ~~~ii~ediatiai~ has Qccurred, a ~~~al re1~~~edy leas ilc~t
l~eer~ selected for C?U ~,1~id reti~ediatiarz of ttie entire forested s~raters~~ed area ~uithi~~ ~JU3 has not
~icci►r~ed and nx~y got c~~crax~. Tl~er~~'ore,'surface ~f~ters: ~+ifiiYin the .a ny G'~•eek ~'~aterstiecl iri
t~U3 ren~~i~l e~pflsed to LA fi6e~'s anc! c~tiier zi~n-asbesta~ contai~ai~~azits. L3epending a~~ i~ieir
cartccnt~•atio~}s and other circili~ti~ia~3ces; these cat~stitu~~~t~ ha~re t(te p~te~~t a( to adversei~j a~f~ct
t(ie aq~~ati~, riparian, a~ui tez~rest~'ial s~3ecies that reside cs~• frsr~ge in these l~ai~'ttats~ ~rict tlierel~y
res~~lt in natural cesaurce inji~ey, Natural resnti~~c~ iiijt~ry ~~~~sed ~y the ri;tease of a hazardous
sut~stance could be tiie source of r~aturai resource daE~na~es? as defiraeci wider. C ,RCI:.t1, GCGRA,
aiid related uidance.

'T~}t~ ri'c~n-A~k~est~s B~R,~, {US~I'A 2Q13~; Asi~estc~s BEtiA US~PA °?t)14}, anal ~tI t-epor
(M~'UH 2f316~ iciE~itiCed a ~y~.~nat~er of haza~•dous subste Yces releaser! frazt~ ttie site mit~it3g ar~~l
E~zillir~~ activities an t present ~~rit~~i~z C7EJ3 at conce~xtr~itirans that c~tiict. pose rs'stc to ecr~io ical
receptors a~~d/ar exceed Circu(af• DEQ-7 IVl~ntatta l)Iunzeric Water C~~ia}ity Sta~lciarcls {I?EQ-7
Stac~d~~•cls) or EZcsicientia! Regional Screet3i~ig Levels ([~SI.s}. These substa~~ceS i~3cILEc3e



Pane 4 of 1'~
      •    f~~t1121121Fil~1,
      •    B~riuin,
      •    ~hr~miuin,
           CQb~lt,
           ~~~p~~-,
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     •     ~~c~i7~:°3I1~S~,


     •     ~G~~l1ltli1l a
           ~c~.t11t~31tt11,
     •     Gross alpha, anc~
     •     I:,r~.'

Itl addition, screeninb4level toxicity tiencl~s~~arks ~ver~ exc~e~ted i~~ cin~ ar n~t~re Site t3zecii~ f sciil
anti ~editnent} fc3r

     •    Aa~tiinon}~,
          I3enzo(b}#'tuat~i3tllene,
          8~~~7~(k)fluvranthene,
          C~dn~it}m,
     *    ~~Iuaride,
     •    Mercury,
     •    Nap3~tl7~lene,
     •    Nl~i"Oa~tl i3S 17ItCltC;
          T~~alliixni; ~ncl
          t'~sla~st~s.

Site i~~v~stigatio~as conc~~tcted ~s part ofitts: RI aii~i BCFtAs }~rere crse~ b}r EPA t~ ~ss~ss ttYe
de~re~ tv which these canstituc;nts were presetii iii f)U~ and pcaseti ecological risk. I'he RI ~atxt~
E3~:RAs provide date ivitl~ ~vl~icli to assess tl~e range t~f pci~siiale riatura! ~-esc~urcc d~ima~es in
~U3.'F~f►e data coll~c~~d fir €lxese studies arc; ief~rertcect b~l~~v i3~-the context c~fpc~tential fiypes
of natura4 resaut•ce inj~~eies end ~ervic~ lasses.-

          I1.        Per Se Injuries

EJnder the 17pT NRT3A regt~lati~ans, tiat~~ral resoc~rc~ injury is defined to exist ~~,~l3eg~
~o~zcent►-atioi~s of hazardous substaiic~s are in ex~~ss of certain t~tifality st~tidards ustc3e~~ the



'- ate ardless of F~~hetlt~r there is a r~le~tan# sta~~darcl'fc~r LA cn~icentrat ails in tl~c st~ri'acc ~~~4er; For pur~os~s of this
cegc~rt, riXeasurer! unncentrafio~s of L~ in surface ~v~t~r are compared to I7CC?-7 stantlar~ls and maximum
erirtart~i~~~nt tenets biased on ef#'ec#s froay~ cxpasure tt~ chrysc~tile ~sb~stas. I~EQ-7 daes a-~oi provide an aquatic life
standard.

Fade ~ of i 7
circi~n~stat~ces specified in tl~e re;~.ilatit~~~s (see ~3 ~:~',It. ~ ~ 1.~2), this is sora~etinres rr;ferrecl to
as "pc:i~ sc" i~ajttry,

A i-evi~r~~ cif tie avaital~le data callecfie~l as dart of the RI defno~zst~•ates the ~~ate~~tial ~~r s~
iriji~ri~s t~escrit~e~i belcit~s7.



Il.s ~a~~t t~f its screening aJ~alysis~ the Npn-tlshestvs BER~1 idei~t'sfecl tlYe potential fog• z~islefi~
agiFatic r~cep#ors fresit~ barium in sEtr~'~ce ~tifater (LlSE~?l~: 2013). In additini~, ~ox~centrati~ns above
cl~►~oi~ic DES-7 Standards for ar~it€tt~c Iife foriotal l~a~ and icstal ii-r~~~ ~ue~e oliserv~d 'sai stirfac~
~v~ter sar~i~les fro3~~ I'feet~~caot~ I't~nd (~t'4~I-~ 2016 . I7iSscilv~d ~Iz~F~~int~~~si ~~as detecter3 its cane
see~7 s{~tttpi.e (coin the Bike ~t ~ 1~ve1 of l 1 t~ u~fL < All other dissc~lti~eci aiui~iintafn results 1~rere nt~i~-
detects.~

S~iz~Face ~vat~r w~~s sa~npleti in tl~e A~l~estas ~3E~t~t {t1SEPA 2t?i~} fc~r LA, Rest3tts -for ~e~ater at•e
[yj}FC~~~~ ~1:~3I'~SS~C~ 1S TT1tI~iOt1 ~IE}~TS ~I~i" Ir~~€' ~i~/I~L~: "I`4io~.rg1~ there is »~ specific su~~facz ~i~afer
c~~~ality stat~ciard fog° LA, fnt• ~Surpos~s of this re~3c~t~t, fire resuii~ ~v~€e con~par~t~ ~~vit~i EPA's.
maxiint~in conta~~inant 4e~re~ (~GI:~~ antl tl~e ~EQ-i Standard for surface water for= asbestos
fi~e~•s of7 .~iIFL.`' All afthe fatl~~~in~ r~sL~lts ~re,frc~~3i tEie ftI (see, e,g.. T`~ble S-17~}
     • In Upper Rai~~y Creek, 48 samples ti~rere ~c~1l~cticc~ fira three ta~atio~is, ~,A vas E~eln~v the
          7 Rif EL critet~iot~ ii1'ail samples; tlic~ia~;l~.I,A tv~s ~etect~d in ti~vo Ic~eatiQris,
     • I~ F~eetr~ar~i~d Greek and I=1eet~v~od Pond; ~6 sur#ace wafer samples were cflll~c[ed at
          tt~~ee stations; conc~ntratiot#s of L~. >It} µin a•~sn~;ed from 0 ~tFL> to 28~ MI~I.,.~ Six
          stiri~pies were ~l~~ve 7 4~~~F~ iii Fleec~vo~id Creek. acid Fl~ettivt~c~d Patel (# 3% of tlae
          sa~z~~~(es}.
     • I~~ Cai-~~e}= C'.reek atad ~ai~~ey Po~id, ?2 surf~ez t~ate~` sa1~~~les ~~ere cc~l tested at ~,~~
          statio3~s coi~cer~tt'a#inns of LA.>:~ 0 ~t~ii ~•a~yged from t~ ~F'L to 26 M~`~.~ Tf~r~e san~pl~s
          ti~~ere ai~~~rc `7 MFL i~~ Carney Creek and ~~ane iii Caraie}r 1'oncl {~°fa cif t[ie s~mpies}. A~~
          additiari~l 2i samples lver~ colleted frat~} s~veii seep. Iocat'tc~r~s t~ea~• Carney ~r•eek;
          cancentr~tiUa~s of L,~ ~ l ~ ~~~~ x~at~ged frot~~ U to ~z iViFI:.
     • to Lt~tivc;r Rainy ~rc;~~, Zfs3 s~rrtpl~s were c~tl~:cted a# I 1 stations; cc~t~ceiitratior~s ~f LA
             1(} ~ ~~~ t-anged frc~~n A MFI,, to b6 IviFL,, 'i'ti~aetaty-five sat~l~les were abr~ue 7 i'i~FL in
          L~i~er ~iai~~yj ~rcek (IQ% of #Ei~ satnples~.

Ttie results teiidecl tc~ r~flectseasanal v~riatiaet. ~an~~ntrations were ~;enerall~ }~ gE~est dtiritt~
11i~t~ fl~ius siEc}i as spriri~ r~.iiioff.

   "3'he regoriin~=limit for dissatvecI aliin~in«Yt~ in s~~rface tivater was 90 ~egli,, evliich is above the I~~C~-7 aqustic life
chronic ~ta~3darcl for~dissolw~i a3untii~;i~fn of 87 }t~/i;,
'' TE~e 7 h'IFL ctiteriaii nppiics ani} tu~#'ibers ~reatet` tlia,i 10 fneci-ons (iQ }ern} in IengEl~.
~ "F`€~e contractor reported filar tE~e s~~npie risult of 289 N1FI:. in FEe~h~ood Fend {~ncl iiuplic~tc sample resuli of 219
~•iFL) is stis~ect, as ~t is a~~ order crf ~na~riiiude ~1~i~ticr tl~~n tine <iex~ I~ighe~st satnpte cif 2S i~rf~L aY that lacat~ns~ ai~rl
~i~as collected tl~re~~s~h a tnefliod lost (nigh[ lave in~rn~tucrc3 higher sedini~nz conce~itr•atioi~siii the sample:
6 Res~ntpling folfativina itae 26 }vlFi, rest~tt, at ~}ae sane location 7t>out G weeks titer, #lad a 0 iv1FL cEsult. 'lac nest
}~i~l~est sanipte at that (acaiion was ?:5 sVF~'L.

Page6nfl?
 Same of the above c~nditiaiis; tf all critec`ia ~a~~dcr tYi~ D(3I re~tilatiot~s ~~rere i~~et~ ~vc~ut~ be
 de:fit~ed as su~~f~~e eater i~~Ju~y. This i~ep~z-t c#nes ~ic~t dete~•t~~iite ~~~l~etfyer an}f a~'thes~ enntlitio~~s
 satisfy t~~e DPI regtt~afiory ciefin ticin, ba.~t this infc~rtn~tion ~~as tiseci in ev~t tat ng tiie scope crf
 ~otcntial injuries.

 Conc~titratici~3s of LA in reference pcinc~s and creeks in anc~ arca~~nd ~tJ3 tended to be below
 t3~tectic~i~ car very t~~v. 'Thy Asbestos ~~R~,, reports ti~at LA fibers is~ tlie' TCooter~ai I2iv~r ~~~e~e
 lo~v and ztat difF~rent k~eti~re~i-~ ~an~~les frtit~ ~i~~str~am acid doi~~►gstream of'tiie ion ~~enee rif
 Rait~v creek:

                      2..        G~-~uncicvate~-

L~ was analyzed iii grc~u~ d4~+ater sarnpies a~ part of'th~ RI {IvIWH Zt~I6). Grountli~1ate~- sainplit~~
ivas ~t~t~ducted in 8 sh~tloty t~yells and G bedr~ctc G~eils, ea~stl~ r~7~stwells ~a«~~aled 2 to 3 iit7r~:s fc~r
a total cif 2(} st~allc~vv wolf s~rri~i#es anti I4 bedrock s~ra~p~es. T~~o samples frcim ~lze sliallci~v:
gi~o~i«d~~ater Eve11s shaived i...A ~~Ficer~tratiot~s above 7: MIL. The ty~fo results above 7 IvIFL ~i-~ay
reflect sa~~iplin~ anoiii~i es~ and sar#~plin issues ai►c[ det~c.titii~s in ecjliip~ite~it rinse blanks lecl tci
~~rljt~sttncnt cif ~I~e grciund~,~aat~r ~esiilis (A ~e~idix I fa t1-~e ICI j~1~~'H 2t?16]~; fuc°then sa~~3pi~s }~erc
not collected:

Fe~v~~• samples weF•e collec~~d for non-asbestos corlt~~xiinarits. Sai~~ples far nc~l~-asbestos
contaminants sho~veci soti~e ~:le4~at~tS ct~aiceiitr~tirins Qfsitc confi~min~nts ccin~tpar~c~ to screeni~~g
lc~rels estat~lisl~ed far ass~ss~~ient of potential tliit~l+~ing ~a~at~r exposures iii pecapte, Iriin and
manganese R~siriet~ttiai It.SLs For tai rvafer'(nan-regc€la~c~ry c~ite~ia j ~~ere e~cee~l~d in
~rai~nd~vater samples (USEPA 2013 , ~~d the DEC, -`7 ~tanciarcl and E~?A i~1CL fQz~ g~~ss alpha
«jas exceeded in arze ground~vate►' sar:~ple from a E~edroci~ ~~~~!! (US~~'A 2t?13; IVI1~'UH 2f3I6~.

Sa~~te of the above ccindit'sc~tls, if aEl ct•itaria tine r t~~e DQI re;ufatioris tivere cnet, ~.vc~iit~l be
defined as`~~out7d~~rater injury. Tizis eepart ~3oes not cleter~iun~ ti~Pltetla~c a~iy cif these ci~nditions.
s~#isfy the, L?OI regulator}r definition, Eitit this information vas used is~ t~valuatin the scope of
~o~en#iai 'tnji~ries:

                     3:         ,~eciin~e~~t Pure ~'4'ater

I,11 eras measured in instream sedit~ient ~t~re eater at Loever ~iair~~r Creed anti repo~-~ed itx ttte R:I
(Ivt'4V ~-I 2t} l t~}. I.,,~'i ~nncenfratiniis i3p tg ~i23 M~'L. were n~easttrer3 itt pQr~ tv~ter {~t~~~•s > t t} µni}.S
C~~~ aitera~e, LA coa~cerit~ati~~}s t~vere greater in pc~r~ z~v~ter saxl~ples tlia~~ iii ~~~rface wfater s~€npi~s
e~llected frcisi~ the swine Ioc~tions zn I.r~ti~ter Rainy Ci~ee1:. 'I:h~ cia#a indicate t}~at bic~tc~~ica~


  <`Ele~~aied LAA levels ai-e tliait~lit #cs ire reEaterl to siis~3et~cled seciiit~ent in thy: tvat~r 3t the tit~~e of sampling, g'sve~i
that the atlier sarzi~f~s eo3te~ted from botl~~ piewmeters load sigsii~ca~itt}' Eawer LA~I les~~is.1t~ addition, s~frtpjirrg
~~imp iss~+es ~~+er~ nr~teci dt~rii~g ehe Aptli ?4I5 satiiplinu..." (lYi4VH 2U1G,'I'able 5-166, p. 3!2)
4 Pnrc; iratee~ sarngle coneeEi~ratio~~s were variatale across repticake sain~ies and across satrapies collected during the
sample duratic~t~s {R41'4'~-t 2QIG}.

T3a~e "1 ~f 17
reso2i►ces ~ovlcl be ~x~Qse~i to hi~laei~ levels of I~aza~-c3aus ~~~~stafices in dare ~w~xiter coii~pare~3 t~
SkiT~r~C~ S'4'c~~~Y.


S~tTll~^c1S~fS[OS GC111ti2311tT1311t& !i'LCG tlt}t 2T1~~}jZC'~ til S~CilIlZ~T1C }7qT~ ~Vi1~LE', 4V~11C~'1 t~l~' ~c11'tfCS f1aV~
Gt3T1SIS~~C~CI:


                        ~.           .~fCt~ii71@Jlf


 iii str~atii sediit~ent, cc~slc~~ teat~oEis-~b~a~~e ~c.re~;ning #e~~~ ecc~iaxicolo~ic~a1 t~i~rcli~t~ark r~li~es ~r~
 z~ot a per se injtit-y, E~ut indicate the potential for i~3ju~~}~ tc~ tl~e s~~r~'ac~ water in Mc~ntaiia as tl3e
 State's water quality ~ta~ici~rds ate basr:~ oti ct~c,asi;~-enaetits that i€3ulude t~ fracti~~1 cif suspe~7ded
s~dii~ients, Sedir~teait ti~as ~~-~alyz~cl in thc. Aslaestas 1~ERr~ by first sieving astc! ~t•i~idi~}~.sanl~iles
 tQ reduce particle: size tc~ ~Sfl ~~m end identifying L,A hers based can Qptieal c1~a►-acteristics
.using. ~~~iai•~ze.d li~,}it ~zai~roscopy. Vzsu~l ~re.a cstsmates are s~fbjective, aa~d ~•~sults are cc~nsic3ered
ser~ii-~u~ntifative; ~2estalts are ~sst~ciatec3 ~vitt~ bins t~f ~pp~•c~xi~~iaC~ rai~g~s 'i;i ~erce~~ta~es Bits .~
 represents t an-detect samples. ~3irY B i `is {0,~°,%a LA, B2 is Q.2"/o to <1 %r, ~A, ar~ac~ G is >_i'°fo ~.A.

5eciifnet~tt san~~ies frail Lc~t~~r R~i~iy Greek, I`leet~=~Tc~ad Creek, Garrey Creek, tli~ F"I'I and ttt
MiI1 Pon~-1 co«tained L~ fibers a~io~~e detection ~US~PA ~Cl t 4). Sar3~pie t•estx3ts r~vere i~ig}test in
Carney Creed ac~jacettt tc~ tie n~in~ area ~~d i~t ~ai~iy creek t~elcaw t3ie FTi. i~~e~sf samples fratri
U~p~r T~ait~y Czee~ ~~ere noi~-detect {33 ii A). A total oaf 62 sedi~~~e{~t ss~~npi~s collected i~z the
abciv~ areas 'a~~r~`ic~ Bits C ai d xan~ec~ frortr l°lo to iCl°10 LA fibers.

Sev~r~l rioi~-asbestos analyEes exceeded tl~t,~-eshold ~ff~ct concentrations (TECs~ ancit~r sedi e i~-
l~ased ti~~ilciiife tZe~~cl~in~r~€s in site sediinenis, as r~pocted 4~z the Noi~-Asbestos ~i~R.l~ ~tJSEPA
2~ 13) ai~c~ ~tamma~~izec3 iii Table I, belc~tiv. T1~e TEGs and other toxicity ber~cEif7~ark val~.ies ire
t}~~ica(ly a.~sec~ i~Y the scr~et~it~g s~a~e of ari ~c~ln~;ical risk assessment tt~ identify t ie ~ote~itial for
ecc~Ic~~ical ~•isk,

A Hazard quotient (Ht~~ is tdje ratio af`tiie laazardc~us sttbsta~t~e ~oncentr~tion fn tl~e e~g~cssed
media ~:oinp~red to,so~ne toxicity t~enc~~~x~ac•k or c~itality c~'iterion. ~~Q ~~a~c~es ~~epr~~ent the
maxinnt~~t t€~tecced ~oiic~ntcatint~ dividet~ ~.y the tci~.icit~~ bencti~i~ai•lc, sa a n~3xi~i3~~i~Y HQ val~~e.
greater ihari `l i~~dicates the ~ziaxinuni sedii~~ent conce~iti-atioi~ exceeded t1~e t4xici#y beti~l~mar~€.
Calc~~lated I-IQ values for C?tJ3 sed 3ne~it: ranked €'rozii <1.0 eo 5~ for sever~i non-asbestos
aria(}des. C?f t}~e anaiytcs ~~~itl~ HQ v~~lues greater t1i~i~i i 3 ~ItitlllllUTli, barium, ~hroi~iiiin~, cobalt,
copier, dead, i7aat~~anese, ~~"tcl el, ua.ria~ii~xtl, ~n~i zinc u~e~e also found tc~ exceed sedit~ient
cc~nceiitf~at~Qtis ine~sured ri t~ef~re~~c.e samples;

Itrla/~ 1, dlrtrcri-dLJuc>Ji~~rttistlir~~y`1rsr,lrrsitv'(cs'thcra~c.~acic'rCsS~~r/ittrcraiSct•~~e=~tiitg!'~tlr~z~s
                                                       11AIa:~inittrn H+C~ for TEC-                         I~Ta~imum ~IQ for Se~litnent-
  ~nalyte                                              Based Bezicl~n~ark                                  l3asecl Wil~ll~fe ~3enchn~ar~~
  ~,Iu~~int~m                                          1.6                                                 ~iG
  Arset~ie                                             f1,~72                                              ~:I
  Ba•i~~r~l                                            N~                                                  23
  Caztr~~iue~a                                         1.0                                                ~ ~. ~7

4'a~e & of I
                                            E tV~axiia~uEn ~IQ foY• TEC-              t~Taxi~rt~aan H(j #'car Serlitnent-
  l~iil`sl~~'~C                             ~ BSt5r~t~ Ti~i~Clltll~2'Ii               5~5~[I WtICIII~B_ ~@IIC~11TtdY~£
  Clarotnitatn                               1G                                       9.~
  Ct~balt ~                                  I~1~'        --                          1.8                                   ----
                                                           .---.—                                                  _   __-
  Lead                                       2.3
                                             ~~:_..._    __~....._.              _ 3.3
                                                                                   ~~             --      — ----.-- --
  IVlan~anese
  h1~~cciry                                  4..~G          - -------- --3.2
                                                                         l.f __._-                       _—_~_~__ _ __
  Nick.!                                     fa,~
  5elenitat~~                                N~                                       1.7
                                                                                      ~~ ..,.__~.._e.      ~              _
                                             ~~
  ~~Ti~Clllf7l
                                                                                                                 -_
  i~~n~                                      f1 7c~                                   i.l                       -----
  Beta~o f~)fl~zc~rantlaeiie                 ~.~                                      ~: f111
  I3enza{k)fftrc~~~~t~tll~tYe                i:2                                      l}:Qo9=l
  ~a litt~alene                              1f~                                      0. (1i
Notes; ~3C)l.,i} W-sediniecit coiacentraticir~s ~xcee~ied to;~'scity be~icluiiar~: acid ~veF4 statisticatty greater than r~.fcrei3ce
sedi~riezit ca~~eeixtratiot~s; f3(3I;D ~nc~ sh~iiling} —.~e~litz~ei~f cflriceritrati~t~s exceeded toxicity benchni~r~ but ti~ere
s#atisficaliy ec~u~l tc~ or leis than i~~ference s~di€rient.cnne~ntratiozis; ftatics—sediment coi~c~~~tiataoias did riot exceed
t~xicitjr ~ienchm~ir~: {F-~C) < 17; ~-IQ —hazard q~~otieiit; hC ~- nbt caic4~tat~d, nn sereeiiiayg value; TEC — ifzreshcslct
effect cniicentration, .~~ta f'roYi~ i~oF~-~sbestas SARA (U5EPt12413).

`T'}i~ Nan-Asbestos:BERG. does nc~t evaluate ~titimony i►3 bite seciime~~~s, t1~ac~gl~ a►~tin~ca€~y vas
det~etcct iat bite ponds a1~d these data are re~arted ri the E3U RI: Anti~3lnny ccinc~ntra~~ans in
~~~c~ samptcs (cane t"rnrrt Garvey €'reel I'~r►d [~ tn~Ikg] and one frciin tl~e ITT Pend ~~ m~lkg~)
e~:ce~d~d tiie "I`E~C:{2;ntglk~} ~tid tl~e probal~I~ effect co►~ceneratic~rz {4 s~~g:'~~}:

~xpnsur~ to cc~2itan~ riated sedittlent pan affc~t tt~e gc~a~rTtl~ and st~r~'ival ofii~vertebr~tes and 1i~nit.
t~3e habitat available.~or cai~i~-~i;~atiat~. I~~ acIc3it t~~~, bic~l~~igical resoL►~~c~s ~ti~17~t~ its the food ~~eb
potentially coult~ be ~t risk fi~ca~n expcisure to ca~~ta~r~inat~ts fion~ eati~ifl canta~~~ina#c:~i
i~~verte~irates car from incidental `sn~e~tinri of ser~irr~~rit tivt~ile f~r~gi~7~. 'I'E~e etc{dies in t1~e SPA
BER~s; nrstad t~etri~~va ~vali~ated s~~cf~ ~ndpoi~its.

           E_.      E~'A Stuc~i~s ~'et•fornted to.valuate Ecalr~~icat P.isk

'I'}i~ Ast~est~as 13CRf1 ~tYd Cori-Askiestas B~Rr~ exaanined tli~ p~itential risks to a v~riet}r of
eci~(4gicai receptors from LA-and a~o►-~-as~estas i~azardc~us strbstai~ce cc~rycentrati~~~s ~i~ sc~ii: The.
 #c711c~~~rir~~ site-specific studies were cand~~cted as {part cif the BEF~As to evaluate tine e?cteni :to
tvl~icll hazards its s~~bstaaices in sttrf~ce tvat~r, se~iiinent, and sail n ay dose risk to ecological
rece~ic~rs ire OU3:

    •      L;aborat~ry,jtivez~ile trc~t~t toxicity'tests .(nac~-asE~estos cantaminat~ts)
    *      In situ ~uvet~ile ti~ot~t toxic~t~ tests
          in sit~.i eggl~te~,riz~ tr~~~t t~xicit~~ tests
    •     Resident irca~it lesion study
          Resident trout ~op~tiatic~i~ stticIy

Page 9 t~f' t 7
    •    ~. azteca {bcntliic i~~vertebrate} set~iE~ie►~t ta~icity tiest
    •    C. tentaris (hentl-~ic invertebrate} sedime~~t toxicity test
    •    Resittent i~enthic macroii~uertebrate pn~~uiatian sEudy
    •    L~barator~~ t~dpale sediliiei~t toxicity tests
    •    Ftesider►f fz~og Iesio~l study
    •    resident ~a~ot~se lesion study
    +    Literatu~~e-b~sec3 ev~ivatia~~s cif sensitivity of birds t~ I~~ relati~=e try si~aall maanit~als

The results of tf~ese strict es; aIc~ng ~vif1~ ~Pt~'s Habitat evataativns, ~~~igl~t of e~•ideiice evalu~tian,
~►~d ar3at~sis cif ~~neertainties, ~~'e 8etaileci iii the B~RAs:

         F'.       S~~mr►~~ry cif Potential Natural Resoui~ee ~~ijtaries ~nct Service Liss at ~r
                   reIi~tec~ to i~U3

Tlie data c~tiected as part. c~~'tl~e Ttt anc3 SERA investi~~tions indicate tl~atna#u~'~l re~otsrGes
~vithiti f~U3 are exposed fic~ I,A ~~~d ~z subset of other non-t~,~ ha~ardot~s subs#a~~ces. Fast, present,
end future itijt►r~d QUA ~~esaurces cfli~ld ~ncl~~de:

    •    SgnaIl, large, and ~q~3atic-ciepetident ~naintnals
         Bi~~tts
    •    I°isli
    •    Re~itil~~ aid arnpl~ibiart~s
    •    Aquatic i►iyertebrafes
    *    Terrestrial- invertebrates
         't'eri~estrial aild ~q~iati~ plants
         "4~~~tla~lci tit! u~~lant3 lal~tats.

Tt~ tl~e ext~►~t #:Iz~t injury crccctrredx the folla~ving categories of resource sere=ices, ~fne~ng t1~t~ets,
ctiiild tlxeoretic:ally Have been a~ed~~cec~:

    • I-ialait~7t secvsc~s fcir biological ~~c:sc~urces, sk~~h as habitat for feeding ai5d re~rc~~cictso~i
    • Fishing, particularly recreaEiaiiat ~s4zii~g belci~v t~1e c~rdir►ary l~i~lY-ti~j~ier marls ~~r
      PVic~tyt~ria s~Fe.~in access la~tirs {y2a- -3t31; MCA, cat s~~~.)
    • Driilkin~ e~ate~~ su~~pl}~ (to the e~te~~i rel~vaElt)
    ~ Nan-cc~ns~.~z~~ptive uses s~tcl~ as tivitel~if~ vier~~rii~~ ~t~d. pl~otc~~rai~hy aril r~il~er o~tkdaot~
      recreati~t~ actiefiti~es below the ordinary (~i~li-~~ra[er ~~~ark ~ez~ Mont~i~a stre~t~~ access la~~Js
      {~23-2-341, MCA, et serl.}
    • Pritt~at-yf acid secanc3~ry co~ttact eccreatioi~al activities such as ~t~in~~l~aiii~ and bt~~ting
      bel~~~~ tl~e ~rc3iX~ary hill-water t~ia~-k- per Pt~loi~t~na stream access laws (~'~3-2-~01; iVI~A,
      et sQq.}
    • Q~ition and ~xisteriee values.




Page l (1 of l 7
iI:       T'Y~'~S CJ~+` ~~5'1'ORA'I'IU~ PIt(3.TCCTS AIVI3 RESULT.~.i~T S~~'4~ICES:

T1i~. i~atiir~l resori~~ce cltt~lia~~s c~ii~po37ei~t, cif the ~~tElez~yer~t bet~veetr Gt~sice az~d tl~~ Mate i~as
s~e~;c~tiateci anal executed an a cash-aut basis, ~vitIY fi~ncls paid to tli~ State raver a peg vd of l
years. No particular ~i•oj~ct or ~i•oje~ts are ~~ec~~.iir~ed by tl~e Settt~mez3~, i~a particular prc~ject:9~as
been ir3eF~tified by the State ~t the ti~i~e of'th s Repox-e, a►~d the }irojects uEtin~ately iiripfez~3ei~ted
by t3ie Mate mayt r~ fFer fr~tn the e~a►iiples pravidcd f~elo~v, taut the State z~i~is!` use s~ttlet~~ent
fiaz~ds f'or restc~ratior~ prc~j~cts and s~j~a~~ax•t tl~e~~ef~t-, iixcluciinu ~osis for ~taf~ re~tort~t a~~ plan
devetopn~ez~t and it3lple~~~ei~taticin, and ~cliYiinist~~ative, prc~~rai3;, ~~~al; tecf~nieal and a!S ~ai~~er
~~elatecl casts, to tt~e exient la~~rfui t3~tde►-.~~I~CL~.or ~~CRA. T1~e Mate inte~~ds and anticipates
using Sett3enze~~t fufic~s in c~aciectioi~ i~~iitl~ prajects t(t~t p ~n~iide ~~a~ta~-~1 resau~'ce a►3d otl~~~~
benefits iii grid around ~U3.

The fa~Ila~~jing sections describe v~ric~c€s types of exenipta~y r~stoi•atioir p~ajects that ziiav iii
constructed #o benefit acid i€ri}~rc~ve ac~~i~ticantt terrestrial n~fura8 resources artd tli~ services they
~rt~vitte: Addition~il types of r~stflratian ~€~ojects ii~sayalso be cortsiderecl. t7tl~er restoratit~n
actin}ls sefectecl tc~ im~le~lient pr~~f..iat~s Mate NRT~ settleme~zts at c~thei~ sites can be fat~nd ~,~ithin
fiie restaratic~n plans ffl~• those sites, ~rfYich are availa~ale can NRDP's i:~r~€~site: Noth~n~ i~~ this
repent is izatericled tai bif~cE any pai-~}1 to a s~ieci~e ii-~jureel resi~urce bi° partictal~r _type cif {~xoject.

          rya;      :Aquatic Habitat Impz~fl~>ement Restoration Projects

Pt~tenti~ily injii~ed resources ader~tifi~~i at the bite include ash and oftier agisat.rc bit~~a. A variety
tsfresic~rat~t~n projects.cot~ic-1 b~ in~~ilenieiitec~ to: z•estc~z•e last sez-vi.ces; Below is a sui~i~~~~ry o~
f~~~~:s cif ~c~u~tic 3iat~itat it~~prove~i~erit projects that i~.~c~ti►1d restore ae~uati~ e~c~lt~~ical service.

I~~ addition to t}ie specific service benefits descri£~~d belc;vv; tits illustrative ~q~.ratic restoration
activities ail ~~ne~-a!!y provide in3proved ti~iater q~~alityY tizerebypit~uidin~ favot`abte l~af~it~t tc~
iiic~~~ase pa~iiilat oci~ cafiri-stream birita. l°laic shc~t~icl l~ene~l ~ipland pre~iatars'th~t rely can ~treain
faoti sc~urc~s; Restc~ratiU~~ crf aquatic ecol~bical ~•esources ~iltimalely E~~~ieftis ~i~e;et~t'sre act~sysfeixi
tl~rou E it~ct~easc:d ~~iiidiversity a~1cI results iii enhanced recreational opporfu~uties: ~1~~ny of tEie
restoration activifiies de~cribe~i bclo~~t Dave been implemented in prt~jects in tf~e K~flten~i and
~cijacerzt'~~ratersh~cls ~~ritll ~igzjificai~t sriccess:

Tf~e seiecti4i~ cif airy specific cree~.z`~stc~t~atio~~ activities ~ot~ld be geographic (to p~`ioritize a
sp~cifc ~xrat~rshed or.a specific creek segi~le€~t tc~ tie ~fei~tif ed, ~Sot~ntially inc$udir~~ ~~vii~~in OU3
C3T3CC I'~fTl~E~I~~iOil BIOS ~3~~C! CC}t17~~~1Ct~~ iTl ~CCQY'C~~EIC~ 4Y1~~'1 i~'1C CCiTNCir~ Q'lfTllil~f~ til ~C'.Cx1t7t't ~r~.


                    1,        Riparian Im~rovenaetit

R.iparia~~ impresvenient projects include; reveget~tian, reducing livestock ~iccess,
resnoviia~l~nll~~~ci~ig roads, strearnba~~~. stabi€iza~ie~n, f~~odplairl reseflratiar~, recar~structii~g
stream eha~lneI(s~, cc~nstruciiz~g flood}~[ain tivetlai-~d cells, Doody delil•is placenierit~
n~icratapagrraplig, creation, banl: treatment, scec~in~ and ~rsulcE~in~; ~~~d pia~~ti~~o. '~l~ese fYpe~ cif
prajecks carp prc~vsde a host of services. R.~v~getatt`ci~~ ~f tl~e ripaciasi area reduces contai~3in~tit
~i~oEiility by pr~ividii~~ fiitratic~n of c~efeclazici fl~i~v end reciu~es sedit7zer~tatit~n by provi~ii~zb soil

Pale i l of 1 ?
st~~bilir~tic~n. Veg~t~tic~~l provides t~a~it~t cov~f frr both t~pl~ ~d acid i~~-st~-eatx~ species, a~~d !'tniits
surface i~~ate~~ tetz~pea~a~ur~ fluctuations by pr~vadiri; s3lac~e. Fic~~d~l~i~~ f~~storation ~jrcijecis,
incl~.~ding reecrn~Tecti~~~ ilie floodplain area and ccit3stz~ucted tvctlaa~ds, recitice ef~~sion and
su~Zsequeiit sedirne~~ta€icon try ~•et3i~cin~ flow velocities, anti provide ~,ppa~tun ties fcai- natural
stream c3~ant~el ch~nbes aver tstne. Road removal and strea~nbank slat~ilizatian projects; often
s~~pporte~I b}~ ~~~d cond~t~te~i in canj~►nctian ~~ieE~ rc~r~.getatio.n and tlond~slaic~ resttir~ition, recli~ce
sedi«lzntatinr~ ~1'o~cliti~~Y 2{~l ~) and ern lead t~ an overall irra~it~ovenie:it in }tabitat ctii~dit~oi3s,
~l~eceby ~:antribc~tzn~ to ~nQre robust and a~u~iclat~t yopuiat'r~l~s of ash att~ ~~ildlif~. ~ngit c~~~d
f~oQ~ipl~i«s ~r~d ~•ipa~•iar~ ~Iantii~~;s ~Iso cna~ improve ~z•Q~~nd~vater c~~iatit}s try ~i~avid ►~g filtraYic~~~
o#"rt~~iaffancl reclucii~g ove~~land flat, there#~.Y ~ncoura~in gr4und~vafer recl~arg~.

                 2.        'In-Stream Iiat~i~~t im~~-a~eztients atx~l C'Iya~jnel.lVl~r~li~cat o s

I~~-stt•ea~il l~al~itat irn~r€~~~e~~~e~~t and cti~nnei t~iodifcatioi~:activities ca~i ~tcate habitat fior t~i~ta h}r
prov~din~ vari~tblc; st~-coct~~res aiicl iinpri~~{~c! cl~~nnei fltir~v: Miaci~fyi~zg stc~eam ~noipliolt~g~~ ~iy
arld iig tx~ea~~rlers and cre~tiE~g ~faria~le pc~€~l-riffle:-ruEt IiaE~it~t directly i~~Ypraves 1~~bif~t for fish
(p~rtiuitE~rly ~t•~ut} and inver~et~~-ate~s. Insfaliin~ boulders, ~~sroody debris, arad atller ta~~~e
sti•ia~tur~s cre~t~s shelter and c~estir~~ areas foie ~s11 that t~nimi~ natural fe~tur~s in strea~~ns aiid
rivets, T'l~ese features al~c~ create co~rec a td reduce flc~~v velocity tQ provide taa~itat Erie
inaert~t~r~t~s {1~fcihi of al, 2tlI5J. `TE~~se k n~is of ltatiitat imprtivetT~enfs ~~rt~uld adva~~c~ anti
restc~r~ r~3ctr~ natural 1t~~draulic conditions and restore ia.at~fral ~~dir~ret~t transport prc~cess~~,
therefiy irripi•a~ritig Yvatc;~- q~~~3ity. The ir~~~ii•c~vei~e~it and addition ~ifliabita~ tlirc~~.~~Et st~~~arn
cl~a~~rzei ~n~d fcatio~~~ s}~ciul~ ~~esul~ in itzcreased fsh acid nve~-~ebrate ~~opulatinns; prc~vii~ii~~
both ecolagicaI-and recE-e~tionai b~r~e~ts.

                 3.        Fish P~ssa~c

Ct~~~c~~~«~l fish ~assa~e projects i~~elt~cic: resti~r1tia~~ activities suc~i as retiov~i Qf fisi~ pas~a~e
barriers in creeks andstrea.nts and additicit~ a£scre~ns to red~~ce fis~~ acc~s~ to actifci~~ l
divet•sia~~s. T1~es~ tiy~a~s c,f habitat in~pr4vetnerits +,t~octid berxefit a v~ricty of native a~td citl~er ~s17
species.

R~n~oval of barriers a~ici ent~ar~ceii~cnt of ~~assab~ stt•cict~~res sucks as cul~ferts acid fish ladders can
clire~tiy Eiesaefit ftst~ survival ~nct spa~v~~ii~~ by enabling ~slz tc~ rebafn access Ott divet~se ~~zb tats
~ncl additioitai food sources. Restored access tc~ sparvnin~ f~abitat sli~iulcl r~s~:ilt iii a direct
increase in fish «embers; cutiict~ ~v~LLICl ~~Il~'~t 1TTi~}~YiIGC~ 5~3t~leS ~t1CI lt2GI'~~5~ Y~Cl'2r7~tC7I1~tI ~lS~llila
~PPori~.~riites by `s ~}creasing fstt populations and ~:xp~ndiiig ac~essibl~ ftsltit~g a#~~~s. Liinitit~g
access fo u~~suitable Diabita# ~?y placing screens c~~~ r~•~~a~ior~ -and pnr~uer ~liversiai3s can a1sc~
encourage fall tc~ instead k~tifize a}~pri~~i•iate ha~i[ats for Isat`a~in~ anc{ s~aeuiiin~. "Phis s(iQiilt~
it}crease s~~rvivaE znd reprsad~~ction ~-~tes for fsh; especially trout ~Ygcl}~.~n~ Zt}1S),

         ~3.      T~i-restrial Nal~itat ~a~~pror~e~n~nt F~estor•atia~~ Project's




Pale !2 of 17
~ctiviti~s caii t-se sn~ple~z~ez~ted to impro~~~ c~plansi terrestrial habitat anti be~left ecolo~i~a[
reso~~~°ces its t1~e s~~rr•t~ta~xcli~~~ ~re~~. Exa~~~~ie projects. include selective regii~val of nat~-ri~tive
plant species at~dlc~r pl~ntin,~ of native t~-ees anti v~ elation i~x OU3 anc~ st~~•rraunc~inb Forest areas.

                     L         t~iative Plating and Remc~tijai t~f ~t~n-Native Species

Plantsng native t~•ec;s ~i3d vegetation 11~s di~'ect I~etYefts fcsr rtvt only the i~i~t~Xediate area, €~ut>
~Io~ally as ~v~Ii. Pla7~ti7ig i~r bz~~-~ied, lagged; ar o~I~er den~ac~ed are~rs r~;stores f~abitat fog ~~i[citife,
  ivit~~ liir~3s; ~t~amtt~als; and re~tites i33~prnveci z~estingli~urro.~,ring} fora~in~,. anal ht~nii~z~
apportE~nities.:lnve~-tebrafes ~vil1 a3so ben~~t frc~ai~ ~rtcreased access to food and siyelfei~, a.s ~~~e11 as
i~~~~~rc~ver~ soil healil~. ~'re~s ais~ sequester• carbon, redt~ciii~ atmaspt~ei~ic cai-~rsi~ dioxide ~~veIs
that eantribc~te to global cliza~ate cf~a~~ge ~Du~t~r~ese et al. 2019),

Nati~i~ piaz~ti~ig ~i~d a•~~na~ra! oF~}on-dative species:activities in targeted_ areas ~~Qtild a•esult in
incce~rsed opp~rt~~3nicies f'ar sx°~i~lt ple re~~`e~ztiof~al lases in f°~res~ei~ areas: Forest planting also.
irriproves surface ~~rat~r ~~~al~ty and Itas tie potential to a~~~~r~a~~~ grt~u~tc{kvater c~~~~lity~ '#~3!'QL1~Il
i~~~r~ase~ sail sta~irli~at ors a~~d ~Itr~tit~x~ and reductio~i of eva~oratian from:soil,

          C.        ~ecreatinnal ~'shit~g

~ xe~alacern~nt reec~~~tioF~al :fishing project for poze~~tiat lost recreational use c~~ld irx~l~ade
acquisitia~~ of land aa~d cs~ilstructio~~ of a ~sl~i~~g;acc~ss sits o~• other ~~ec~~eationa[ access site iX~
I~ir►colz~ Ct~t~nty itj cc~op~ration with Mcintat~a Fish 1~li1i.11 fe, aril Parks or a local ~o~rerncn~ntal
entity, it 1vavlcl be cc~nst~~uctec~. ►t~ aecord~i~ce ~~itlz the~z-c~ia~~ent cn~istructicas~.and deign
req~sire~3ients fc~rfshtfTg access sites:

III.      CI~T~~tiA F(?I~ SEL~C'I`Ii~tG R~S'TC)T~:'~'~(~i~I PRC3~E~TS~

P~•ior to lase offunds, a,r~stora#ron plan ~vc,uld be d~~elo~ied a~ad adgpterl :6y the Gc~.r~;rnflr after
a€tegiaate public 37~tice a~~d ~pporturiity fc~t~ hea~~in~ ~iad ~attsit3er~tian a~'~I1 public coi~~itie~~t. 7'he
DC7I regula#ions, 43 C.~'.R. § I I.fiZfa~, pravicte that a reasonabEi i7~imber ~fpcassiE~Ie a(tertiatiyc
fir the restc~ratic~iz, rel~al~ilitatic~n, or replacezi~e~it a~'~}~e iiij«r~~i t~~tur~I resources be developed
arad consid~~-ed. TE7e a~jerall goal of t(~e restaratipil plan is tv ic~eti~ify'acfit~ns t~tat sinl}a ar in
C~tYlE?Iric~~ii)21 1'PS~02`E, rehabilitate; r~~iace, tir acquire t}~e etjeaiu~il~~~t csf i~jjuf•ed ~~ahiral ress~urc~s
or lost sei-vices such ~h~t ttie}j call provide tl~e #evc~3 ~f services available €i~~der baseE[ne
ct~nc3ikions, 3~estc~ratica~i an areas 3~rhe~~e remedial action ~~J~11 ~e ii:~~feniented typically follows
impl~inentatici3Y ~fthe re~rs~c~i~l action a~ld `€s intended to provide t•~str~ration beyond that
prctvicled by t11e ~~et~l~dial actions. Additional data cailectiot~ at~d at;al}rsis ii~ay b~. tieed~ti fri
eval~~ate t fie ~3riorit}i cif tt~e different restoeation acticii3s.

't~lte Nat~~ral R.~~oui•ce Damage Pragrari~ ~~iRL3P~~ iutiicli acts oil t~~:l~alfofti~e ~+~ve~~c~ar a~
trttskee, typically c~c~velc~ps a restoratic~~~ ~fa~i in const~ita#ior~ ~trith the ~+Iontana Departf~~e~~t of`

`' Tfae criteria clescri6ed i~~ this Sectia3i III are inier~ded tts pro~•ide ~t syrtQ~sis of the Sty#e's process for evalt~~kin~ and
selecting potential resfaeatio~i projects. 'T#fits Sectiaii -does ~5ot, haevever, fu11y define that ~Sracess air otherwise affect
in any tv~y the State ar the Ciodernar's auti7ority a~iti discr~tiatt established 6}r la~v.

Page 13 of l 7
Fish, ~~'ilctlife ~z~d 1'ac~ks, tocai go~le~~iiiil~nt (e.g., Libby and l~ia~cc~ln Cc~~~rtty, ~E~e Eocal Water
~3~~aiity Protection District), tvatersl~ed groups and noi~-p~•c~~ts, ~tl~~t~ a~~ncies, anct-the f~k~btic. t1
recent example of this prc~cvss is o~tt(ined iti the ~~r~~ ~-I~l~~~n Ascrt•cn Srrrelter• ~'iryal ~Z~stor~rrtior~
Ptc~tr crf~c~.~flvit~ox~rrrerrtczl~Issessrract~t Clae~:klist {NRDP 2Q19), available ~t 11.~~:201~-~~si-
I-Ieiet~~-R.estc~rai~c~s~-1'€~~~-Si~~t~edpti~~~GaiJ:~cit~(dc~j~~zi.t.~ai~ . NRI~P ~vau(c~ fc~lfc~~~j a similar process
and Datlier restc~ratic~n action ideas froth ~Il ~~eleva~~t entities ~`ratn t#ie r ~Slannis~~ c~oc~z~n~~~ls,
Ytieetit~bs, at~cl a public salicitL~tit~i~ forpc•~ject ideas. Tl~e criteria ot~tlinecl bel€~~~r are taken fron3
tl~e ~crs! F~'e~etu~ ~sczt-co Str~ettet- Firr~rl R~sto~•cttiot~ I'Ica~~ and ~izi~i~•otzrtter~fal A.s,sessrrrer~t
t~ltecklist.

to cie~elci~sirtg possible altern~tr~res for t4ie ccstoratinii, repiacarn~nt, re}~abilifiat on, tit act~uiri~~~
the et~iiitTatet~t e~~'th~ it~jut•cd ~iaturaI resources or services, l~tR..D~' a~~ticipates evaluating the
alter€3ati~res E~~~der tlze.fQlto~vii~g cr'steria, ~~l~icli ttYeet tl~e ~~egc~i~•~r~et~ts of CERCLA algid GECRA,
a{ad tine ~ror~~isi~ns of ~3 C.Q.R. § 11.52 ~n addition, NRDP also aniicipates evafi~~tin~ the
~dciiticai~~l "policy critezr~" oti~lix~ed at tl-~e enct aftllis section. ~"Izese criteria l~av~ been devetol~e~
by t}~e State to ~aror~jot~ State of Nlantaria goats.

Tecltnicaf ~+easibitif~=: This ci•itet'i~n ev~iE~€ates ttie degt-ee tc~ ~vhic}~ a resforatic~tt aetian ~n~p~ays
tivetl-known a~~d ~cce~~tad t~cl~i3~iogies af3d tE;e liketil~oc~d that Elie ~ctiari ~~rill achieve its
o~jectiues. Actiosis tE~at ire techrioIcigicaity infeasible ~~ill be re~ect~c~. Ha~vever, ~ctic~azs that are
innovative or t}~at have some eles73ent c~f't~n~ertait~ty as to their results i7~ay Eye app~•oi~etf.
I}iffererit actions ti~~i11 use dif#ez`etit ra~ethad~stogies s~~itl~ varying degrees of feasibility.
Accordingly, applicatiQ~i c~ft.his criterion ~~ilt f~ccas a~} a~~ evaltaaticin t~fan action's a•eiative
teef~naiagicai feasibilii}~.

Relafiansi~ip ~f ~,xpecfed Cas#s #4 E~pecteci Benefits: "C"his crife~ior~ examines ~~JIt~~Il~[' ~I1~
costs of an actir~n to restore, rehabilitate, re~lace~ ~zid/oc acquire egL~i~i~ie~~t resc~~is-ces are
cai~~a~~e~~s~z~•ate_ ~vitt~ tE~e benefits pravicled. Iii daiai~ sa, the casts associated witlj a restorat o~i
action, iticiczdi~~~ casts other ti~~~i tease tl~ecteci simpt~j to implerneni the actic~z~r at~ci tE~e bet~e~its
that would result fia~t~ ~t~~ action, will be c~eteri~3€~1ed. Ap~ticati~n c~fthis criterion is hat ~ straight
cost-E~er~ef t analysis, Dior does it establish a ~.ost-b~nefi[ ratio tf~at is 6y defi~iit can ttnacec~~tabl~.
Qitat~tifying the b~~iefits of ~ project ruin solnetii~ies req~iire callectics~Y cif addiCionai data c,~~
information and additional a~~alysis.

Cast-effectivE~~ess: This criterion evaluates ~vhet~Yer a paf•ticul~r restQraiiott ac€ion ~►ccon~~~tisEzes
ids 4~a1 i~~ the lest costly t~~~ay passible. As ~utliri~ci in tile:naci~~•a1 rest~~~rc~ dattia~e rebulations,
post-effectiver~c:ss ►neat~~ that ~l~e~~ t~~a or mare activities provide t3~e same o~~ a si~~~ilar le~rel of
6ene~ts, the least cc~stl}~ activity providiz~~ that Ie~rel r~fbeni:~ts wi11 be selected (~3 C.Q.R.
y 1 I.14(j}). 't,o apply this criterion in a tneani~~gfiil fashic~i~, ~Il of the be~iefits a restoc-~tion action
tivouid produce T~iiist ~e cai~sidered, not~jt~st cost; otl~er~viser the fn~t►s uraulcl b~ Eoo narrow. Fake
tl~e example cif a ~'estQration ~etion that ~vaulc~ fu13y restore a liven resource in a stlort period of
dine ci~~ia~ared to atiotiier rest~raeian action that-would rest4a~e ~I~e sact~e resaurc~ at Tess cast but
aver a loner period of time. Cc~t~sidering ai l}r that the second actio~~ is less ex~ensivc than tl~e
first action ignores the benefits ~•est~itis~~ fro« a retativeEy shc~rtee rccae~ery period. In this


Page 1 ~i cif 17
exan~}~le, sir~c~ a~i ac~et~~•at~d ~•ecou~z-y tine is a benefit, it z~;i~z~ld ii~ecf to 1~~ factare~ i►~tca ~~
c~etef~n~ii~atic~t~ of cc~sf-effectiveness.

Results of Resp~r~se Actit~ns: T1iis criteirzt~n would ~a~lsider tIZ~ res{alts ~r anticipated resL~(ts off'
CERGL,~, respo~~se actions tii~cle~-~v~►y ar pl~ntiec~ in t)U3 after selection of the iit~al remedy by.
EPA. ~v~rl~tatiat~ of this critef~ion req~iires assessii}eni cif response actions at aE3 acieq~~ate Ievel of
detail iii order to t~iake pt•~ajectit~ns ~s t~ their effects tin nat~irat resciiarces aitd services. t~~r
r~sta~~atiar~ alternatives tvithan C?U3, this criterii~rx will in~lu~ie c~nsicieratior~ cif:

             «    '4~'t~ati nay b~ necessary in the ~vay t~f restarat[~n of resc~t~rc~s anc~ services in light
                  of tine otxgoi~ag and pI~n~iec3 respo~ise actia~~~.
             •    'T'he d~gre~ of cv~sist~ncy; ~et~ve~t~ a restara~ivt3 ac~zs~n ~~nci #11e respat~se actiaa-~(s).

A.d~~erse Envi~•oninentai Imp~ets: This criterion t~eigt~s ~=,rlt~ther, and tc~ ~~rl~at degree, a
restnrarion actic~i~ will result in adverse Human ar ph}~s cal en~riro~~mc:nt~nl impacts. ~pecificalEy~,
NC~DP will ev~Ec~aie signifrca~~t adirerse impacis that coi►lrt.arise ~'rotxi tt~e :-esforatic~ia action. sl~c~rt
term or lo~~g terrt3, direct cir ai~direct, ittcltjdin~ tltc~se ti3at iizvc~ltire resources flrat are riot the facii~
of ti c project. 7'c~ da so, the dynar~lics ofa cestaratiQz~ action at~d haw t:h~t ~ctian ~~ill interact
ltritl~ :the envirat~t~~t~nt must be understand,

Recovery I~eriod and Pc►teratial for I~~fctral Recovery=: T'hiscrit~tioi~ evaluates tine razerits of a
~-estoiatiai~ action in fight of u~h~ther tl~~ resc~c~ice is able to reec~tite~• naturally (i~e., ivitE~~c~t ~u~~~at~
iFiterve~~tiot~} ai d, if a resaurc~ ca~j recflver ilat~;rall~~, lr~~v long tli6~t ~~ l# iai e. Give~i that the ~riai
~•espc~iise acticii~ at C}U~ 1~as nc~t been detet~mineci, tl~e NR:QP iuil~ cc~i~sider~ fire recovery period
following response ~ctio~~s to evaluate p~t~ntial`resto~~tio►~ pro}ects in QU3, (Tl~~ term "~•ecavery
period" ~•efcrs fo a rc.tta~-ii tcs "basel~~~e,'> as bc~tt~ crf those ter~~as as•e defined iii 43 C.F.T . 1 l . l ~.~

H~am~n .~e~I#I~ end Safety*• This ceiteripn evaluates tf~e potential fai~ ~ restnratio~i aetic~n to Dave
adverse. effects eta ~t~n~~a~ health end safety. Such a ~•~vie~~ ivi11 b~ t~~3d~rt~ket~ ~~ot c~~tiy t~ ,judge a
particular actiof~ but also to deter~Y~ii~e if protective i~~easurzs si~nUld.be added is the restcii-atiQn
action tc~ ensure safety.

Fectct~~#, State, end ~`ril~xl 3"ol~cies, Rules and ~~ee~s: 'I`fYis criteri~~i co~isider~ #tie degree tee
~v}~icl; a restc~ratinn actic~i~ i~ consistent ~viih ap~licat~3e policies t~fthe State cif~~tcatatan~ and
applicable ~alicies taf file fetie •al ~avei-~~t~ie~~t aEid `1"rihes Ito the ext~tat the-State is a~~r~are of t}~ose
policies and b~licves thetai tc~ be applicable ;end mentor c~~~~~. In a~ic(ition, a restoratio~i action
itiust Eye irri~~le~nez~teci ire cc~3lipli~nce ti~ritt~ a~pficat~ie- laws azid rtties.

Paiicy Criteria
In €addition to the. above legal criteria 1'~RDP appties tl~e follt~~i~it~~; policy criteria z~~l~en
cc~nsiciecirig ~ros}~eetive t-estc~ratian prajeci.s:

        Normal ~overnn~eat T+'txnct on: 1`his criterion eval~~ates ~~l~ether a restaratian actic~z~
        i~-~values activati~s fc~r. kvhich a ~ove~i~r~ievital abencv ~~c~uld ti~rmally }~e i'es~}onsible ~r
        that cvc~t~id r~cei~le fiandit~g in the normal co~rrse of events a~1d ~~o~rtd be im~ale~~~et~ted if

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        reec~ver~ct ~zatuial aes~u~•ce dari3ages «=erg x~ot availat~le. Settlert~ent fu►~ds ►zX~y #~e «sed to
        a~t~;an~nt fi7ntis ~~jailable to ~,ayerniijeiit a~e~~e es, if s~ict~ past sl~~ring ivr~uld r4st►lt in the
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           Case 01-01.x.39-AMC                  Doc 191:1Q-1             ~iiec€ X37121108        Page ~ cif 8




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      court are satisfied toy s~icti notice:

~3.   Tl~~ Court shall retasn jttris~ticlic~n t~ Bear and determine atl itr~~tt~is arisir~~ frt~Fra or rel~tin~

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